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7                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
8                                   MEDFORD DIVISION
9
     In re the Matter of J.P. and E.P.:
10                                                        Civil Action No. 1:24-cv-00648-AA
     ARNAUD PARIS,
11                                                        PETITIONER'S RESPONSE TO
                                  Petitioner,             RESPONDENT REPLY TO INITIAL
12
     and                                                  PETITION
13
     HEIDI MARIE BROWN,                                   Oral Argument and Evidentiary Hearing
14                                                        Requested Expeditiously under the Hague
                                  Respondent.             Convention Provisions with Remote
15                                                        Appearance ofPetitioner living in France

16

17   Petitioner, Father, would like to respond to Respondent Reply filed on May 28 th 2024, in

18   the above matter in which Respondent is asking to dismiss this Hague Action. Respondent

19   main argument to ask for dismissal of this Hague Action is that Petitioner would be a
20
     "fugitive criminal". In the following response, Petitioner will be explaining and supporting
21
     with clear evidence that:
22
     1)    Petitioner isn't a criminal; he has no criminal charges for child abduction.
23

24   2)    Petitioner isn't a fugitive; he has no fugitive charges against him.

25


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    1
         3)   The Fugitive Disentitlement Doctrine doesn't and shouldn't apply here as will be
    2

    3    explained in a clear comparison between the Petitioner's situation and the situation of the

    4    Father in the Sasson case law which is the main case law used in Respondent argumentation

    5    for this doctrine to justify the dismissal of this Hague Case altogether before hearing it on
    6
         the merit.
    7
         4)   Petitioner has desperately been trying to participate in the Oregon proceedings and
    8
         he's been denied the right to do so repeatedly.
    9

    10   5)   Petitioner is still participating in proceedings in Oregon when judges allow him to

    11   participate remotely since he lives in Paris.
    12
         6)   This Honorable Court has all the reasons to proceed with this Hague Action as it is a
    13
         factual case of illegal child abduction from their habitual residence in France.
    14
         7)   Mother has committed a clear criminal abduction in violation of two French
    15

    16   judgments on French soil and is therefore truly herself what she is accusing Father of being

    17   in bad faith.

    18   8)   Mother shows a pattern of manipulating the French and Oregon courts. She
    19
         particularly started the proceedings in Oregon in bad faith back in October 2022 as part of
    20
         a custody forum shopping strategy to avoid the French judicial system that had clear
    21
I
         exclusive extended jurisdiction over Eva and Juliette.
    22

    23   9)   Mother has obtained a custody judgment in Oregon as a retroactive 'punishment'

    24   against Father that is purposefully keeping Father from currently seeing his children in
    25
         Oregon.

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1
     10) It is in the best interest of the children to return to France as it is the only place where
2

3
     they can have both of their parents in their lives since Mother has no restrictions for being

4    in France.

5    11) The legal international complexity that this family has gone through for more almost
6
     two years could soon come to an end in France where it was started first through the French
7
     Appeal. The French proceedings should have been the only proceedings regarding these
8
     children since they had been living in France for many years just a couple of months before
9

     this custodial battle started. Children should be in France pending the French appeal and

11   Father is hoping for this Hague Action to order a prompt return of the children to France
12
     awaiting that the conflict of jurisdiction be resolved once and for all in the interest of the
13
     children.
14
            Petitioner will also be provmg m this response that Respondent is being
15

16
     disingenuous to this Honorable Court and is making this "Fugitive Disentitlement

17   Doctrine" argument in bad faith to avoid this Hague Action from proceeding as it would

18   unveil and confirm her criminal action of abducting the children from France.
19
            Petitioner will also explain to this Honorable Court that it is in the best interest of
20
     the children that this Hague Action proceeds promptly as they have been under parental
21
     alienation from their mother for more than two months now and their French school year
22

23   needs to be saved within the next few months so that they can be with their friends next

24   year in CM2 in their Paris schools.
25


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1
             I would like to alert the court that as Petitioner Pro Per living in France, I've been
2

3
     asking for now more than two months for the help of the US State Department to find a
        1                                                      •




4    Pro Bono Hague counsel in this Hague Abduction Action, which is a provision of the

5    Hague Convention since I can't afford a Hague Counsel in the United States; especially
6
     after almost two year of endless litigation in the US brough upon me by Respondent who
7
     started a competing custodial action in Oregon while there was already one started in
8
     France she was fully aware of. Therefore, this will also be my declaration in this matter,
9

10   and I will speak for myself throughout this entire response to this Honorable Court.

11           In this response I will try to demonstrate that my actions were not those of a
12
     fugitive but rather those of an individual caught in a complex international legal
13
     situation while trying to comply with multiple legal systems and preserving the
14
     superior interest of my children.
15

16
             I will start this response by correcting the omissions and misrepresentations that

17   Mother, Respondent, presented to this Honorable Court in their first section entitled:

18   "Introduction: RELEVANT FACTS AND TIMELINE"
19

20
     But for sake of clarity considering the length of this document I would like first to present
21
     the following Index Table to this Honorable Court:
22

23

24

25


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13
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23     have the interest of her own children in mind .......................................................................... 105
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1
               1. Relevant and corrected facts and timeline from Petitioner.
2

3
       •    July 29, 2022: Mother and children go to Ashland, Oregon, with Father's consent
4           (obtained fraudulently) for a temporary school year for the children during 2022-
            2023 before returning to Paris. (See attached Exhibit 00)
5

6      •    October 3, 2022: After having discovered Mother's plan to file after 6 months and
            obtaining home state jurisdiction in Oregon, Father files for Custody, Parenting
7           Time, and Child Support in the French Family Court of Paris.
8
       •    October 7, 2022: Mother files a Petition for Custody, Parenting Time, and Child
9           Support, and for Dissolution of Domestic Partnership, in Jackson County Court.

10     •    October 11, 2022: Temporary Protective Order of Restraint (TPOR) is issued in
11
            the Jackson County case prohibiting children's removal until a custodial
            determination is made.
12
       •    October 20, 2022: Father files Hague Convention Petition in the District Court of
13
            Oregon, Medford Division, seeking return of the children to France where he
14          lives.

15     •    December 5, 2022: District Court Judge Michael McShane acknowledges that the
            children's habitual residence was France but allows the children to stay in Oregon
16
            for the remaining school year.
17
       •    December 7, 2022: District Court Judge Michael McShane dismisses Father's
18          Hague Convention Petition.
19
     2023
20
       •     January 6, 2023: Father files objections to the temporary restraint order in
21           Oregon as it was obtained in bad faith per Mother based on perjury.

22     •     January 6, 2023: Father appeals Judge McShane's dismissal of his Hague
23
             Petition.

24     •     January 30, 2023: Father dismisses his appeal of the Hague judgment as
             requested by the French judge in Paris so that the French custodial action can
25
             proceed.

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1
       •   March 31, 2023: French court hearing on jurisdiction and on the merit
2
           determining that the children's habitual residence should be with their father in
3          France and that the children will return to resume the 2023-2024 school year in
           their schools in Paris.
4
       •   April 18, 2023: Father's counsel files motion to stay proceedings based on Judge
5
           Orr having to confer with the French court; motion ignored by Judge Orr.
6
       •   April 21, 2023: French court grants Father full custody and rules that the children
7          will be residence in Paris under the custody Father and Mother will have visitation
8          rights during school vacations and the children will return to France to resume the
           2023-2024 school year in their schools in Paris.
9
       •   May 9, 2023: Father registers the French judgment in Oregon, making it as good
           as a custodial determination from Oregon the day it is registered per UCCJEA
11         statutes.

12     •   May 30, 2023: Father submits a Petition to the Oregon Supreme Court to vacate
           the TPOR as it will become in clear conflict with the French Judgment provisions.
13

14
       •   June 23, 2023: The Oregon Supreme Court refuses to intervene in the case (moot)
           as the Status Quo order has been dissolved by the French custodial determination.
15
       •   July 11, 2023: The Oregon Supreme Court denies Father's Petition to vacate the
16
           TPOR as moot since by operation of law the Status Quo is already dissolved.
17
       •   July 12, 2023: Jackson County Circuit Court holds hearings on Father's request to
18         register the French judgment and dismiss the Oregon case.

19     •   July 22, 2023: Father, with guidance from the French consulate, travels with the
           children to France believing he was in compliance with the Oregon Statutes and
20
           with the approval from the US border patrols fully aware of the entire case,
21
       •   August 2, 2023: Father files a complaint with the Oregon Judicial Fitness
22         Commission against Judge Orr for judicial bias and misconduct.
23
       •   August 3, 2023: Father files motion requesting remote participation in Oregon
24         hearings; motion denied by Judge Orr. Father's counsel is also forbidden to
           represent him against the Oregon Appeal Court recent opinion on the matter.
25


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1
       •    August 3, 2023: Father files motion to object to the temporary restraint order,
2
            ignored by Judge Orr and for Mistrial in the custody proceedings, ignored.
3
       •    August 4, 2023: Father files motion detailing Mother's misrepresentations and
4           fraudulent actions, ignored by Judge Orr.
5      •    August 17, 2023: Father files motion to disqualify Judge Orr based on bias and
6           lack of impartiality; motion ignored by Judge Orr.

7      •    August 18, 2023: Judge David J. Orr declines to confirm the registration of the
            French judgment in Oregon, ignoring the evidence and testimonies provided by
8
            Father.
9
       •    August 24, 2023: French court issues a second judgment prohibiting the children
            from leaving France due to the high risk of abduction by the mother.

11     • August 25, 2023: Father files for an emergency hearing in Oregon to prevent the
         children's removal from France.
12

13     •    September 8, 2023: Father files motion to dismiss the Jackson County case based
            on the registration of the Second French judgment in Oregon court; ignored by
14          Judge Orr.
15
       •    September 16, 2023: Father files motion to stay the case based on new French
16          custody determination; ignored by Judge Orr.

17     •   September 18, 2023: Father files motion to suspend Oregon proceedings until
           jurisdictional issues are resolved; ignored by Judge Orr.
18

19
       •    October 3, 2023: Father files another motion to the Oregon Supreme Court to
            intervene due to ongoing judicial misconduct from Judge Orr and irreparable
20          prejudice.
21     •    October 3, 2023: Father petitions the Oregon Supreme Court again to intervene
22          due to ongoing judicial misconduct from Judge Orr.

23     •    October 18, 2023: Father files fifth motion to dismiss the Jackson County case
            based on the California registration of the French Judgements in California that
24
            Mother hasn't objected to, making this registration of French judgments final;
25          ignored by Judge Orr.

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1
       •    October 24, 2023: Father files third motion for mistrial and motion to stay the
2
            case till a new judge is appointed by the Oregon Supreme Court; ignored by Judge
3           Orr.

4      •    November 6, 2023: Father files motion in Oregon requesting dismissal of the case
            due to improper jurisdiction and procedural violations; ignored by Judge Orr.
5

6
       •    November 6, 2023: Father files objections to Petitioner's motion to strike third
            motion to dismiss for lack of subject matter jurisdiction; ignored by Judge Orr.
7
       •    November 9, 2023: Father files a motion to continue hearings in the Jackson
8
            County proceedings for 60 days to find proper representation; motion ignored by
9           Judge Orr.

       •    November 10, 2023: Father files a motion to consider and set a hearing for the 15
            previously ignored motions filed in the case; motion ignored by Judge Orr.
11
       •    November 13, 2023: Father files a motion for disqualification of Judge Orr for
12
            lack of impartiality and denial of due process; motion ignored by Judge Orr.
13
       •    November 14, 2023: Father files motion to dismiss the case based on conduct;
14          ignored by Judge Orr.
15
       •    November 21, 2023: Father files a motion for protective order regarding
16          discovery; motion ignored by Judge Orr.

17     •    November 21, 2023: Father files a second motion for protective order regarding
            discovery; ignored by Judge Orr.
18

19
       •    December 14, 2023: Father files motion for being allowed to appear and
            participate remotely in the Jackson County hearings; ignored by Judge Orr.
20
       •    December 18, 2023: Father files a motion to stay the case based on the previous
21          motion to disqualify Judge Orr and a civil complaint in Oregon Federal District
22          Court; motion ignored by Judge Orr.

23     •    December 21, 2023: Father requests postponement of Oregon hearing to secure
            legal representation against FBI extradition threat by Mother; request denied by
24
            Judge Orr.
25


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1
       •     December 26, 2023: Father files a motion to set aside the order for attorney fees
2
             and summary judgment, requesting a continuance for 90 days to find proper
3            representation; motion ignored by Judge Orr.

4    2024
5      •     January 3, 2024: Father files motion for disqualification of Judge Orr in contempt
6            case; ignored by Judge Orr.

7      •     January 6, 2024: Judge Orr issues a warrant for Father's arrest due to his absence
             at a hearing, ignoring his requests for remote participation.
8
       •     January 27, 2024: Father appeals Judge Orr's ruling that invalidated the French
9
             custody judgment.
10
       •     February 13, 2024: Father files motion challenging Judge Orr's jurisdiction over
11
             the case.
12
       •     February 22, 2024: Father files a motion for hearing to object to Petitioner's
13           motions for sanctions; ignored by Judge Orr.

14     •     February 22, 2024: Father files motion for remote appearance at hearing to show
15
             cause; ignored by Judge Orr.

16     •     February 22, 2024: Father files motion for reconsideration of motion for
             disqualification of Judge Orr for lack of impartiality and denial of due process;
17
             ignored by Judge Orr.
18
       •     February 22, 2024: Father files motion for continuance pending reconsideration
19           of disqualification of Judge Orr; ignored by Judge Orr.
20     •     February 22, 2024: Father files motion for continuance and disqualification in
21           contempt case; ignored by Judge Orr.

22     •     February 22, 2024: Father files motion for remote appearance in contempt case;
             ignored by Judge Orr.
23

24
       •     February 29, 2024: Father files motion for remote appearance at hearing to show
             cause; ignored by Judge Orr.
25


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1
       •    February 29, 2024: Father files motion for continuance pending disqualification
2
            of Judge Orr; ignored by Judge Orr.
3
       •    February 29, 2024: Father files motion for remote appearance at hearings;
4           ignored by Judge Orr.
5
       •    March 4, 2024: Father files another request to postpone March 7 hearing due to
6           lack of representation; request denied by Judge Orr.

7      •    April 10, 2024: Mother abducts the children from France with help of their
            grandmother and they all return to the United States in violation of two French
8
            judgements on French.
9
       •    April 16, 2024: Father files a Hague Convention petition against Mother.
10
       •    April 22, 2024: Father files an emergency motion to set aside the limited
11          judgment from December 28, 2023, and requests an emergency hearing on
12          kidnapping of the children from France; ignored by Judge Orr.

13     •    April 24, 2024: General Judgment regarding Dissolution of Domestic Partnership
            is entered, incorporating the limited judgment regarding custody without due
14
            process.
15
       •    May 22, 2024: Father files a motion to have another judge hear the
16          disqualification of Judge Bloom in the Jackson County custody case. Denied by
17
            Judge Bloom.

18     •    May 23, 2024: Father files a motion and declaration for remote appearance at the
            May 28 hearing. It's not granted until Father informs the court he is going to be
19          represented by a local Oregon lawyer in the Jackson County custody case.
20
       •    May 25, 2024: Father petitions the US Supreme Court due to ongoing judicial
21          harassment and denial of due process in the Oregon courts.

22     •    May 26, 2024: Father approaches attorney Christopher J. Eggert to represent him
            in a motion to disqualify Judge Benjamin Bloom.
23

24
       •    May 28, 2024: Attorney Eggert argues the motion to disqualify Judge Benjamin
            Bloom; the motion is denied without any proper legal ground and in total
25          contradiction to the spirit of the Oregon statutes. (See attached Exhibit 36)

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1
          •     May 31, 2024: Attorney Christopher J. Eggert writes a letter detailing concerns
2
                about Judge Bloom's handling of the case and the fairness of the proceedings.
3
          •     June 4, 2024: Father files motion challenging the dissolution judgment and seeks
4               further legal recourse.
5    It is to be noted that compared to the Relevant facts and timeline provided by Respondent
6    the following items were misrepresented or missing:
7
     a)       Mother indicated she had filed in Oregon at the same time as Father on October 7th,
8    she misrepresented the fact that Father was first to file to the French Family Court of Paris
9    on October yct then 4th and it was accepted by the court on October 6th . Father was first to
     file and France, first to serve and was first to judgment.

11
     b)       Mother omitted all the attempts Father did at participating in the Oregon proceedings
12   remotely from France and all the attempts Father did in Oregon to obtain remedy and
13   injunctive relief against the gross denial of due process he was taking place in the Oregon
14   courts with immediate irreparable prejudice, including the issuance of a warrant for his

15
     arrest for failure to appear that couldn't be remedied in an appeal.

16   c)       Mother also omitted all the attempts she made at having Father prosecuted with
17   criminal charges and that all these requests to the Medford DA and the US Attorney's

18   Office were denied. This is showing already that Mother is doing a misrepresentation to
     the court trying to portray Father in her initial timeline as a fugitive criminal in bad faith.
19

20   To give a better visual understanding of the timeline that is relevant to this Hague Action
21   I prepared the following visual:

22

23

24

25


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1

2                            CHRONOLOGY ABDUCTION FROM FRANCE
3      Abduction of Eva and Juliette on April 8th, 2024 by their Mother, Heidi Brown, in France in complete violation of two French
       judgments in full force and effect on French soil and while the girts were on the arlert system at all european borders since the
       second French Judgment said the girls couldn't leave France. Mother didn't have any US order registered in France when she
4      abducted children. Mother should have filed for a Hague Action in France last summer if she thought children were abducted.

5
         April 2·l". 2023                          ~ July 21 ", 2023                                                                 ~) September 15'0 , 2023
6        French Judgment granting custody
                                                          Father obtains confirmation from the    Mother and her counsel lie to the   I Mother asks the FBI to have
         of the children to Father in Paris with
                                                          Oregon lawyers and from the French      French authorities presenting a     i abduction charges pressed
                                                          Consulate that !he Oregon Status        falsilied document from the Jaekson I against Father, the US AO denies
         visitation rights for Mother every
                                                          Quo has no validity anymore and         Coonty court that !hay asked        I because of the French judgment.
7        school vacation (Mother only asked
         to the French judge for custody in
                                                          lhat the French Judgment properly       afte,wards to be signed to Judge      BUT Mother doesn't start Hague
                                                          registered in Oregon superseedes        Bloom who denied their request        Action in Frar.ce.
         Oregon, not in ·Par'.s).
                                                          the Oregon Status Quo order.
8                                                                                                                                                           AB.DUCTION
                                                                                                                                                            • From France on April 8

9                    May, 0th 2023                                    July 23«i, 2023                            July 29 1'', 2023                 December 28'°, 2023
                     Registration of the French                       Eva and Juliette return to France          Mother ask the Medford OA          Mother asks Judge Orr to make
                     Judgment in Oregon on May 9th                    v,ith approval of French and US            to press charges for child         an order to the FBI for an arrest
                     served to Mother on May 10th and                 autho!ities that deemed that the           abduction, the OA refuses          of Father and children in France
                     she objects to it on May 31st. but               Status Quo order from Oregon was           because of the French              and their exlraditiion to the US.
                     this remains the only custodial                  not valid anymore by operation of          judgment Mother asks the           Judge Orr denies because he
11                   determination existing in Oregon                 law (the French judgment having            French Police to press             says he doesn't have jurisdiction
               @     or anywhere in !he wand about               $    voided it). Fre11ch consul present   tit   charges. also denied.        11    over the children in France.
                     Eva and Juliette Paris.
12

13   See attached Exhibit 01, Chronology of the Abduction of Eva and Juliette Paris from
14   France to Oregon during the week of April 8th 2024 at the current stage of the French Police

15   criminal investigation and prosecution against Mother.

16   The following section will focus on presenting clear evidence that Father never had any
17   charges pressed against him for having supposedly 'abducted' the children as Mother has
18   been claiming it disingenuously to this Honorable Court and to both the French and the US

19
     Authorities.

20   2. Father, Petitioner is not a fugitive criminal per French and US Authorities.
21

22
          When Father challenged the validity of the TPOR once the French custodial
     determination had been issued in the Paris court and registered in Oregon, it was explained
23
     to Father by his Oregon counsels that per the Oregon Statutes the TPOR had been clearly
24
     superseded by the French custodial determination that had been properly registered in
25
     Oregon on May 91h, served to Mother on May 10 th, and had therefore become a custodial

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1
     determination in full force and effect on the day of its registration as good as any other
2
     custodial determination from the state of Oregon (per ORS 109.787(2)).
3

4    -See attached Exhibit 03, letter from Oregon Counsel Tom Bittner to the French consulate
     in San Francisco on July 17th , 2023.
5
            "But there is nothing in Oregon law that says that an objection to a registration
6
            that is already effective is suspending the effectiveness of such French judgement. "
7
     -See attached Exhibit 04, letter from Oregon Counsel Bradley Lechman Su to the French
8    consulate in San Francisco on July 20, 2023.
9
            "Attached to this letter is the Official Register showing that Judgment (originally
10          the French judgment), was registered under 23DR08269 and thus it became an
            Oregon Judgment on the day it was registered, May 9, 2023."
11
     -See attached Exhibit 05, letter from Oregon Counsel Bradley Lechman Su to the French
12
     consulate in San Francisco on July 21, 2023.
13
            "The question is what effect the filing of an objection has on the status of the filed
14         judgment? It has no effect on the judgment until the court hears the objection, and
           then, and only then, will the court decide whether the objection has any merit. In
15         the meantime, the judgment is an official, registered judgment entitled to full
16
           recognition and enforcement. "

17   All my interactions with the French Consulate the week before our return to France in July

18   2023 were based on what I had been explained from my Oregon lawyers and that they
     confirmed in writing in these emails between July 17th and July 21st explaining to me that
19
     the Oregon Statutes clearly indicated that the Status Quo had been invalidated by operation
20
     of law through the registration of the French Judgment in Oregon.
21

22   I also asked for confirmation from the French Consulate who agreed with this analysis after
23   they consulted with their "legal attache" at the French Embassy in Washington, otherwise

24
     they wouldn't have delivered the travel documents for Eva and Juliette to return to France
     as indicated in their email:
25


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1    Dear Sir,

2    As you know, we made our decision to issue the passes for your daughters not without having first chec~ed its merits, in
     particular with our central administration. Witness our many exchanges that we have had since you informed us of the
3    removal of your daughters by their mother.

4    In support of your request, you presented yourself with a court decision confirming that you exercise parental authority over
     your two daughters and determining their habitual residence with you, in France. This decision is also registered in Oregon.
5    From then on, nothing stood in the way of the issue of French titles for your daughters.

6    In addition, the American authorities, the only ones competent to decide on entry and exit on their territory, have decided to
     let you board for France after having reconsidered their initial refusal on the basis of the ban on leaving the territory
7    requested by the mother of your daughters. I have no doubt that these authorities made their decision to dismiss the
     reporting of the children by their mothers after a thorough analysis of their situation.
8
     For our part, I can assure you that our decision to issue passes was made knowingly, in the best interests of your daughters as
9    stated by the French judge.


10   Sincerely,


11
          Olivier-Antoine REYNES
                  Garant
12
           Acting Consul General

13
                  Therefore, in the mind of Petitioner, it was made clear that the TPOR by operation
14
     of law had been superseded, voided and invalidated by the registration of the French
15
     judgment in Oregon (on top of having been obtained based on perjury in the first place).
16   The Jackson County Court had a issued a Status Quo order based on Mother's perjury and
17   Father had been explained that this order was dissolved by operation oflaw and Father had

18   obtained the confirmation from the French and US authorities at the SFO Airport that he

19
     was authorized to return to France with the children since that TPOR had no validity
     anymore and Mother herself had agreed and committed to the relocation of the children to
20
     France at the end of the 2022-2023 Oregon school year that ended on June 16th.
21

22   -See attached Exhibit 02, the July 19th Agreement between Father and Mother confirming
     return of the children in France after the 2022-2023 school year in Oregon as Judge
23   McShane confirmed it in the Hague Proceedings of December 2022 in Eugene:
24
     II
     II
25


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1
     -See attached Exhibit 05, email from the French Consulate explaining that the US Border
2    Patrol confirmed that Father was allowed to return to France with the children while they
3
     were fully aware of the TPOR and the Oregon proceedings and "after a thorough analysis
     of the situation."
4
        17          Obviously, if Ms. Brown chooses to keep the children in
5
        18    Oregon, she will be in violation of the French agreement.                The
6
        19    Oregon courts may want to, and I think they should, enforce the
7
        20    agreement you entered into.         I think you should be stuck with
8
        21    it, even if you change your mind.
9

10   Petitioner wasn't charged neither by the Medford DA nor by the US Attorney's Office for

11
     any abduction charges when he left the US with his children to return to France despite
     Miss BROWN asking repeatedly for such charges to be pressed against Father.
12

13
     In evidence provided to the French court in her appeal in France, Mother released herself
14
     the proof that both the FBI and the US Attorney Office recognized the French judgment
15   and denied Mother's request to press criminal charges against Father for having taken the
16   children to France under the French judgment even if there was the Oregon Status Quo
17   order.

18
     -See attached Exhibit 07, translation of the email from the FBI agent Tamara Simmons
19   confirming that both the FBI and the US Attorney Office denied Mother's request to press
     criminal charges against Father for child abduction. (Evidence originally provided in
20   French by Mother's French Attorney, Sandrine Farrugia, as Exhibit 87 in the French
     proceedings).
21

22

23

24

25


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1
          Subject: [EXTERNAL EMAIL] - Confirmation
2         Tapara Simmons <TSIMMMONS3@fbi.gov>                                Tue, Sep 26, 2023 at 8:11 AM
          To: Heidi Paris <hindimparis@gmail.com>
3
             Heidi,
4
             The FBI has now closed its investigation into this case. The decision to close the case in no
             way diminishes the important contribution that you made to the investigation. Your help and
5            cooperation were greaOy appreciated. The investigation was closed because the United
             States Attorney's Office (USAO) declined to prosecute. For more information, please contact
6            the USAO.

             If you have additional questions, please contact us by email.
7
             Respectfully yours,                                                    [Stamp:]
8            TaPara Simmons Jr.                                                     Sandrine FARRUGIA
             Special agent                                                          Attorney of the court
9            Portland Division                                                      Exhibit 87
             VCACNIC
10
             --Original message--
             From: Heidi Paris <hindimparis@gmall.com>
11           Sent: Saturday, September 16, 2023 at 2:4 7 pm
             To: Tapara Simmons Jr. (PD) (FBI) <TS1MMM0NS3@fbi.gov>
12           Subject: [EXTERNAL EMAIL]- Confirmation

             Hello Mr. Simmons,
13
             Could you send me an email confirming that the FBI will not be filing child abduction charges
14           against Mr. Paris?

15           Thank you,

             Heidi
16

17
     3. Contempt case in which Judge ORR issued a warrant against Father for his
18      "failure to appear" was made while the court knew Father was living in
19      France with children under French Judgment.

20   This court also had no jurisdiction over me and the children since we were living in France

21   where I had returned with the children with the approval of French and US Authorities and
     I didn't agree to service by email, the Hague Convention about service doesn't allow for
22
     this type of service in France, which makes service of this contempt case invalid. Therefore,
23
     the warrant for my arrest and the entire contempt case should be dismissed or at the very
24
     least the warrant for my arrest should be set aside as this warrant was part of a remedial
25
     case and the relief thought by Petitioner has already happened. Children are with Mother

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1
     in Oregon. I am currently still trying to challenge that contempt case and the warrant for
2
     my arrest that was issued while I was living 6000 miles away and was following a French
3
     judgment ordering me to care for my children in Paris where they were supposed to reside
4
     and go to school per that French judgment.
5

6
     Judge Orr not only denied me the right to participate while all I was just trying to do the
     best for our children, ensuring that they could start their French school year as I had been
7
     instructed to do by the French judgment. Here is an excerpt of the November hearing in
8
     front of Judge Orr:
9

10          THE COURT:
            When you are in flagrant violation of that order, you are not going to come back in
11          to court and continue to litigate about where these kids should be or where they
            shouldn't be or what's going to happen with these children, absolutely not. The court
12
            is not -- this is basically -- you're asking --
13          MR. PARIS:
            So it was a sanction?
14          THE COURT:
             Be quiet right now. This is as though you are asking the Court to negotiate with
15
            hostage-takers. This is what this looks like. You are now holding these children
16          criminally. It doesn't matter to me whether you were charged criminally or
            not. You have violated a criminal statute --
17
     Four important things to alert this Honorable Court about:
18
     1)   Judge Orr, who had been stripped from all his criminal cases by the Jackson County
19
     Presiding Judge Mejia in 2021 as a sanction for being unfit to rule criminally, is now saying
20
     that he doesn't care that both the Medford DA and the US General Attorney concluded that
21   I was not to be charged criminally for having brought back the children to France under
22   the approval of both the French and US authorities in full knowledge of the Oregon
23   proceedings including his Status Quo order that they deemed to not be valid anymore.

24
     2)   Judge Orr is saying he has more authority to decide what is 'criminal' offense than
     the Medford DA and the US General Attorney Office.
25


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1
     3)    A family judge who is fully aware that the children have resumed their school year in
2
     France and are properly following on French soil what a French judgment had ordered
3
     Father and the children to do, which is to ensure that the children start their school year in
4
     Paris, thinks it is a good thing to order that the children be brought back to the US in the
5    middle of the school year?
6    4)    And that family judge wants to unroot the children from having been back in the
7    Parisian environment and school system they had started since they were 2-year-old in

8    Paris instead of letting them continue being in school in France and instead of simply
     allowing Father to participate in the Oregon proceedings remotely as it had previously been
9
     possible to do when he was in the US?
10

11   -See attached Exhibit 08, letter and motion from Medford DA, Beth Eckert, asking for
     disqualification of Judge Orr from all criminal cases due to his lack of impartiality.
12

13        "I have never filed an affidavit on a judge in my 33 years in the District Attorney's
          Office. Unfortunately, I do not believe that crime victims, law enforcement officers, my
14
          attorneys or even the accused can receive a/air hearing or impartial trial before Judge
15
          Orr."
16
          Beth Eckert, Medford DA, July 26h, 2021
17

18   4. Father never tried to disrespect or escape the Oregon Judicial system, he's
        tried every possible remedy including in Judge Orr's court when he was
19      allowed to speak like at the beginning of the hearing of December 21st, 2023:
20

21
     One of the best pieces of evidence I can bring to this Honorable Court about my respect to
     the Oregon judicial system is this excerpt from the Jackson County proceedings from
22
     December 21 st 2023:
23

24   II

25   II

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1
     THE COURT (JUDGE ORR)
2
     But your position is that it was ok for you to do that because this court didn't have
3
     jurisdiction to make the orders that it made in the first place. And so therefore, the court's
4
     orders, as you see it, were not valid and you, you committed no wrong by removing the
5    Children/ram Oregon. So if that is the case, what I, what I don't understand is why you
6    are, why are you concerned about continuing this litigation here in this case in Oregon?
7    MR. PARIS

8    First, I'm continuing out of respect. I know it sounds incredible from your perspective
     because you, you, you, you believe that I've been genuinely and maliciously have been
9
     leaving thinking "Great. I don't care. I'm just gonna take the Children and I'm running
10
     away. I'm gonna run away. " That's really not. That wasn't my, my, my, my thinking, truly,
11
     I, I asked a lot of questions to understand of course, what was the validity of what Miss
12
     Brown had been doing from the beginning. And, and again, I am sorry to say that, but like
13   me, your honor has been manipulated from the beginning and, and, and you've been lied
14   to from the beginning. So, of course, my first opinion, after I was advised, by lawyers, is
15   that something obtained on perjury has no validity.

16   And, and ifI was able to prove you that you've been lied to, you probably would think the
     same. But we're not at that point yet. I know that you don't want to let me explain that yet,
17
     but with proof in your courtroom. So I'm going to move to the second reason, which was
18
     that I was also explained by, by, by a lawyer that the Oregon Statutes, they clearly, and
19
     I've, I've read it myself and I, and I, and I was genuinely convinced myself that the Oregon
20
     statute said clearly that the, the, the, the status quo has no validity anymore once there is
21   a custodial determination which there was in France and which was registered in the US.
22   And when, when I left with the Children, that objection from mother against that French
23   judgment hadn't been heard yet. And, and I was explained clearly and, and, and I was, that

24
     was confirmed by Washington that was confirmed by the border patrol that was confirmed
     by the consulate that did refer to the State Department.
25


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1
     As will be shown later in this document I, Father, tried my best to participate in the Oregon
2
     proceedings and I've been seeking remedy to the violation of my civil rights in this matter
3
     as well as filing for an appeal in which I'm confident the Oregon Judicial will ensure proper
4
     justice is taking place even in a "diversity" case involving French nationals and the French
5    judicial system.
6

7    5. The Fugitive Disentitlement Doctrine doesn't apply. Petitioner, Father, is
        not in the same situation as the Father in the Sasson case.
8

9
        By arguing that my petition should be dismissed under the Fugitive Disentitlement
10
     Doctrine, Mother is distorting the facts of the case to excuse her own criminal conduct
11
     when she kidnapped the children from France and concealed their whereabouts in Oregon.
12

13      Mother relies primarily on a case from the Supreme Court of Virginia, Sasson v.

14   Shenhar (2008) 276 Va. 611. There are many facts that distinguish this case from Sasson,

15   but the primary difference concerns compliance with court orders.
16
        In Sasson, father wrongfully removed the children from Virginia to Spain and refused
17
     to comply with an order to return them to Virginia. That is, at the time of the proceedings,
18
     father remained in noncompliance and the children were in Spain which interfered with the
19

20   mother's fundamental interest as a parent in the custody of her children.

21          In my case, while it was due to Mother's abudcting the children, the children are
22
     now in Oregon. Compliance with Judge Orr's order that the children be returned to Oregon
23
     is moot. I am not a "fugitive" from that order, as was the case in Sasson, and
24
     compliance is a non-issue. The children are in Oregon and thus there is no present
25


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1
     interference with Mother's fundamental parental rights. Quite the opposite, in fact, due to
2

3
     Mother's unlawful conduct in abducting the children from France in violation of two

4    French custody judgements on French soil, my parental rights are compromised.

5       I'm not engaging in illegal behavior like Mother. What Mother should have done was
6
     file a Hague action in France seeking their return upon our return if she deemed I took them
7
     to France wrongfully. But instead Mother decided to engage in self-help instead regardless
8
     of the consequences. Unlike Mother, I'm engaging the legal process, subjecting myselft to
9

     Oregon jurisdiction, and I'm seeking rightful orders under the law that the children be

11   returned to their habitual residence pending the outcome of the jurisdictional issue between
12
     Oregon and France and to finally determine which forum has issued the controlling custody
13
     order over the children.
14

15
                               CHRONOLOGY ABDUCTION FROM FRANCE
16     Abduction of Eva and Juliette on April 8th, 2024 by their Mother, Heidi Brown, in France in complete violation of two French
       judgments in full force and effect on French soil and while the girls were on the arlert system at all european borders since the
17     second French Judgment said the girls couldn't leave France. Mother didn't have any US order registered in France when she
       abducted children. Mother should have filed for a Hague Action in France last summer if she thought children were abducted.

18
     (e\                                             (♦) July 21•1, 2023
19
           April 21·', 2023
           French Judgment granting custo<fy
           of the children to Father in Paris with
                                                     T      Falher obtains confirmation from the
                                                            Oregon lawyers and from the French
                                                                                                   'i) Jufy 25th, 2023
                                                                                                       Mother and her CQUnsel lie to the
                                                                                                       French authorities presenting a
                                                                                                                                         (;) September 15th , 2023
                                                                                                                                           I Mother asks the FBI to have
                                                                                                                                            I abduction charges pressed
           visitation rights for Mo!her every          ! Consulate that the Oregon Status              falsified document from the Jackson 'f against Father, the US AO denies
                                                       ' Quo has no validity anymore and               County court that they asked           because of the French judgment.
20         school vacation (Mother only asked
                                                         that the French Judgment property             afterwards to be signed to Judge       BUT Mother doesn't start Hague
           to the French Judge for custody in
           Oregon, not in Paris).                        registered in Oregon superseedes              Bloom who denied their request.        Action in France.
                                                         the Oregon Status Quo order.
21

22                     Muy, 9th 2023                                    July 23'J, 2023                               July 2!Jlh, 2023                 Doccmber 28'\ 2023
                       Registration of the French                        Eva and Juliette return to France            Molher ask the Medford DA         Mother as.'<s Judge Orr to make
                       Jtrogment In Oregon on May 9th                    with approval of French and US               to press charges for child        an order to the FBI for an arrest
23                     served to Mother on May 10th and                  authorities that deemed that the             abduction, the DA refuses         of Father and chITdren in France
                       she objects to it on May 31st, but                Status Quo order from Oregon was             because of the French             and their extraditiion to the US.
                       this remains the only custodial                   not valid an)'TllOfe by operation of         judgment Molher asks the          Judge Orr denies because he
24                     determination existing in Oregon                  law (the French judgment hm1ng               French Police to press            says he doesn't have jurisdiclion
                ti\    or anywhere in the wood about              Ill    voided ii), French consul present      '81   charges, aiso denied.        0    over the chMdren in France.
                       Eva and Juliette Paris.
25


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1
     -See attached Exhibit 01, Chronology of the Abduction of Eva and Juliette Paris from
2
     France.to Oregon during the week of April 8th 2024 at the current stage of the French
3
     Police criminal investigation and criminal prosecution against Mother.
4
            Mother claims that my petition for return should be dismissed under the Fugitive
5

6    Disentitlement Doctrine must fail because she has failed to meet her burden of proof that

7    there is a sufficient nexus between the alleged fugitive status and any impairment of her
8
     parental rights. Under the law, without such a nexus application of the doctrine in matters
9
     involving fundamental parental rights is deemed too harsh.
10
     In Sasson v. Shenhar (2008) 276 Va. 611, the court applied a three-part test to determine
11

12
     whether the Fugitive Disentitlement Doctrine should be applied:

13          In order to employ the doctrine, the following elements are required: (1) the

14          appellant must be a fugitive, (2) there must be a nexus between the current appeal
15
            and the appellant's status as a fugitive, and (3) dismissal must be necessary to
16
            effectuate the policy concerns underlying the doctrine. See, e.g., Walsh v. Walsh,
17
            221 F.3d 204, 215 (1st Cir. 2000); Magluta v. Samples, 162 F.3d 662, 664 (11th
18

19          Cir. 1998); Atkinson v. Taylor, 277 F. Supp. 2d 382, 385 (D. Del. 2003). Moreover,

20          when deciding to apply the doctrine, courts must exercise "restraint," and its use
21
            must "be a reasonable response to the problems and needs that provoke it." Degen
22
            v. United States, 517 U.S. 820, 823-24 (1996).
23
            Sasson v. Shenhar, Id. at 623.
24

25
     II


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1
     In this case, Mother's claim must fail because she cannot meet the second requirement of
2

3
     the test. In Sasson, the father refused to comply with orders from the Virginia Circuit Court

4    and wrongfully removed them to Spain and refused to return them to Virginia. Due to his

5    noncompliance, the children remained in Spain thus impairing the mother's custodial rights
6
     under the Virginia orders (no Spanish custody orders were at issue).
7
            Regardless of the fact that in this case there was no wrongful removal and that a
8
     jurisdictional dispute exists, the children are presently in Oregon and Mother's rights are
9

     therefore unimpaired. With no showing of impairment, application of the doctrine is

11   improper. The Sasson court held:
12
            As the Court of Appeals noted, in Walsh, for example, the United States Court of
13
            Appeals for the First Circuit declined to apply the Fugitive Disentitlement Doctrine
14
            in a Hague Convention case where there was no impairment of the other party's
15

16
            parental rights by the appellant's fugitive status and, thus, there was an insufficient

17          nexus to satisfy the second part of the test for applying the doctrine. Moscona, 50

18          Va. App. at 255, 649 S.E.2d at 199 (quoting Walsh, 221 F.3d at 216). In this case,
19
            by wrongfully taking Ilan to Spain, Sasson has clearly interfered with Shenhar's
20
            parental rights.
21
            Sasson v. Shenhar, Id. at 627
22

23   The Fugitive Disentitlement Doctrine was applied in Pesin v. Rodriguez (2001) 211 F.3d

24   1250, but in that case, as in Sasson, there was a clear impairment of parental rights by the
25
     father who was asserting application of the doctrine against the mother. In Pesin, the

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1
     District Court granted the father's petition for the return of the parties' children to
2

3    Venezuela. The mother refused to comply with the orders, she was found in contempt and

4    a bench warrant was issued for her arrest. The father's parental rights were clearly impaired

5    by mother's conduct in defiance of the very orders from the District Court that she
6
     was appealing.
7
     The children are currently in Oregon and unlike Sasson and Pesin, Heidi's parental rights
8
     are presently unimpaired. On this fact alone Heidi's request for dismissal must be denied.
9

10          Similarly in Walsh v. Walsh (2000) 221 F.3d 204, the lack of a nexus between the

11   father's fugitive status and the mother's parental rights, the doctrine was not applied. The
12
     opinion in Walsh is particularly instructive in the application of the doctrine to matters
13
     under the Hague Convention:
14
            In Walsh, the father was a fugitive from justice when, in 1994, he absconded to
15

16          Ireland from Massachusetts to avoid criminal prosecution in a separate proceeding

17          related to breaking and entering the home of a neighbor and threatening to kill him.

18          The mother, who was pregnant at the time, followed the father to Ireland a couple
19
            months later with their two-year-old child. The opinion details extensive domestic
20
            violence committed against the mother, their child, and other family members while
21
            in Ireland. Mother ultimately fled and returned to the United States with the children
22

23          in 1997. Father filed a petition for the return of the children to Ireland, which was

24          granted with undertakings by the district court.
25
            The Walsh court denied the application of the Fugitive Disentitlement Doctrine

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1
            because the mother could not meet her burden of proof on the second requirement
2

3
            for application of the doctrine. She unsuccessfully argued that but for the father's

4           absconding to Ireland, she would not have followed him and there would have been

5           no occasion to apply the treaty and file a petition for return. This was an insufficient
6
            nexus between fugitive status and her parental rights:
7
            That, though, may be too slim a read to support so weighty a doctrine.
8
            Walsh v. Walsh, Id. at 216.
9

     The Walsh court further reasoned that the enforceability of judgments against parties in a

11   foreign jurisdiction is always a consideration in matters under the Hague Convention and
12
     is insufficient to meet the third requirement for application of the doctrine:
13
            There are questions of enforceability of any potential judgment against John, as
14
            return orders under the Convention are often imposed with conditions, as was true
15

16
            here. But all cases under the Convention raise similar problems since, by definition,

17          one of the parties lives in aforeignjurisdiction. Neither was the petition brought to

18          harass Jacqueline. The practical considerations, on these facts, are not strong
19
            enough alone to warrant application of the doctrine.
20
            Ibid.
21
     Implicit in this analysis by the Walsh court is that there are always going to be enforcement
22

23   issues in inter-jurisdictional custody disputes which alone are insufficient for the

24   application of the doctrine without a finding of a sufficient nexus between the fugitive
25
     status and the impairment of parental rights. In this case there is an unresolved issue of

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1
     which custody orders are the controlling orders between France and Oregon. But that is
2

3
     largely irrelevant in this proceeding because the Hague Convention contemplates that

4    the children be in their place of habitual residence pending the outcome of the

5    jurisdictional dispute - in Oregon, a finding of habitual residence is not a jurisdictional
6
     determination so if this Honorable Court concludes that the children have been wrongfully
7
     removed from France and that it was their habitual residence to order their return it won't
8
     constitute a custodial determination neither for France nor for Oregon. Mother's abducting
9

10   the children, however, is the very conduct the Hague Convention was implemented to

11   prevent and remedy - as discussed below.
12
            Mother's remedy for the return of the children is not to kidnap them by illegally
13
     crossing borders and absconding with them to the US, which an application of the
14
     doctrine in this proceeding would explicitly condone, but to seek return orders from a
15

16   French court which Mother could have done either by starting a Hague action in France

17   when she claimed I abducted the children or through her appeal in France currently

18   happening.
19
     Perhaps of greatest applicability to this case, the Walsh court determined [emphasis added]:
20
     "More importantly, applying the fugitive disentitlement doctrine would impose too severe
21
     a sanction in a case involving parental rights. Parenthood is one of the greatest joys and
22

23   privileges of life, and, under the Constitution, parents have a fundamental interest in their

24   relationships with their children. See generally Troxel v. Granville, 120 S. Ct. 2054, 2060
25
     (2000) (plurality opinion) ("The liberty interest ... ofparents in the care, custody, and

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1
     control of their children . . . is perhaps the oldest of the fundamental liberty interests
2

3
     recognized by this Court.''). To bar a parent who has lost a child from even arguing that

4    the child was wrongfully removed to another country is too harsh. It is too harsh

5    particularly in the absence of any showing that the fugitive status has impaired the rights
6
     of the other parent. "
7
     Ibid.
8
             Mother has not and cannot show that her parental rights are impaired, she has the
9

10   children in Oregon, so no finding of a nexus between this proceeding and fugitive status is

11   possible. Mother's recitation of the procedural facts of the case is suspect. She lied to the
12
     Oregon court when she commenced proceedings there by stating, under oath, that there
13
     was no other pending custody proceeding -          she was aware of the French custody
14
     preceding that predates the proceedings in Oregon as was said in open court in the Hague
15

16
     proceedings of December 2022. More recently, Mother also lied to the French court when

17   she told the judge, in open court, that of course she would follow and comply with the

18   French orders and Judgements, just a few days before abducting the children on French
19
     soil in violation of those two French judgments.
20
             Based on her representation, I allowed her to see the children and she immediately
21
     violated the French orders by abducting them and unlawfully removing them from France.
22

23   Criminal proceedings against her are pending. It is worth noting that Mother's fugitive

24   status in France is in violation of a custody order that has impaired my parental rights -
25
     Mother is attempting to turn the tables or distract this Court by accusing me of

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1
     conduct she has engaged in.
2

3
        By contrast, I did not abduct the children when we returned to France. As I've stated,

4    the properly registered French order was in full force and effect under Oregon law at the

5    time we returned to France. To make sure I did not violate any orders I consulted with two
6
     separate attorneys in Oregon on this issue and they each independently confirmed the
7
     French order had superseded the Status Quo order. I consulted with the French consulate
8
     that came to the same conclusion and decided to issue travel documents for Eva and Juliette
9

10   for them to be able to return to France. They also went over the entire case with the border

11   patrol in California as well prior to our departure to ensure our return was proper under the
12
     law. The border patrol consulted with their legal office in Washington to confirm we could
13
     lawfully return to France. After that return to France with the children, Mother attempted
14
     to have me prosecuted for abduction but that was unsuccessful because under Oregon law
15

16   and the registered French order, I had lawfully returned to France with the children.

17   Mother's claim that I abducted them in violation of Oregon orders when we left is without

18   merit and has no factual or legal support.
19
        While Judge Orr may disagree, despite it not being a discretionary issue, none of his
20
     orders are the basis for any prosecution against me for abduction.
21
        At the hearing in front of Judge Orr on November 14, 2023, Judge Orr did not
22

23   acknowledge that under Oregon law, the registration of the French order superseded the

24   earlier temporary orders he had issued while the Oregon Supreme Court herself considered
25
     that my request to vacate his order was moot, which implied that there was no need to

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1
     vacate an order that had already been dissolved by operation of law .
2

3
     -See attached Exhibit 09, decision from the Supreme Court, that Respondent was referring

4    to in her Response, saying that the request was "Moot".

5       Despite my efforts to speak and present evidence at the hearing, Judge Orr repeatedly
6
     told me to be quiet thus denying me the opportunity to be heard. When I attempted to
7
     object, he told me my objections would not be heard. This is shown in the transcript as
8
     cited by Mother in her papers. Judge Orr stated I violated a criminal statute and that it was
9

10   a felony when I returned to France with the children. Judge Orr did not address the timing

11   issues and the registration of the French order or address which order was in effect at the
12
     time of our departure- unless a custody order was violated, there is no actionable claim
13
     under the criminal authorities cited by Judge Orr. No U.S. enforcement agency agrees with
14
     him and despite Mother's efforts, no agency prosecuted that claim. To the extent Mother
15

16
     asserts that I am a fugitive based on violating an Oregon custody order, that is a false

17   representation. The bench warrant that issued was due to my not personally appearing in

18   Judge Orr's courtroom on an order to show cause why I should not be held in contempt-
19
     despite the fact that I was in France, he refused to let me appear remotely while he had
20
     previously allowed me to appear remotely in the proceedings. The order directing that I
21
     return the children to Oregon was after the fact and cannot be the basis for a claim of
22

23   abduction because we were already in France under a lawful French order with a departure

24   approved by US authorities in full knowledge of Judge Orr's order.
25
        What Judge Orr was doing was trying to retroactively change the nature of the orders

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1
     to make my return to France an abduction. Only if it was an abduction could he then order
2

3
     my return or the return of the children. Judge Orr is trying to say that I have wrongfully

4    removed the children from Oregon but that is for a Hague Judge in France to make that

5    determination, not for him. And it was for Mother to start this Hague action in France.
6
     Judge Orr couldn't retroactively try to create the "result of a Hague Action". I am not
7
     improperly in France, but Mother improperly removed the children from France.
8
        Regardless of Judge Orr's conduct and regardless of his orders or findings, even
9

     assuming he was completely correct in his understanding of Oregon custody and criminal

11   law, the fact remains that I have never been criminally prosecuted for violating a custody
12
     order and Mother cannot show that her parental rights are in any way currently impaired,
13
     which she must do to meet her burden of proof for the application of the Fugitive
14
     Disentitlement Doctrine. More recent US Case Law comes to confirm that this Doctrine
15

16   shouldn't be applied to this matter:

17      In United States v. Bescond (2d Cir. 2021) 24 F.4 th 759, Ms. Bescond, a French banker,

18   was charged with knowingly transmitting false commodities reports in violation of the
19
     Commodities Exchange Act from her office in France. Through counsel, she moved to
20
     dismiss the indictment, but the district court refused to reach the merits of her motion under
21
     the Fugitive Disentitlement Doctrine. The US Court of Appeals reversed the district court's
22

23   decision on the ground that, inter alia, Ms. Bescond was not a fugitive. Under the Bescond

24   court's analysis, I too am not a fugitive:
25


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1
        There are two types of fugitivity at common law: (1) traditional fugitives and (2)
2

3
        constructive-flight fugitives. Both require conduct that occurred in the United States.

4       A traditional fugitive is "[a] person who, having committed a crime, flees from [the]

5       jurisdiction of [the] court where [a] crime was committed or departs from his usual
6
        place of abode and conceals himself within the district." Finkelstein, 111 F .3d at 281
7
        (alterations in original) (quoting BLACK' SLAW DICTIONARY (5th ed. 1979))
8
        Id. at 771.
9

10   I am not a traditional fugitive because I engaged in no conduct in Oregon or elsewhere in

11   the United States that violated any orders. I was not found to have violated orders nor was
12
     I found in contempt in any U.S. proceeding at the time I returned to France with the
13
     children. A constructive-flight fugitive is:
14
            [A] person "who allegedly committed crimes while in the United States but who
15

16          w[ as] outside the country-_for whatever reason-when [she] learned that [her]

17          arrest[ ] w[ as] sought and who then refused to return to the United States in order

18          to avoid prosecution."
19
            Id. at 772.
20
     I engaged in no other conduct that violated any orders while I was in the U.S. The
21
     registration of the French order superseded the temporary orders issued by Judge Orr -
22

23   two Oregon attorneys agreed with this view, the border patrol in California and their

24   attorneys in Washington agreed, and the Oregon Supreme Court agreed when they
25


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1
     determined my petition for Writ of Mandamus to vacate Judge Orr's temporary order was
2

3
     moot, which is only true if that order was no longer in force and effect.

4    -See attached Exhibit 09, decision from the Supreme Court, that Respondent was referring

5    to in her Response, saying that the request was "Moot".
6
     The Bescond court further noted:
7
                   "Nor is she refusing to return to the United States to avoid prosecution; she
8
                   simply remains at home, as her home country permits her to do. So she does
9

10                 not qualify as a constructive-flight fugitive. "

11                 Ibid.
12
     Judge Orr's order that I appear personally in his courtroom, even though I was in France
13
     at the time he made that order, therefore cannot be the basis to apply the Fugitive
14
     Disentitlement Doctrine. Under that order, the alleged conduct occurred while I was
15

16
     in France, not in Oregon, and like Ms. Bescond, I remain in France as my country

17   permits me to do.

18   Further, citing Antonio-Martinez v. INS., 317 F.3d 1089, 1092 (9th Cir. 2003), the
19
     Bescond court noted:
20
                   The paradigmatic object of the doctrine is the convicted criminal who flees
21
                   while his appeal is pending.
22

23                 Ms. Bescond's presence in France was not covert or suspect and was not "a

24                 hideout, sanctuary, or escape from the reach of the law" (Bescond at 773).
25
                   There was no flight from justice. Likewise, I am not hiding out or evading the

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1
                    reach of the law and am actively participating in those proceedings. The
2

3
                    Bescond court reasoned (Ibid):

4    But if the doctrine were to be expanded to reach someone such as Bescond, who stays at

5    home abroad, without concealment or evasion, Congress, not the courts, should weigh the
6
     competing issues and values and determine whether such an expansion is warranted. As
7
     observed in Degen:
8
            "Courts invested with the judicial power of the United States have certain inherent
9

10          authority to protect their proceedings and judgments in the course of discharging

11          their traditional responsibilities, " including disentitling fugitive defendants, but
12
            "[t]he extent of these powers must be delimited with care, for there is a danger of
13
            overreaching when one branch of the Government, without benefit of cooperation
14
            or correction from the others, undertakes to define its own authority. " 517 US. at
15

16          823[.. .].

17   Disentitlement

18          Citing Empire Blue Cross v. Finkelstein (2d Cir. 1997) 111 F.3d 278, the Bescond
19
     court stated four principles served by disentitlement:
20
            Disentitlement serves four purposes: "l) assuring the enforceability of any
21
            decision that may be rendered against the fugitive; 2) imposing a penalty for
22

23          flouting the judicial process; 3) discouraging flights from justice and promoting

24          the efficient operation of the courts; and 4) avoiding prejudice to the other side
25


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1
            caused by the defendant's escape." Finkelstein, 111 F.3d at 280. Courts exercise
2

3
            their discretion to apply the doctrine "[b]earing these objectives in mind."

4           Bescond at 773-74.

5    Enforceability.
6
            My return to France was not obtain any unfair advantage nor did I seek to "game
7
     the system." I was merely trying to do what the French order was asking me to do which
8
     was to prepare the French school year my children were to attend in Paris, I was not hiding
9

10   out nor "running away with the children". Unlike Mother, my whereabouts were known.

11   Unlike Mother, at no time did I conceal my location or the children's location. I have no
12
     residence in Oregon and my employment is in France. The only reason I would ever have
13
     to go to Oregon is to see the children in the event the pending jurisdictional dispute is not
14
     resolved in favor of France -      the jurisdictional dispute is beyond the scope of this
15

16
     proceeding which is to ensure the children remain in their habitual residence pending the

17   outcome of the jurisdictional dispute. Disentitlement is too harsh under these circumstances

18   and given the fundamental parental rights at issue.
19
     Flouting the Judicial Process.
20
            The nature of my conduct was to return home, to the children's place of habitual
21
     residence, consistent with the custody orders in effect in Oregon at the time being the
22

23   French judgment. Unlike Mother, I did not lie to the court. Unlike Mother, I did not abduct

24   the children and illegally cross international borders with them. Unlike Mother, I am
25
     actively participating in proceedings in the U.S. and France. I should be permitted to do so

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1
     from France pending the outcome of the jurisdictional dispute, and the children should be
2

3    able to remain in their habitual residence pending that dispute. Disentitlement is

4    inappropriate under these circumstances as well, because it eliminates a parent's ability to

5    assert their children's best interests in pending proceedings to be in their habitual residence.
6
     Discouraging Flights from Justice.
7
            If Mother's request to apply the doctrine is successful, it would apply to any parent
8
     in any Hague proceeding in which there are conflicting orders between two forums. This
9

10   would be a denial of due process that would tilt the field heavily in favor of every parent

11   who, by hook or by crook, has the children in the U.S. It would promote illegal conduct
12
     and the kidnapping of children to the U.S. The U.S. would be a haven for abducting parents.
13
     As stated above, my return to France was in no way a flight from justice.
14
     Avoiding Prejudice.
15

16
            The inquiry here is to determine what prejudice results from the flight from the

17   jurisdiction. As pointed out herein, the prejudice would have been the denial of parental

18   rights. However, the children are in Oregon so Mother cannot show any such prejudice.
19
     Even if the children were still in France, it is questionable whether such prejudice would
20
     warrant application of the doctrine in view of the countervailing prejudice to me and the
21
     denial of my parental rights. Not applying the doctrine does not mean our respective
22

23   parental rights will not be considered.

24   Even if I were a fugitive as required by the doctrine, the circumstances do not warrant
25
     disentitlement and the request should be denied.

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1
     To summarize this legal analysis between the Sasson case and the current case in front of
2

3
     this Honorable Court I prepared the following comparison table thought it is difficult to fit

4    all the specific legal arguments and case law citations that have been explained above.
                 ..   \., :r ··:,~ "' •
5         ,: "                                                      ''                                ,    .'       .            ... .,
                                                                                                                             ' · : ·0


                      Cfiteda·
                      '   .,   "·   ,,   ~       >   ,
                                                                Sass~fr Case                         Paris/Brown· Case. '
6     Jurisdiction                                       Virginia                     Oregon and France
                                                                                   Allegation of wrongful removal of children to
7
                                                                                   France by Mother, no criminal charges, and no
                                                         Father wrongfully removed Hague action started, followed by wrongful
8                                                        children from Virginia to removal of the children by Mother from France to
      Primary Allegation                                 Spain                     Oregon per Article 3 of the Hague Convention.
9                                                                                     Children are currently in Oregon; compliance
                                                         Father failed to comply
                                                         with Virginia court orders   with Oregon court orders is not in question
10    Court Orders                                       to return children           currently
                            Father remained in
11
      Compliance with Court noncompliance, children                                   Compliance with Oregon orders moot; children
      Orders                stayed in Spain                                           are in Oregon currently
12
                                                         Mother's fundamental
                                                         parental rights were         Heidi's parental rights are not currently impaired;
13    ,                                  '   ,

      Parental_ Rights                                   impaired as children         however, Father's parental rights are
      Impairment                                         remained in Spain            compromised per two French judgments
14
                                                         Father did not engage with Father engaged with the legal process, he
                                                         the legal process;fled     respected both Oregon and French courts and
15
      Legal Actions Taken                                jurisdiction               used or actionned every legal remedy.

16                                                       Father engaged in illegal    No illegal behavior; followed legal processes
                                                         behavior by refusing to      communicated with authorities and sought
      Legal Compliance                                   comply with orders           rightful orders
17
                                                                                      You advocate for handling through Hague
18    Hague Convention                                                                Convention; Heidi did not pursue a Hague action
      Involvement                                        Not applicable               in France.
19                                                       Wrongful removal to a        Mother's removal involved alleged kidnapping
      Nati.ire of Removal                                foreign country              from France to Oregon with criminal prosecution
20                                                       Noncompliance with court     Father's efforts to comply with both Oregon and
                                                         orders and impairment of     French legal systems; Father focuses on
21        Fundamental Issue                              parental rights              children's welfare
                          ''                               Father is honest and transparent with Mother
22                               Father is lying           regarding all the current legal actions pending
          Misrepr~sentation from extensively to the courts both in France and in Oregon and about the life
23        Father· ,,             and to Mother             of children.

24

25


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1
             ;                                         Follows the judgments even when it is clear
2                            Father doesn't hesitate   that Mother is going to take advantage of it
      Following Judgement    to engage in self-help    to commit an abduction: French judgment
3     even at the. Risk of   regardless of the         allowed for visitation time during school
      Abduction ..           consequences              vacation without supervision
4

5
        In summary, what transpires from this analysis is that Mother, not Father, seems to be
6
     closer to what the Father was doing in the Sasson case, especially as Mother, didn't hesitate
7

8    to engage in self-help regardless of the consequences especially when she uprooted them

9    in the middle of their school year from France to take them on a fugitive escape of Europe

     trying to avoid border controls and leaving behind their belongings in a hotel including
11
     their stuffed animals and their orthodontist apparel. And completely severing the children
12
     from their French culture and family and friends for now more than two months. But
13

14
     Mother's actions seem to also show a pattern of manipulation towards the judicial systems

15   both in France and in Oregon based on a large number of misrepresentations as will be

16   explained next.
17

18
     6. The proceedings in the US were started in bad faith by Mother who
19      manipulated the Jackson County Court by committing perjury as she didn't
20
        disclose there were custodial proceedings already started in France.

21
            The Status Quo order and the Custody Petition in this case were obtained based on
22
     perjury from Miss Brown. See page 5 of the attached transcript from the Hague Federal
23

24   proceedings from last December 2022 in Eugene, Oregon:

25


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1
            "Now, why did she file Exhibit 49, the custody case in Oregon? Not because that
2

3
            was part ofher preplan, because, in fact, the six months obviously hadn't expired at

4           that point. She did that because Dad had filed in France, on October 3rd, a French

5           custody case. And Ms. Brown was concerned that, again, it was another reneging
6
            of a contract, and that Mr. Paris was going to use the October 3rd French custody
7
           filing to again yank the kids back. "
8
     -See attached Exhibit 10, excerpt from the Hague Federal proceedings m front of
9

10   Honorable Judge McShane from last December 2022 in Eugene, Oregon.

11          In this transcript, Miss Brown's lawyer says clearly that Miss Brown knew about the
12
     French custody case Father had filed on October 3rd, 2022 and Miss Brown filed her
13
     custody case in Oregon in response to it on October 7th, 2022 including the motion for
14
     Status Quo order. Yet in her declaration to obtain the Status Quo order, Miss Brown
15

16   declared under perjury that she didn't know of any other custody proceedings about the

17   children:

18          "I do not know of any proceeding that could affect this proceeding, including any
19
           proceedings for enforcement or relating to domestic violence, protective orders,
20
            termination ofparental rights, or adoptions. "
21
     -See attached Exhibit 11, Status Quo motion from Miss Brown specifically the points 16
22

23   and 17 on page 5.

24          This entire case was started based on perjury from Miss Brown which is a state and
25
     federal felony to the court and yet Judge Orr ignored deliberately all of this evidence when

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1
     it was presented to him. This proof and evidence of perjury had been presented to Judge
2

3
     ORR in a motion filed in April 2023 untitled "Motion to dismiss for Fraud and Lies" and

4    in a second Motion filed with the court on November 16th 2023 untitled MOTION TO

5    DISMISS FOR DENIAL OF JURISDICTION FOR REASON OF CONDUCT (ORS
6
     109.764) that Judge ORR has refused to consider.
7
     -See attached Exhibit 12, MOTION TO DISMISS FOR DENIAL OF JURISDICTION
8
     FOR REASON OF CONDUCT that was filed in the Jackson County Court on November
9

     16th 2023.

11          Therefore, Judge ORR conducted a clear denial of due process against Father,
12
     Petitioner. Had Judge ORR considered the motions regarding the validity of this Status
13
     Quo order that were properly in front of him he would have clearly seen that Mother lied
14
     and committed perjury to obtain her Status Quo order in the first place which invalidates it
15

16   entirely Ab Initio with no prospective effects. A Status Quo order issued Ex-Parte must be

17   done rigorously otherwise it's false. If this Status Quo order was obtained on a false basis

18   and on perjury from Mother, then the Status Quo order is void or voidable.
19

20            Per the previous elements provided in this case Judge ORR knew very well this

21
     Status Quo order was based on falsehood, it should have been voided and set aside by
     Judge ORR when Father was asking repeatedly to have a hearing on the merit of this Status
22
     Quo order in May and June 2023 as Judge ORR had clearly been made aware of the
23
     damages and prejudice that were caused by this invalid and unlawful Status Quo order.
24
     Considering the immense immediate prejudice to Father, Judge ORR should have
25
     immediately remediated to this prejudice by vacating the Status Quo order when Father

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1
     alerted on its invalidity, with no prospective effects. The Jackson County court didn't have
2
     jurisdiction and the statement from Mother was based on perjury which rendered this Status
3
     Quo order also void Ab Initio. It was also void and voidable if the Jackson County court
4
     wouldn't have considered this Status Quo order to be void Ab Initio.
5
               Since the Status Quo had been obtained through perjury it had no validity and
6
     Judge ORR couldn't use it to try to impose a contempt case upon Father based on that
7
     invalid order that Father would have supposedly violated. The fact that Judge ORR was
8
     trying to force his jurisdiction over Father and the French Judicial system based on that
9
     illegal and invalid (dissolved by operation of law) Status Quo order to bring back the
10   children to Oregon instead of Mother filing for a Hague Action in France is a clear proof
11   that there was a total lack of respect for the French Judicial system, and it confirms the lack
12   of impartiality from Judge Orr through this clear denial of due process against Father in

13
     this matter.

14
     7. Mother acknowledged in her French pleadings that by doing an abduction
15      of the children from France she would lose all that she gained in the Jackson
        County court, that includes custody of the children and the attorney fees
16      granted by Judge Orr.
17

18   In the pleadings that Miss BROWN's French lawyer filed on April 3rd to the French court
     and that she argued in front of the Presiding Judge of the Paris Appeal Court when she was
19
     asking that the French Judgment of August 25th 2023 (the one keeping Mother from taking
20
     the children outside of the US when she comes for her visitation time) be set aside pending
21
     the appeal of that Judgment in Paris Mother is admitting herself in there that if she was to
22
     violate that French Judgment and take the children to the US illegally her Oregon Judgment
23   would be overturned.
24

25


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1
     -See attached Exhibit 13, excerpt from the pleadings that Miss BROWN's French lawyer
2    filed on April 3rd to the French court and that she argued in front of the Presiding Judge of
3
     the Paris Appeal Court when she was asking that the French Judgment of August 25th 2023

4
     Attached is a rough google translation but on page 32 and 33 you can read:
5

6           "Monsieur PARIS a egalement ete condamne apayer aMadame BROWN la somme
7           de 225.000 dollars au titre desfrais d'avocat engages aux USA, dont ii ne s 'est pas

8
            acquitte, si Madame BROWN devait «kidnapper» !es erifants tel qu'il le pretend,
            elle renoncerait a obtenir une telle somme. "
9

10
     Which translates in English:
11

12
            "Mr. PARIS was also ordered to pay Ms. BROWN the sum of $225,000 for legal
13         fees incurred in the USA, which he did not pay. If Mrs. BROWN were to "kidnap"
14          the children as he claims, she would give up obtaining such an amount. "
15

16
     This is a clear acknowledgement and admittance from Mother, Miss BROWN, herself that
     if she were to violate that French judgment on French soil and abduct the children from
17
     France to the US then her Oregon judgment would to be reversed since she would become
18
     an 'abducting parent' and no court in the US would confirm a judgment granting
19
     custody to an abducting criminal parent.
20

21
     8. The following "SHEPARD" case law from the Oregon Court of Appeals
22      should have cleared the matter in the Jackson County Court - France had
        extended home state.
23

24
     https://caselaw.findlaw.com/court/or-court-of-appeals/1085351.html
25


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1
     This case law is a very strong argument for me to show that the Oregon Court of Appeals
2
     confirmed in 2005 that a temporary stay of a Mexican parent with her child in Ashland (of
3
     all cities) for a year of studies, doesn't constitute a loss of the home state jurisdiction for
4
     Mexico over the child per ORS 109. 704(7).
5
     See the attached case comparison analysis that Tom Bittner my ex-lawyer did using
6
     SHEPARD v. BARCENAS in his "motion to dismiss" on pages 11 to 14, showing that
7
     France should equally be considered to have retained exclusive extended jurisdiction over
8
     our children in Oregon even when Mother filed for custody when they had only been in
9
     Oregon for 2 months early october 2022. The following excerpts are particularly relevant:
10

11
     "See Shepherd v. Lopez-Barcenas, 200 Or App 692 (2005) (holding that the mother and
     child's absence from the home state for one year while mother obtained a master's degree
12
     was a "temporary absence" within the meaning of ORS 109. 704(7).)"
13
     CITING SHEPARD: "Their absence from Mexico was only temporary, and the time spent
14
     in Ashland is therefore considered to be time in Mexico for the purpose of determining the
15   home state. ORS 109. 704(7)."
16   "As in Shephard, the Father and the children are present in Ashland on a temporary basis
17   for the purpose of attending school for the 2022-2023 school year. The July Agreement

18   expressly provides that the parties never mutually intended for the children to stay in
     Ashland on a permanent, ongoing basis beyond the end of the 2022- 2023 school year.
19
     Even if Father had remained in Ashland with Mother and the children, the absence from
20
     France would still be a "temporary absence," just as in Shephard. Mother's secret
21
     intention to remain in Ashland with the children does not defeat the temporary nature of
22
     the children's stay here. "
23   -See attached Exhibit 14, RESPONDENT'S MOTION TO DISMISS FOR LACK OF
24
     SUBJECT MATTER JURISDICTION (ORCP 21 A(l)(a)) that was filed in the Jackson
     County Court on April 18 th 2023 by Father's former counsel Tom Bittner.
25


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1
     The July 19th agreement and the French court's findings clearly demonstrate that the move
2
     to Oregon was temporary, with a definitive plan to return to France. The filing in the Paris
3
     court on October 4th, 2022, when the children had been in Oregon for only two months,
4
     further supports that France retains extended home state jurisdiction under the UCCJEA.
5    This situation aligns with the Shepard case, where a temporary absence did not alter the
6    home state jurisdiction, thus maintaining France's legal jurisdiction over the custody
7    matter. The court have should denied the Petitioner's claim for custody in Oregon, France

8
     had exclusive continued jurisdiction over the children and still has to this day.

9



11   9. The General Judgment of Default requires Father to register and enforce
        this judgment in France before he can exercise any parenting time. But it is
12
        simply impossible per French laws.
13
     It is not in the interest of children not to have a Father in Oregon while they can have
14
     a Mother and a Father in France per the French judgment (and Father offers
15
     mediations so that children can spend all their school vacation in Oregon).
16

17
     As explained in Exhibit 15, attached and incorporated herein by reference, the Court of
18   Cassation (French Supreme Court) requires three conditions be met in order to be registered
19   and enforced, despite any agreement by parties for such registration. Cornelissen Cass. Civ
20   February 20th, 2007 n°05-14082. The conditions are as follows:

21
     1.   The foreign Court has jurisdiction under French law;
22
     2.   The foreign judgment complies with French procedural and substantive public policies; and
23
     3.   The foreign judgment was rendered without fraudulent forum shopping.
24
     -See attached Exhibit 15, Declaration from Terrence Richoux, Father's French attorney
25
     and French expert in International Law, explaining the conditions for a Foreign Judgment

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1
     to be registered in France per French law.
2

3    The first condition is not met given France has not declined to exercise jurisdiction and the
4    second condition is not met as Father's deprivation of his right to defend himself through

5
     counsel is contrary to the recognized right of defense in France. Father consequently
     cannot register the Oregon General Judgment of Default in France such that this
6
     judgment deprives his right to parenting time without good cause.
7

8
             Father is also likely to prevail on appeal in Oregon due to the trial court denying
9    Father's right to due process by prohibiting Father's attorney from participating in the
10   August 3, 2023, hearing. ORS 9.320 provides that "[a]ny action, suit, or proceeding may
11   be prosecuted or defended by a party in person, or by attorney, * * * unless otherwise

12   specifically provided by law." In re Kharma, 332 Or App 489 (2024), the husband filed a
     response to the wife's petition for dissolution, but did not appear personally at trial. The
13
     trial court prohibited the husband's attorney from participating due to the husband's failure
14
     to appear and indicated to the wife she only needed to put on a prima facie case. A general
15
     judgment favorable to the wife was entered, stating that the husband "did not appear", that
16
     his counsel "appeared", and that the wife presented a prima facie case "because [husband]
17   failed to appear at the time and place set for trial." This Court held that the trial court
18   committed grave error by mistakenly believing the husband was !equired to appear in
19   person and prohibiting participation of his lawyer. The trial court's actions resulted in a

20   fundamentally unfair trial, and was reversed and remanded for a new trial.

21
             Based on ORS 9.320, Kharma, and the notion of fundamental fairness, the trial
22
     court's refusal to allow participation ofFather's attorney in the evidentiary hearing resulted
23
     in a fundamentally unfair proceeding. There is no legal basis to prohibit a party appearing
24   by and through their attorney at a hearing or other legal proceeding and it is a common
25   practice.

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1

2
     The mediation efforts that Father conducted in France over the last year to offer shared
3
     parenting time to Mother emphasize the fact that to the contrary in Oregon there is no
4
     possible balance of both parents being equally involved in the children's life. Consequently
5    as long as the Oregon Judgment remains in place, France is the only place where the
6    children can have both parents properly involved in their lives.
7
     -See attached Exhibit 16, official mediation offer sent to Mother's French Counsel on
8    October 30, 2023 by Father's French Counsel Terrence Richoux.
9
     -See attached Exhibit 17, email from the French mediator in Paris to the President of the
10   Paris Appeal court informing her that Petitioner had left France with the children right in
     the middle of the French mediations without any warning while she had agreed and
11
     committed to these mediations.
12

13
     On page 28 of Mother's judgment one of conditions required for me to be able to see my
14
     children in Oregon is that: "The final Oregon Custody and Parenting Time judgment is
15
     registered and enforced in France as well as all other states and counties where Father
16   registered the French custody judgment and any other counties, states, or countries where
17   Father has commenced court proceedings related to Custody and Parenting Time."
18

19   By French law a French judge can't register the Oregon Judgment in France as is explained
     in the attached declaration from my French counsel who is also specialized in the matter
20
     of registering US judgments in France.
21

22
     Mother's judgment could not be registered in France because it violates all the conditions
23
     for a judgment to be registered in France and as a result this Oregon judgment is keeping
24   me from seeing my children in Oregon. This is unconstitutional even per the Oregon
25


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1
     constitution, this judgment is extremely prejudicial and creates irreparable harm onto the
2
     relationship of the children with their father.
3

4
     10.The other conditions of the General Judgment obtained without due process are
5       equally "non-conventional" and close to impossible to meet for Father.
6
     The other conditions of the Oregon Judgment obtained by Mother from Judge Orr without
7
     due process also constitute a violation of Father's most fundamental rights:
8
     CONDITION                                           DETAIL OF WHAT FATHER MUST DO                                        POSSIBLE TO MEET?                            FATHER'S BASIC RIGHTS VIOLATED?
                                                        Tho flroJ Oregon 015tcdy Jnd PuentJrg Tlme judgment must
9                                                       ~ registered .1nd enfcrc~ In France. as well as 10 all C{ti(,r        1~.J>OSSl8ll LEGALLY, FRENCH LAW SIMPLY
                                                                                                                                                                           Yts, SINCE TffiS CONOfTlON IS l)w!'POSSlSLE TO M!ET THEN
     Registration and Enforcement of                    states and Cl)I.Jrttics wh-::re ;uu regittered the French tl.lstodv   OOESH'r AUOW A JUDGMENT MADE
                                                                                                                                                                           THJSJUOGMENT SIMPLY VIOLATES Tl-IE FUNDM1ENTAL
                                                        judgment. A.!so, there s.hould be no other di.:plicative or           WITHOUT A PARTY ALLOWED TOP DEfEND
     Oregon Judgment in France                                                                                                OR TO BE RE~EStNTEO BY HIS LA,.._'YER
                                                                                                                                                                           RIGHT Of FATHER TO BE A8LE TO SEE HIS OiltOREN
                                                        frivolous cust®'i' ?"OCeedlngs lnlbatcd byyo,.1 in France.
                                                        Oregon,, or any otticr jurisditticn.

                                                                                                                              NO, FATHER HAS MEDICAL COVERAGE FO~ A YES, FOR FATH!'R TO MEET THIS CONCITION HS WOULD
                                                        Father must e1tlllb:1il'1-, permarn:-,,t place ot residence in
     Pennanent Residence of Father In                                                                                         llfELONG CONDITION IN F~ANCE ANO Hl:  HAVE TO MOVETOASHl.ANOAHO ESTABUSHA RESIDENCE
11                                                      Ashland. OREGON ttmt can adequately and safety
                                                        accommcxiate the children, in.duding a separate bed.toorn for
                                                                                                                              WOlJlD lOSE rT IF HE ESTABLISHES HIS  Tl<ERE, CONSIOElllNG THE COST OF UVING NE WOULD HAVE
     Oregon                                                                                                                   RESIDENCE IN Tli! USA, PLUS A HOME IiiTO GIVE lJP UVING IN FRANCE, THIS IS V!OLATING FATHER'S
                                                        them In • sar~ en\'iroM'lcflt.
                                                                                                                              ASHLAND IS MINIMUM S3000 FER MONTH    FUNOAMENTAl.RIGHTTO UV£ WHERE HE WANTS

12                                                                                                                           UO, FATHER oomn HAVE ANY FINA.~CAl
                                                         Father mu)t poo,t a bond of S1S0,000, payable to the mat:htr, In RESOURCE LEFT BECAUSE OF ONGOING
                                                                                                                                                                    YES, Th1S V10lAT£S TH£ FUNDAMENTAL RfGHT OF FATI-ER.
     Bond Posting of $150,000 by Father                  the c..-cnl he take$ the children out Qf Oregon in violation af the UTIGATION IN OREGOll lMPOS£0 BY
                                                                                                                                                                    TO BE A8lE TO SE£ HIS CHILDREN
13                                                       ~renting p!,1n.                                                     MOTHER IN BAO FNTH FOR OVER 2 YEARS IN
                                                                                                                              PARAUEl TO FRENCH ONE STARTED FIRST

     Access to Actlllitles and Events of the                                                                                                                               YES, 1HIS VlOlATIS THE FUNOM!EmALRIGHT OF FATNER
                                                         Father ls net allowed to attend the children's school acti"Vities
                                                                                                                              YES, THOUGH UNCONSTITUTIONAL                 TO BE ABLE TO SEE HlS O-OLDREN ANO BE lNVotVEO IN
14   Children Forbidden                                  and Jthletl, events.
                                                                                                                                                                           ltlf:IR Uf[
                                                                                                                              IMPOSSIBLE. FATHER UV[$ IN FRANCE A.~D
     Communication of Father with the      Fathff may c.all 1he <hlldten on t!it telcphon,c? two t1mei ?(!r                   THIS TIME 15 DfT\VtEN 3 AM ANO 5 A.~.        YES, Tt<IS VIOLATES TH£ FUNDAMENTAL RIGHT Of FATH<R
15                                         week. The call shaif lart no more than 15 minute! a~ sh.111
     Children bewteen 3m and Sam in France tllb place bet'Heen 6 PM and 8 PM.
                                                                                                                              HOW CAN FATl<ER SLEEP ANO WORK IF NE         TO BE ABU: TO COMMUNICATE IVITH HIS CH!LOREN ~NCE HE
                                                                                                                              KM TO BE UP EVERY NIGHT WAITlNG FOR A UVES IN FRANCE ANO CAN'T MOVE TO ASH!AND
                                                                                                                              POSSIDLE PHONE CALL Of HIS CHILDREN?
                                                         ff father hJs ~ new femile panner, he must Inform lhe                CONSIOfR1NG THE HISTORY OF MOTHER
16   Notification Requirement of Father's                P·l10thcr in writing at least 30 da-;s prior to any intended         HARASSING FATHER BOTHJUDlCAUV ANO L~
                                                                                                                                                                   YES, Tl<S VlOLATES THE FUNDAMENTAL RIGl<T OF fAMR
                                                         introduction af this new partr.e-r to the children. Tnls             HIS WORX THIS COUlD LEAll TO MOTHER
     New Partner                                                                                                                                                   TO HAVE A PARTNER IN H1S UfE
                                                         notlflcatJon m1Jst lru:iude lhe partner's full n.ime, blM d.lte,     PREVENTING FATHER FROM HAVING ANY
                                                         and cUtTent iddress.                                                 PERSONNAL RELATIONSHIP ANYMORE
17                                                       The new panner must undergo a psytt,olcglcat e\lilluation by a
                                                                                                                          fT SCEMS UNUJ(,(L YA NEW PARTNER WOUUJ
     Psychological Evaluation of Father's                llttnst'd P5vddoeist In 11':W.en C0ul'lty, Ottg<;n, to determine
                                                                                                                          WANT TO BE ENURING INTO A               YES, Tl<IS VlOlATIS THE FUtlDAMENTAL RIGHT OF F,\TNER
                                                         that she poses no risk to the. ct-Jldren. This rvalwtJon must be
                                                                                                                          RELATIONSHIP WITH FAntER rF 11-f!Y HAVE TO HA.VE A PARTNER IN HJS LIFE
     New Partner                                         confirmed by tlie coun before the partner c.m be fntrodw::ed to
18                                                       at 5pcnd Hmc with the children.
                                                                                                                          10 BE PSYCHOLOGY EVALUATED

                                                         AU co:nact between the new partner and the cMdrrn m..nt be IT SEEMS UNUl<tlY A NEW PARTNEII WOULD
     Court Approval of Father's New Partner              approved by the court. The coun. may lrnPo~ addillOMI      WANT TO Bf: £NT£RING INTO A            YES. Tl-OS VlOIATES THE FUNDAMENTAl RIGHT OF F.\TNER
19   contact with the Children                           condhions or restnctions on the contact 3.'5 It deems
                                                         appropr4,nt 10 ensure ttw children's s.:ifc-;y and well-being.
                                                                                                                              RRATIONS'1lP WITH FATHER IF THEY HAVE
                                                                                                                              TO 8E INVOLVED WITH A US COURT
                                                                                                                                                                           TO HAVE A PARTNER IN HIS UH


                                                                                                                              fl StEMS UNUl<flYA NEW PARTNER WOULD
                                                                                                                                                                   YES, THlS VIOLATE T~E fUNDAMENTAL RIGliT OF Tl<£
                                                         Falher Isn't perrnUled to have a member of lh4 opposite se-.         WANT TO OE ENTtRING fNTO A SERIOUS
                                                                                                                                                                           PA.qTNER TO NOTWANTTO BE MARRIED, THlS AlSO
20    No Overnight Stays of Father's Partner             who i, not re.lated to Father t,, blood or marriage. st.y
                                                         cvemight durir,.g Father's IWl!'ntrrig time with the Children.
                                                                                                                              R£lATION5t-tlP WITH FATHER If Tt-iEY HAVE
                                                                                                                              TO BE MAR.RIED TO EVEN GET TO l:NOW HI'S
                                                                                                                                                                           VIOLAm TH£ FUNDAWNTAl RIGliT OF FATHER TO HAVE A
                                                                                                                                                                           PARTNER IN HIS UFE
                                                                                                                              ClfllOllfN

21   -See attached Exhibit 20, table summarize the "non-conventional" conditions and
22   requirements of the qregon Judgment for Father to be able to see his children.

23               But more importantly this means that these conditions will keep the children from

24   seeing their father if they remain in Oregon. It is in the interest of the children to be returned
     to France under the Hague Convention where the French judgment is allowing for both
25


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1
     parents to be present in their lives.
2
     It's in the children's interest to go back quickly to having a normal life in France with both
3
     their mother and their father involved in their lives which is what I've been offering
4
     endlessly to their mother through mediation in France over the last 9 months. I offered
5    Mother some shared parenting time in France and for the kids to spend all their vacations
6    in Oregon which already amounts for a third of the year alone.
7    -See attached Exhibit 16, official mediation offer sent to Mother's French Counsel on
     October 30, 2023 by Father's French Counsel Terrence Richoux.
8

9    From Mother's behavior since the abduction in France two months ago, it seems she wants
     to permanently cut the children from having a real connection to their Father. Mother has
     severed entirely the link between Father and the girls no allowing a single video call since
11
     she abducted them, and it is only possible because Judge Orr's Judgment is allowing that
12
     in contravention of the basic parenting rights of any father, including the ones protected by
13
     the US and the Oregon constitution.
14
     -See attached Exhibit 82, email from mother saying she is cutting all communication
15   between Father and the children.

16
     11.Wrongful accusations by Judge Orr in open court about Father being a
17
        criminal.
18

19   Judge ORR showed clear proof of bias and lack of impartiality towards Father during the

20   Jackson County proceedings, going as far as mocking the French and their Judicial System
     in open courts.
21
     -See attached Exhibit 22, motion for Mistrial filed on August 2nd, 2023 by Father's former
22   lawyer, Tom Bittner in case 22DR17285 showing that Father wasn't given a fair trial in
23
     the Jackson County court and that Judge ORR had been making improper and insulting
     jokes against the French and the French judicial system in open court.
24

25


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1
                                            July 13, 2023
2                                                                                  2

                    1                     EXCERPT OF PROCEEDINGS
3
                     2                         July 13, 2023
4
                     3                              ***

5                    4                   MR. MURDOCH:     But that it be made

                     5    clear to him what he would be facing.
6
                     6
7

8

9
                   l!L
10

11

12
     -See attached Exhibit 23, email from Father's former lawyer, Tom Bittner from August
13   3rd, 2023, showing that Father was denied due process by Judge ORR who simply forbade
14   him from participating in his proceedings and also forbade Father's counsel to from
     representing him resulting in the Mother's custody judgment without due process.
15

16   As mentioned previously, Judge ORR is also subject of a recent complaint by the Medford
17   DA, Beth Eckert, for judicial misconduct and lack of impartiality in his proceedings.

18
     -See attached Exhibit 08, letter and motion from Medford DA, Beth Eckert, asking for
19   disqualification of Judge ORR from all criminal cases due to his lack of impartiality.

20          "I have never filed an affidavit on a judge in my 33 years in the District Attorney's

21          Office. Urifortunately, I do not believe that crime victims, law eriforcement officers,
            my attorneys or even the accused can receive a fair hearing or impartial trial before
22
           Judge Orr. " Beth Eckert, Medford DA, in a press release from July 26th, 2021
23
     And further down in her Motion for Disqualification Beth Eckert says:
24
            "COMES NOW, the State, by and through Beth Heckert, District Attorney for
25
            Jackson County, and based upon the Affidavit herein and moves the Court for an

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1
            Order Disqualifying Judge David Orr to hear the Jackson County District Attorney
2
            appearances for the reason the State believes it cannot obtain a fair and impartial
3
            trial or hearing before such Judge. "
4

5    As a result, Judge ORR was stripped in 2021 from handling any criminal and juvenile cases
6    by the Jackson County Presiding Judge at the time, Judge Lorenzo A. Mejia.

7
     -See attached Exhibit 08, Order by Judge Lorenzo A. Mejia stripping Judge ORR from
8    handling any criminal and juvenile cases in 2021.
9
     But Judge Bloom, the current Presiding Judge of Jackson County, recently re-instated
10   Judge Orr in a way that was the subject of a judicial complaint by the Medford DA Beth
11   Eckert for judicial misconduct and possible collusion between Judge Bloom and Judge Orr

12   for political gain.

13
     -See attached Exhibit 24, article from the Rogue Valley Times from April 27 th, 2024
14   explaining that the Medford DA believes Judge Orr and Judge Bloom have been in
     collusion together to commit 'judicial misconduct".
15
     It is to be noted that the timing of this local judicial and political scandal is surprising since
16
     Judge Orr recused himself from our custody matter just after he was informed of the
17
     abduction of Eva and Juliette from France and Judge Orr was also aware of the abduction
18
     when the Final Judgment granting full custody to their Mother was entered on April 24th
19
     since I had filed a Motion for Emergency Hearing regarding the abduction on April 22 nd
20   (and Judge Orr recused himself also on April 24th ).
21   -See attached Exhibit 25, Motion for Emergency Hearing about Abduction filed by Father
     Pro Per on April 22 nd 2024 in Jackson County.
22

23

24

25


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1

2           OREGON JUDICIAL DEPARTMENT - Online Records Search

3
              04/15/2024 Return - Mail ...
4
                Comment
5               Notice Ready for Trial - 1/3/24

6             04/18/2024 Notice - Withdrawal of Attorney

7
              04/23/2024 Motion - Set Aside ...

8               Comment
                Limited JGM from 12.28.2023 and Emergency Hearing on Kidnapping
9
              04/24/2024 Trial - Court .,.

              Judicial Officer
11            Orr, David J.

12            Hearing Time
              9:00AM
13            Cancel Reason
              Judgment
14
              04/24/2024 Digitized Judgment Document ...-
15
                Judicial Officer
16              Orr, David J.

17            04/24/2024 Notice - Judgment Entry

18            04/24/2024 Closed

19

20
     -See attached Exhibit 26, online case history showing that Judge Orr was aware of the
21   abduction in France when he entered the Final Judgment granting custody of the children
     to Mother.
22

23

24

25


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1

2

3

4                     IN THE CIRCUIT COURT OF THE STATE OF OREGON FOR JACKSON COUNlY

5
                Heidi Marie Brown,                                     Case No. 22DR17285
6
                                       Petitioner,                     ORDER. CASE ASSIGNMENT
7
                       v.
8               Arnaud Paris,

9         10                           Respondent.
          11
10
          12
                       This matter having come before the Court on 04/24/2024 on Its own motion,
11        13
               hereby Orders that this case and any associated cases be assigned to another Civil Family
12        14
               Judge. All future hearings shall be heard by the assigned Judge.
         15
13
         16
               SO ORDERED
14       17
               Dated:y'~d-'1-l)of)..~
15       18

         19
16
         20
17       21

18
     -See attached Exhibit 27, Order by Judge Orr recusing himself from the custody case and
19   any other associated cases.
20
     It is also to be noted that Judge Bloom himself took over the custody matter regarding our
21   children and refused to disqualify himself while I filed for his disqualification on May 15 th
22   2024 based on the possible collusion between Judge Bloom and Judge Orr that was
23   reported in the Rogue Valley Article.

24
     -See attached Exhibit 24, article from the Rogue Valley Times from April 27 th , 2024
     explaining that the Medford DA believes Judge Orr and Judge Bloom have been in
25   collusion together to commit "judicial misconduct".

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1

2            OREGON JUDICIAL DEPARTMENT - Online Records Search

3

4              05/13/2024 Letter ..,


5                Comment
                 A183410 re: Corrected Amended Notice of Appeal
6
               05/14/2024 Order - Recusal ..,.
7
                 Judicial Officer
8                Bamack, Timothy


9              05/15/2024 Motion - Disqualify Judge


10             05/16/2024 Order - Denial ...

11               Judicial Officer
                 Bloom, Benjamin M
12
               05/28/2024 Hearing - Motion "
13
               Judicial Officer
14              Bloom, Benjamin M

                Hearing nme
15
               9:00AM

16             Comment
               RSP's Motion to Disqualify
17

18   -See attached Exhibit 29, online case history showing that Judge Bloom took over the
     custody case and refused to disqualify himself while Judge Bloom had no legal basis to
19
     deny my request was timely and he had ruled on no motion in the case previously.
20
     -See attached Exhibit 30, motion for Disqualification of Judge Bloom filed by Father Pro
21   Per on May 15 th in case 22DR17285.
22
     In light of all these elements about Judge Orr's lack ofimpartiality and lack of due process
23
     in his proceedings it seems questionable to consider the "criminal accusation" that Judge
24
     Orr made against Petitioner in open court when he says on the hearing ofNovember 14th :
25


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1
            THE COURT:
2
            Be quiet right now. This is as though you are asking the Court to negotiate.
3
            with hostage-takers. This is what this looks like. You are now holding these children
4
            criminally. It doesn't matter to me whether you were charged criminally or not. You
5           have violated a criminal statute -
6           MR. PARIS:
7           Sir, I am in France ...

8           THE COURT:
            Be quiet, sir.
9
            MR. PARIS:
10
            I'm in France, Your Honor ...
11
            THE COURT:
12
            Be quiet, sir. You have violated a criminal statute, and it's afelony. You're
13          holding these children contrary to the court's order, and you want to continue to
14          litigate?
15
     This Honorable Court should know that I wasn't trying to be disrespectful in any way
16
     saying "I'm in France" twice, it wasn't a provocation at all, I was just trying to speak but
17
     unable finish my sentence every time to say that:
18           "I'm in France, your Honor, because a French judgment had ordered me to
19          ensure that our children would be starting school properly in Paris."
20   And that I had to comply with that French judgment and that French order the same way I

21
     had been complying with the Oregon judicial system throughout the 2022-2023 school year
     until that Status Quo order became superseded by the French judgement. And even then, I
22
     waited till the end of the school year in Ashland and even weeks after that trying to resolve
23
     the proceedings in person in Oregon while my residence was in France.
24
            So, when time came to ensure that the children would be having sufficient time to
25   prepare for returning to school in France, I was left with no choice but to follow what the

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1
     French Judgment had ordered me to do since I was the only custodial parent for our children
2
     per this French Judgment. I had all the responsibility on my shoulders, and I was told by
3
     lawyers and the French and US authorities that I was cleared to leave per the Oregon
4
     Statutes and I had also clearly indicated to the authorities that I would continue
5    participating in the Oregon proceedings remotely the same way I had been allowed to do
6    many times previously by Judge Orr.
7

8
     Consequently, my actions were not those of a fugitive but rather those of an individual, a
     Father, caught in a complex international legal situation while trying to comply with
9
     multiple legal systems and trying to do what's best for the children.

11   Such accusations from Judge Orr of being a "hostage taker" that Mother has been using in
12   her May 28 Response to this Honorable Court as proof of me being a "criminal fugitive"

13   is questionable in this context. Especially as I, Father, wasn't charged neither by the
     Medford DA nor by the US Attorney's Office for any abduction charges when I left the
14
     US with our children to return to France per the French Judgement.
15

16   -See attached Exhibit 07, translation of the email from the FBI agent Tamara Simmons
     confirming that both the FBI and the US Attorney Office denied Mother's request to press
17
     criminal charges against Father for child abduction. (Evidence originally provided in
18   French by Mother's French Attorney, Sandrine Farrugia, as Exhibit 87 in the French
     proceedings).
19

20
     12. Traumatic impact on Petitioner, Father, to have been denied due process
21       and the right to defend himself while actively trying to participate and often
22
         being forced to watch passively his civil rights being violated.

23   Father would like to point out how traumatic of an experience it has been to be treated in

24   such a way by Judge Orr in the Jackson County court.

25


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1
     The court tried to even make Father look like an "aggressor" by purporting the wrongful
2
     accusations of Mother that he was "harassing" the court while Father has only and always
3
     been communicating with the court staff respectfully and just to be allowed to participate.
4
     What Judge Orr said about me "harassing" his staff was yet again a misrepresentation since
5    all I was doing was asking by email why I wasn't given a hearing when I had properly filed
6    a motion to the court and each of my motion were being ignored and never being heard by
7    the court.

8
     To prove that I've always been respectful here is the type of emails I had been sending
9
     when Judge Orr mentioned that I had been warned by the Jackson County court to stop
     sending emails. This sounds like another attempt at indirectly asking me to stop trying to
11
     participate in the Oregon proceedings. Which now seems to have been a clear strategy to
12
     claim in this Hague Action that I was trying to evade the judicial while these very same
13   emails of me asking over and over to the Jackson County court why I was not allowed to
14   participate prove exactly the opposite:

15          "I have the upmost faith in your integrity Miss Allen, so I look forward to your

16          response and your explanation for not answering my previous emails regarding
            these motions since I am a defendant Pro Per entitled to proper response from this
17
            court regarding the status of my motions to dismiss this entire case for lack of
18
            subject matter jurisdiction and the required hearing date to address them in priority
19
            before setting any trial date.
20
            I'm looking forward to your response with the clear position of Judge Orr on
21          whether my FIFTH MOTION TO DISMISS FOR LACK OF SUBJECT
22          MATTER JURISDICTION DUE TO UNCHALLEGED REGISTRATION OF
23          FRENCH JUDGEMENT IN STATE OF CALIFORNIA will be intentionally

24
            ignored by this court so that this court can move forward with trial, denying me
            once again due process and proving judicial bias towards Mother from this court.
25


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1
           Regards,
2
           Arnaud Paris"
3

4    -See attached Exhibit 61, email sent to Judge Orr's court assistant, Miss Allen, on October
5
     25 th 2023 asking when motions that I had been filing since August could be heard, and why
     all my emails about obtaining a hearing dates for the different motions I had been filing
6    asking for dismissal of that case had been ignored by Judge Orr.

7    I would like to also point out that the Jackson County court not only tried to keep me
8    "silent" in my written communication with the court to deter me from filing more motions

9    that would have established my willingness and eagerness to participate in the Jackson

10
     County proceedings, but the court also forced me at times to watch my rights being violated
     in the most atrocious ways during those hearings.
11
           Particularly, on the hearing of December 21st 2023 in the Jackson County
12
     proceedings, Mother testified that Father was degrading women sexually to the point of
13

14   raping them, and Mother testified under oath of such slanderous unfounded accusations

15   without any possible way for Father to make any objections on the record to such atrocious
16
     lies. See the following excerpt from the hearing of December 21st 2023 in the Jackson
17
     County proceedings in which Father was not allowed to participate but only to listen
18
     without the right to make any objection nor to cross examinate, nor to bring any witnesses,
19

20   evidence or testimony to counter anything that was said in these hearing:

21          THE COURT

22          Can you explain or if, you know, when, when he talked about, you know, hurting
23
            women, in, in, in a sexual way, was this something like occurring against their will
24

25


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1
           or that this other person or the other woman was a willing participant, but also for
2

3
           some kind ofsexual reasons.

4          MISS BROWN

5          My understanding is that it started out as something they were consenting for and
6
           then when things got more intense, they, it was against their will at different
7
           points.
8
            THE COURT
9

           So you're concerned that something like that could happen within the, the

11          apartment or the dwelling while the Children are there.
12
           MISS BROWN
13
            Yeah. Yeah.
14
     Such an horrific accusation made by Mother in open court during her testimony against
15
     Father without any basis nor proof constitutes clear slander and is it consistent with the
16

17   parttern of misrepresentations and manipulations Mother conducted in all the courts, both

18   French and American as I will explain in a later section of this document.
19
            I think this should never happen in a courtroom to have a defendant willing and
20   wanting to participate being slandered and tarnished in such a horrendous way. This
21   traumatic event will remain engraved in my mind for a long time and I hope that justice
22   will be given to me about that specific experience by the Oregon judicial system and that

23   my complaint against Judge Orr won't be once again ignored the same way it was when I
     filed to the Judicial Fitness Committee about the improper jokes he made in open court
24
     about French people and the French judicial system.
25


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1

2    Here are a few more excerpts from the Jackson County hearings in which Judge Orr made
3    a gross denial of due process in my regards. On December 21 st 2023 Judge Orr said to me:
4

5          THE COURT
           So let me explain Mr Paris. I was willing to hear everything that you had to say with
6
           regards to the attorney fees and with regards to my order to you a month ago to
7
           return the Children. But here we're going back to the merits of the case which as
8
           I've explained to you, I'm not taking evidence from you or considering any kind of
9
           argument that you're putting forward, your participation today. I'm allowing simply
           as you can be here to observe the proceedings. So we 're setting that up for you with
11         webex so that you can, you can observe all this so that you know what's going on,
12         but you're not participating. So please do not interfere further at this point.

13         Excerpt from the FTR Transcript of December 21 st 2023.

14
     During the November 11 th 2023 hearing, Father was even more harshly treated by Judge:
15

16
           THE COURT
17
           Now you have them overseas and you want to litigate this case. So understand this,
18         all your motions that you filed subsequent to to, to removing the Children, and
19         removing as a kind word, the more accurate word is abducting. All the motions that
20         youfiled are not going to be considered;

21
     The court that went forward without letting any of the motions filed by Father considered
22
     for months on.
23

24

25


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1
     13.Bench Warrant in Jackson County for failure to appear while living in
2
        France.
3
        The bench warrant for failure to appear that Mother is using against Father to argue the
4
     "fugitive disentitlement doctrine" was issued by Judge Orr who had been making offensive
5
     jokes against the French people and the French judicial system in open court in the custody
6
     case. So, when Judge Orr was assigned to the related contempt case Father couldn't
7
     possibly believe that Judge Orr would be impartial against him, which is why Father asked
8    for his disqualification.
9    -See attached Exhibit 31, Motion for Disqualification of Judge Orr filed by Father Pro Per
     on January 3rd 2024 in the contempt case 23CN05721.
10

11          But that request was denied by Judge Bloom without any kind of explanation. Father
12   asked for a reconsideration of the disqualification asking for a legal justification for

13   denying Father's request while it satisfied all the statutory requirements to b.e granted.
     -See attached Exhibit 32, Motion for Reconsideration of Disqualification of Judge Orr
14
     filed by Father Pro Per on February 22 nd 2024 in the contempt case 23CN05721.
15
            Judge Bloom denied once again that Motion to Father without any kind of
16
     explanation and Judge Orr was able to proceed with the contempt case against Father in
17
     which he asked him to present himself in front of the court on March 7th 2024 in the middle
18   of the school year while Judge Orr knew very well that Father was living in France and
19   was the only custodial parent in charge of the children in Paris per the French Judgment.
20   Father asked to be allowed to appear remotely at the Show Cause Hearing of March 7th in

21   the contempt case since he was living more than 6000 miles away but Judge Orr denied
     Father's requests repeatedly.
22
     -See attached Exhibit 33, Motion for Remote Appearance filed by Father Pro Per on
23   February 22 nd 2024 in the contempt case 23CN05721.
24
     -See attached Exhibit 34, Motion for Remote Appearance filed by Father Pro Per on
25   February 29 th 2024 in the contempt case 23CN05721.

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1

2           Father also filed for a Motion for Continuance since he was being threatened of an
3    extradition request through the FBI that he had no idea how to fight legally and that no
4    criminal lawyer in Oregon seemed to be familiar with, let alone defend Father against

5    especially in front of Judge Orr. This motion was denied as well leaving Father without
     representation in Oregon.
6
     -See attached Exhibit 35, MOTION FOR CONTINUANCE FOR ALLOWING
7
     RESPONDENT TO FIND NEW COUNSEL SPECIALIZED IN INTERNATIONAL FBI
8    ARREST AND EXTRADITION ORDERS filed by Father Pro Per on February 29th 2024
     in the contempt case 23CN05721.
9
            More excerpts will be provided to this Honorable Court if needed to show that
     Father was wrongfully denied the right to participate remotely on the March 7th hearing as
11
     this seemed highly unusual to force someone who lives 6000 miles away to come in person
12   to a hearing while a proper judgment was in place in France first requiring Father to be
13   with children after bringing them back to France to prepare their school year per the French
14   Judgment of April 21st 2023.

15
            The Warrant for Father's arrest issued on March 7th 2024 for "Failure to Appear"
16
     was not the result of Father trying to escape the Oregon judicial system, it was the result
17   of Father having tried repeatedly to participate in the Oregon judicial system while he lives
18   in France 6000 miles away having to take care of his children per the French judgment and
19   he was being denied all his motions for remote appearance. Father is to this date still trying

20   to obtain a hearing on this "abusive" warrant for his failure to appear and Judge Bloom,
     who took over the case disregarding Father's motion for his disqualification, is
21
     continuously ignoring Father's motions while he already denied without any proper legal
22
     justification to disqualify himself in the Jackson County custody case (22DR17285).
23

24   -See attached Exhibit 36, Letter from Christopher J Eggert, who represented Father in a
     limited capacity during the May 28 th disqualification hearing of Judge Bloom.
25


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1
     In this letter Christopher Eggert who was in the courtroom in front of Judge Bloom says:
2
            "I am left with the distinct impression that for some reason Judge Bloom has an
3
            interest in keeping Mr. Paris and Ms. Brown's case on his docket under his control.
4
            Whether this is for proper or improper reasons I cannot say. But based on all ofthe
5           above history and factors, I am concerned that some form of investigation by
6           appropriate authorities is warranted to attempt to determine whether the rights of
7           Mr. Paris and his children are being upheld by the Oregon courts."

8           Christopher Eggert
     Father filed other motions to challenge the warrant for his arrest since Judge Bloom was
9
     recently assigned to this contempt case as well, Father equally asked for his disqualification
10
     in this third case and it was denied without even granting me a hearing while the "Oral
11
     Argument Requested" was clearly specified on the Motion.
12
     -See attached Exhibit 37, MOTION FOR SPECIAL APPEARANCE WITHOUT
13   WAIVING OBJECTION TO SERVICE AND JURISDICTION TO ASK FOR
     DISQUALIFICATION OF JUDGE BLOOM filed by Father Pro Per on June 6th 2024 in
14   the contempt case 23CN05721.
15   Father also filed a motion to dismiss the contempt case since Mother abducted the children
16   the relief that Mother was seeking in this contempt remedial case has happened: children
17   are in Oregon with their mother.

18
     -See attached Exhibit 38, MOTION FOR SPECIAL APPEARANCE WITHOUT
19   WAIVING OBJECTION TO SERVICE AND JURISDICTION TO ASK FOR
     DISMISSAL OF THIS ENTIRE CONTEMPT CASE OR TO SET ASIDE WARRANT
20
     FOR RESPONDENT'S ARREST AS RELIEF THAT PETITIONER WAS SEEKING
21   HAS HAPPENED - CHILDREN ARE WITH MOTHER IN OREGON filed by Father
     Pro Per on June 6th 2024 in the contempt case 23CN05721.
22
     As pointed out by several Oregon lawyers the warrant issued against Father is highly
23
     unusual and action is being taken to question the reasons for denying remote appearance.
24

25


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1
     14.Mother's proper legal remedy should have been a Hague Action in France
2
        if she thought Father had wrongfully removed the children from Oregon in
3       July 2023.

4    The remedy Mother asked to the Jackson County Court was meant to retroactively and
5    artificially grant the Jackson County court jurisdiction over the children against Father and

6    the French judgment by denying Father the right to participate and defend himself, to the
     point of issuing a warrant for Father's arrest several months after he returned to France.
7

8
     This is an unusual course of action to ask for a local court to interfere with the jurisdiction
9
     of France over Father and the children while they were living in France and attending their
10
     French school per the French Judgment that Father had an obligation to comply with on
11   French soil. Asking the Jackson County court to try to contravene with the French decisions
12   directly on French soil was an "unusual" legal approach. Especially considering that there
13   was a perfectly well-suited legal action that could have been activated immediately in

14   France by Mother when Father returned with the children per the French Judgment: a

15
     Hague Action.

16
     Starting a Hague Action in France when Father returned with the children was the only
17
     logical legal remedy to a situation of alleged 'abduction' that both Mother and Judge Orr
18
     were claiming Father did in July 2023.
19

20   To emphasize this point, Father prepared the following flow chart comparing these two
21   paths of action and their consequences onto the children, the parents and the judicial

22   systems.

23

24

25


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1
              LOGICAL LEGAL WAY                                                                                   MOTHER'S "LEGAL'' WAY
2          FATiiER RETURNS TO FRANCE MID                                                                         FATHER RETURNS TO FRANCE M!O
             SUMMER 1111TH CHILDREN PER                                                                            SUMMER WITH CHILDREN PER
            FRENCH JUDGEMENT PROPERLY                                                                             FRENCH JUOOEMENT PROPERLY
                                                                                                                    REGISTERED IN OREGON TO
3             REGISTERED IN OREGON TO
                                                                                                                 PREPARE SCHOOL YEAR IN PARIS
           PREPARE SCHOOL YEAR IN PARIS
                           SFO Border Patrol let Fathe,-
4                          leavc US wilh cnildren after            MOTHER AND HER COUNSELS
                                                                   PRESENTS FALSE DOCUMENT
                                                                                                           MOTHER ASKS JUDGE
                                                                                                          ORR TO FORBID FATHER
                                                                                                                                       MOTHER ASKS MEDFORD DA TO
                                                                                                                                        PRESS CRIMINAL CHARGES
                           looklng at Status Quo ordet
                            an<l the French Judgment              FROM JACKSON COUNTY COURT                TO PARTICIPATE NOR         AGAINST FATHER FOR ABDUCTION
                                                                   TO FRENCH POLICE SAYING IT                HIS LAWYER TO
5                                                                   WAS A CRIMINAL ABDUCTION                 REPRESENT HIM
                                                                NOTE: FATHER COULD PRESS CRlMlN/\L                    GAA'ITEO
          MOTHER 8EUEVES 1rs AN ABDUCTION                     CHARGES AGAINST MOTM,R AND MOn!ER'S                   BIJTIUEOAL
         AND THAT THE STATUS QUO WAS VALID                             COUNSELS FOR THAT. H£ HA.SN!            PER OflEGON SUPREME
6          AND THAT CHILDREN SHOULDN'T BE                                                                             COURT
        RESUMING SCHOOL IN FRANCE, SHE FILES               Fathw. ~1:ed                                                                 MOTHER ASKS FBJ AND US GA
                                                                                  MOTHER OBTAINS INVALIDATION OF FRENCH
        A HAGUE ACTION IN FRANCE, COST $5- l0k             to ,Pvttieti)~:to                                                            MERRICK GARLAND TO PRESS
                                                                                JUDGMENT SAYING THAT FRANCE DOESN'T HAVE
7                                                            rcmotol,',
                                                              OENJED              UCCJEA ANALYSIS (LIKE 98% OF TiiE PLANEl)             CR!MINAL CHARGES AGAINST
                                                                                                                                          FATHER FOR ABDUCTION


8                                                                               MOTHER ASKS FOR CONTEMPT CASE AND JUDGE F.r.h$" asked
                                                                                                                              to participa!it
                                                                                ORR ISSUES A WARRANT FOR ARREST TO FATHER       n,"10!,,;/,
      MOTHER CONTINUES HER        CHILDREN ARE BACK TO OP.EGON                 FOR FAILURE TO AFPEAR WHILE HE LIVES IN FRANCE    OEt..'lID
9        FRE:NCH CUSTODY
        APPEAL PROCESS IN
                                   WITHIN A FEW WEEKS AND THE
                                    OREGON COURT CONTINUES                                                                              MOTHER ASKS JUDGE ORR TO
       FRANCE ARGUING THAT        CUSTODY DETERMINATION ABOUT                     MOTHER OBTAINS CUSTODY OF CHILDREN IN                MAKE AND ORDER TO EXTRADITE
       OREGON SHOULD HAVE        THE CHILDREN IN JACKSON COUNTY                OREGON WITHOUT FATHER ALLOWED TO PARTICIPATE             FATHER AND CHILDREN FROM
          JUPJSOICTION OR                                                                                                                        FRANCE
                                                   AND
         ARGUING rrlAT SHE
        SHOULD BE GRANTED        MOTHER CAN ALSO PRESS CRJMINAL                                                                      NOTE: C-Ost t
          CUSTODY OF THE         CHARGES AGAINST FATHER BOTH IN                                                                       $150k, and
11      CHILDREN IN OREGON            FRANCE AND IN THE US                                                                           French school
                                   ON TOP OF THE HAGUE ACTION                                                                         year ruined

12
             It is also to be noted that in France the appeal process does give an opportunity to
13
     the parties to present new evidence and make a De Novo trial. Every single point and
14
     argument that Mother has made in the Jackson County court when Father was not allowed
15   to participate or defend himself could and should have been made in front of the appeal
16   court of France. If Mother claims she didn't get a chance to present sufficient evidence
17   during the March 31st hearing in France that denied her custody of the children in Oregon

18   she could present all this new evidence in the French appeal and have the French decision
     reversed.
19

20
     Why did Mother prefer to use strategy of pushing the jurisdiction of the Jackson County
21
     court over France with the help of Judge Orr rather than using the proper return mechanism
22
     of a Hague Action in France or through her appeals to the French judgment in France?
23

24   I would like to point out that the Jackson County court was largely influenced in its
25   "criminal" analysis by what Mother's Counsel, Taylor MURDOCH, was literally dictating


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1
     Judge ORR to write these specific wording in its judgment so that Mother could then bring
2
     forward this "fugitive doctrine".
3

4
            THE COURT
5           Mr. Murdoch, the, the language you propose is somewhat stilted. So, so what you
6           would have me say there is father departed. So I have changed the word absconded
7           to departed. But then you would have me say father departed to France with the

8           minor Children. And then you said criminally, comma, in this court's view?
            MR.MURDOCH
9
            In this court's view, criminally. Coma.
10
            THE COURT
11
            All right, I'll, I'll try putting that in.
12
     Excerpt from the FTR Transcript of December 21 st 2023.
13
     This is as if Mother and Counsel knew that they needed to have that specific wording in
14
     place in the Judgment from Judge Orr so that later on they could bring up such a defense
15
     in order to defeat this Hague Action. This Honorable Court will note that this request made
16
     by Mother's counsel to Judge Orr took place more than 4 months before Mother abducted
17
     the children from France knowing very well that this would result in a Hague Action on
18   my part as it is in front of this Honorable Court right now.
19

20
     The only possible explanation to choosing this course of action is that Mother and her
21
     Oregon counsels knew back in August-September of2023 that this strategy would involve
22
     as a final chapter the abduction of the children from French soil in contravention of the two
23   French judgments and that this "fugitive disentitlement doctrine" argument would be their
24   only possible response to the Hague Action would necessarily bring upon Mother in
25   Oregon.


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1

2         It appears Mother and her counsels wanted to circumvent the French judicial system
3    onto French soil through the involvement of the State Department and the FBI as a result
4    of this abusive and bad faith court's orders made in the clear intent to harass Father and

5    disrupt the children French education.

6
          Mid-summer 2023 Father and the children had to be back in France to prepare their
7
     return to the French school year as Father was instructed and ordered to do by the French
8
     judgment of April 21st 2023. It was Father's responsibility to ensure so.
9
          It was in the best interest of the children to ensure that they could start their French
     school year properly in Paris and nothing was keeping the Jackson County proceedings to
11   continue with Father participating remotely. That's what would have been the most logical
12   course of action with a party living 6000 miles away. But instead, the Jackson County court

13   decided to:
     I)   Forbid Father to participate or to be represented in these proceedings.
14
     2)   Forbid Father's Oregon lawyer to represent him in these proceedings.
15
     3)   Order Father to uproot the children in the middle of their French school year.
16
     4)   Order Father to come to the other side of the planet to present himself in front of the
17
     court to ~xplain why the children where in French school while it knew that it was what
18   the French judgement had ordered Father to do in the superior interest of the children.
19   5)   Issue a warrant for the arrest of Father because he failed to appear.
20
          All this could have been prevented if Mother had followed the logical course of action
21
     of starting a Hague action in France as soon as the children were taken to France on July
22
     23rd since per the Hague Convention the French court would have been required to handle
23   this matter expeditiously (4-6 weeks in France) which means that the matter could have
24   been resolved much faster than what the Jackson County proceedings took to try to bring
25


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1
     back the children to Oregon while it didn't have any jurisdiction to do so and it contravened
2
     to the UCCJEA Statutes through this entire process.
3

4    15.Mediation taking place in France just a few days before the abduction of the
        children by Mother early April 2024.
5

6        It is to be noted that just before this kidnapping Father had offered to participate in a
7    mediation in France that Mother attended on the first meeting and used the second meeting

8    to mislead Father to lower his guard. Father is still willing to continue this mediation
     process with Mother in France if Mother is willing to return the children to France
9
     immediately and Father is still willing to offer Mother to get shared custody in France and
     to allow children to travel to the US every French vacation.
11
             For all these reasons it is crucial that the children don't become any further victims
12
     of this situation and that they be returned immediately by Mother to France in order to
13   salvage their French school year and that the French custody proceedings that had been
14   filed first and were first to judgment be properly concluded in France through Mother's
15   appeal that is supposed to take place within a few months and in which Mother will be

16   given a chance to argue that the first French decision should be revised to grant her custody
     of the children in the US or to relinquish jurisdiction to the Oregon courts.
17
     -See attached Exhibit 17, email from the French mediator in Paris to the President of the
18   Paris Appeal court informing her that Petitioner had left France with the children right in
19
     the middle of the French mediations without any warning while she had agreed and
     committed to these mediations in Paris.
20
     But before that Father had tried since last fall to have mediation take place between him
21
     and Mother. on January 3rd 2024, Mother, Miss BROWN, was asking Father, Mr. PARIS,
22
     to send to her French lawyer, Miss FARRUGIA, the mediation proposal that had been sent
23
     previously to Miss BROWN's French criminal lawyer.
24

25


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1
     The content of that proposal (translated from French to English) is attached herein as
2
     Exhibit 16.
3
     The first line of that proposal is unequivocal:
4
                                                 a
                   « Monsieur PARIS s 'engage donner la garde partagee des filles     a
5                  Madame BROWN si cette derniere vient s 'installer en France.»
6    Which translated to English says:
7
                   "Mr. PARIS is willing to give shared custody to Miss BROWN ifshe agrees
8                  to move to France. "

9    -See attached Exhibit 16, official mediation offer sent to Mother's French Counsel on
     October 30, 2023 by Father's French Counsel Terrence Richoux.
10

11   Then discussions between French lawyers continued the following week by email and a
     phone meeting was organized between Miss BROWN's French civil lawyer, Miss
12
     FARRUGIA, and Mr. PARIS' French civil lawyer, Mr. RICHOUX on January 15 th 2024.
13

14   -See attached Exhibit 55, English translation of an excerpt of Father's Whatsapp
     discussion with his French counsel Mr. RICHOUX from January 15th regarding a phone
15
     meeting between the French lawyers that took place on that same day.
16

17
     It is to be noted that later on Father also offered to Mother to have equal parenting time
18
     even if she didn't want to move back to Paris. Indeed, Father offered to Mother that she
19
     could have all of the children French school vacation to take the children to be with their
20   American family in Oregon which amounts already for 4 month of parenting time, so a
21   third of the year. And then Father told Mother that to have another two months of parenting
22   time during the year to really have equal parenting time between them he was willing to let

23   her have, his apartment in Paris 2 months a year to be near the children school without
     having to find lodging if her work would allow her to work remotely for about two months
24
     during the year. Which is already the case since her company is located in Pennsylvania
25


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1
     and she lives and works remotely in Ashland so several thousands miles away from her
2
     company. It didn't seem unrealistic to consider that working for a couple of months from
3
     Paris would be something difficult to negotiate with her company in that context.
4

5                                  :::; Fro8: 9                    10:09                      100 ¾ · - ·

                                    (:· - ijJ)  Heidi Brown
                                               .... -....... , ....
                                                                                      (J:J ~
                                                                    .......... ...................
6                                 ·~-,      -
                                          --·~    -•---..      ,   ..,...._.      ,:,                 ;

                                                             lun.11 mars

7                                                  . Look if we're creative you could
                                                     spend half of the year wit!l the
                                                     girls, including a large portion
8                                                 • with them in Oregon, remember
                                                     that the French school vacation
9                                                    is more than a third of the year.


                                                   . If you would just spend a couple .
                                                     of months working remotely in .
                                                    •France you could easily have the ·
11                                                   girls with you a solid half of the
                                                     year.
12
                                                      With more than half of your time.
                                                      being spent in Oregon. • ;,;,2 , ✓/
13

14
                                                                   ~           Appel vocal
                                                                               Sans reponse      I d:Zo
                                                                                                          •            I
                                                      0 Vcus avez supprime ce message.·
15                                                                                          , ..1:?
                                                                                                  .
                                                                                                              0
                                                                                                              V

                                                      If Tommy cares about you he •                               ••
16                                                    would and wiU understand that


17
                                     +
     -See attached Exhibit 59, Whatsapp discussion between Father and Mother on March 11 th
18
     2024 confirming the offer made to Mother by Father to have equal parenting time
19
     throughout the year with all the French school vacation to be spent with their American
20
     family in Oregon (which amounts to 4 months a year) and Mother could have another two
21   months of parenting time in Paris without having to worry about finding lodging near the
22   children's schools in Paris since Father offered to let her use his apartment and he would
23   go and live with his family near Paris during that time.

24

25


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1
                It is to be noted that Mother on the contrary made a different kind of offer to Father
2
     earlier in the school year in which she offered Father to separate the children for the rest of
3
     their childhood having one each live with one parent and switching every year.
4

5     1'!.M    09/12/2023   1.20   $380.00
                                                                             late-~t Arnaud l'arls motion and .,,~d to client
                                             $456.00    Profcs.sioual flee   f.malls wHh client and phone conference with Sandrlne regarding strategy; email client
                                                                             trial dates; emails rcgardin~ trial schedu\Jng
6     Tl.M     09/13/2023   1.20   $380.00   HS6.00     Professional Fee     DraJ~ _lcngttiy::,utmnary :email _ro client; cmoil.dfont; phone c.~ll arid messages" \v!tli
                                                                             dfent rcgardinguivfdinlt children· as settlement

7    -See attached Exhibit 60, page 11 of Mother's "Petitioner's 2nd Statement of Attorney
8    Fees" filed on January I I th 2024 with the Jackson County court detailing Mother's lawyer

9    invoice showing that on September 13 th 2023 her counsels were preparing an email to
     Father's counsel regarding "Dividing children as settlement".

11
     NOTE: This offer from Mother having been made through an "unofficial" communication
12
     between French counsels, Father is not allowed to produce that communication that his
13
     French counsel received as evidence but this excerpt from Mother's "Attorney fees
14   statement" clearly confirms Mother made such an offer.
15

16

17   Furthermore, Mother didn't deny having made this offer to Father of separating the girls
     during the hearing of December 21 st 2023 as can be seen in the following FTR excerpt from
18
     that hearing:
19

20
                THECOURT
21
                How long has it been since the children have seen their mother?
22             MR.PARIS
23              She came in October until I, I believe the first of November. So it's been, it's been
24              about a month and a half and she's gonna be there in 10 days. For a week. It's, it's

25              terrible, kids, kids should be with both parents and you know, this is the situation.


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1
            One of the parents was going to, to, we can't split the Children in two. We can't. I
2
            mean, I know Miss Brown askedfor that. She, she made your proposal ofseparating
3
            the Children and having one each on each side of the planet and switching every
4
           year. All, all the lawyers were like, "what, what the hell! like no judge in the world
5           is going to agree to that. This is insane. " This is how desperate she is. She's willing
6           to separate sisters for the rest of their childhood "
7           FTR excerpt from that hearing of December 21 st 2023.

8
     16.Mother's manipulations of the Oregon and French courts.
9

        a. Mother's fraud onto Father and the French Judicial System in Paris with the
           July 19th Agreement made in bad faith in order to bring the children to
11
           Oregon.
12
         This is probably the biggest and most shocking of all of Mother's manipulations. Miss
13
     BROWN made a fraudulent agreement on July 19th 2022 in France to convince Mr. Paris
14
     to agree to a temporary school year in Oregon making him believe that there was still hope
15
     for their relationship if he agreed to this and that she didn't want a separation. While on the
16
     email Father found early September 2022, it is clear that not only did Mother want a
17   separation at the time she made the July 19 th agreement but she also wanted to evade the
18   French judge and the French judicial system regarding custody of their children who had
19   been living in France for the last 3 years before that agreement in order to bring that custody

20   case to the Jackson County court once it would have acquired home state jurisdiction after
     6 months over France.
21

22   See attached Exhibit 02: French July 19th Agreement between Miss BROWN and Mr.
23
     PARIS French lawyers.

24   See attached Exhibit 00: Email dated July 20 th showing that Miss Brown had no intent in
     respecting the July 19th agreement and she had a plan to make a separation down the line
25   in Oregon so that she could bring the matter in front of a local custody court that would be

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1
     more favorable to her and would allow her to keep the children in Oregon and avoid a
2    separation in France.
3
     This was also very clear to the Federal Judge McShane who saw clearly in the fraudulent
4
     and deceitful plan ofMiss Brown clearly during the Hague Trial (see attached Exhibit 41):
5
            "THE COURT It does certainly suggest within the body of Exhibit 41 that Ms.
6
           Brown's intent of entering into the July 9 agreement was simply to perpetuate a
7          fraud on both the French courts and Mr. Paris. So I do think it falls, generally,
            under the -- what we call the crime fraud exception. "
8
     Then further down the same page in Exhibit 41 he says:
9

10         "THE COURT: But there's lots of other evidence that prior to filing the Hague
           Convention Act case, that it was clear that -- at least on the evidence I have before
11         me so far -- there's a lot of clarity that Ms. Brown did not intend to return with the
           children to France. "
12

13   And then in Exhibit 42 he adds:

14         "THE COURT If there is extrinsic evidence, it would be the fact that Ms. Brown
           entered into a parenting agreement in France and then made it very clear in
15         communications with her lawyer she has no intent on following that agreement. "
16
     See attached exhibit 41: Except0l from the Oregon Federal Hague trial in December 2022
17   where judge Mc Shane made a finding of the fraudulent intent from Miss Brown.

18   See attached exhibit 42: Except02 from Oregon Federal Hague trial in December 2022
     where judge McShane made a finding of the fraudulent intent from Miss Brown.
19

20
        b. Mother's Perjury in her Status Quo and Dissolution petition to the court by
21         not disclaiming that she was aware of a custodial action already started in
           France.
22

23   It is indeed very important to inform this Honorable Court that Mother's disingenuous

24
     actions in the Jackson County court started as early as when she filed her custody action
     back in October 7th 2022 and when she asked also for a Status Quo order for the children.
25


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1
     Indeed, in her initial petitions Mother didn't mention that there were already custodial
2
     proceedings that she was fully aware of in France.
3
     During the previous Federal Hague Action proceedings in Oregon that took place in
4
     December 2022 in Eugene, Mother's counsel confirmed that she knew of the French
5    proceedings. Here's an excerpt from the Oregon Hague trial from December 2022 in
6    Eugene, on page 5 the section highlighted in yellow confirms that Mother knew of the
7    French custodial action having been filed first in Paris:

8
            "Now, why did she file Exhibit 49, the custody case in Oregon? Not because that

9           was part ofher preplan, because, in/act, the six months obviously hadn't expired at

            that point. She did that because Dad had filed in France, on October 3rd, a French
11
            custody case. And Ms. Brown was concerned that, again, it was another reneging
12
            of a contract, and that Mr. Paris was going to use the October 3rd French custody
13
           filing to again yank the kids back. "
14

15   -See attached Exhibit 10, excerpt from the Hague Federal proceedings m front of
     Honorable Judge McShane from last December 2022 in Eugene, Oregon.
16
            In this transcript, Miss Brown's lawyer says clearly that Miss Brown knew about the
17

18   French custody case Father had been filed already on October 3rd, 2022 (the filing was

19   missing a document on October 3rd and was redone on the 4th ) and Miss Brown filed her
20
     custody case in Oregon in response to it on October 7th, 2022 including the ex-parte
21
     motion for Status Quo order. Yet in her declaration to obtain the Status Quo order, Miss
22
     Brown declared under perjury that she didn't know of any other custody proceedings about
23

24
     the children:

25


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1
              "I do not know of any proceeding that could affect this proceeding, including any
2

3             proceedings for enforcement or relating to domestic violence, protective orders,

4             termination ofparental rights, or adoptions. "

5    -See attached Exhibit 11, Status Quo motion from Miss Brown specifically the points 16
     and 17 on page 5.
6

7       c. Mother provided false testimony about get her new French lawyer just before the
           French custody hearing - Clemence Brassens Testimony.
8
     Mother committed perjury in the Jackson County court regarding the hiring of a new
9
     French attorney just a few days before the March 31st hearing in Paris about the custody
     of her children. Mother falsely testified in front of Judge Orr about her legal representation
11   and the timeline related to her hiring a French attorney for a crucial custody hearing in
12   Paris on March 31, 2023:
13
     Mother claimed that she had hired a new French attorney, Clemence Brassens, just days
14
     before the March 31st hearing. This statement was intended to justify her lack of
15
     preparedness for the hearing and the subsequent unfavorable ruling regarding the custody
16   of her children. According to the declaration by Clemence Brassens and testimony from
17   the July 12, 2023 transcript, Mother's claim was untrue. Brassens was not retained just
18   days before the hearing but had been in contact regarding the case since February 2023.

19
         12       6.   At tl1c March 31, 2023 hearing, I was surprised that the judge decided to examine
20
         13             both jurisdiction and custody. My focus has been centered on jurisdictional
21
         14             arguments, as that was my understanding of the purpose of the hearing. I believed
22
         15             it was likely that the judge would agree to postpone the hearing and make a decision
23       16             on custody at a later date not only because that is common, but also because I had

24       17             only been on the case for five days at the time of the hearing, and that is typically

25       18             sufficient reason to postpone a hearing.


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1

2    -See attached Exhibit 44, Declaration from Clemence Brassens, Mother's French attorney
     who represented her at the March 31 st hearing in Paris on the custody matter about our
3
     children.
4
     Miss Brassens stated in her declaration that she had been acting as legal counsel for Miss
5
     Brown since March 27, 2023, specifically for the French case numbered RG 22/38495. She
6
     appeared on behalf of Miss Brown at the March 31, 2023 hearing in Paris and pleaded the
7    case on bothjurisdiction of the French court and on the merit of the custody of the children
8    for Miss Brown though in her declaration she indicated that she only pleaded on the French

9    judge's lack of jurisdiction and not on the merit.

     Noemie Huchet Tran, who was contacted by Miss Brown's former US attorney, Ryan
11
     Carty, testified in open court under oath that Miss Brassens initially reached out to her on
12   February 13th 2023 to discuss acting as an expert witness in Mother's Oregon case. This
13   contradicts Miss Brown's claim that Brassens was a new attorney brought in last minute

14   just before the March 31st Paris hearing on the custody of the children:

15
            MR. BITTNER:
16          Ok alright, so that now that lawyer apparently at some point resigned from the case. Is
            that correct. Sorry now I got confused I though that Clemence Brassens represented Miss
17          Brown at the March hearing, correct?

18          MISS HUCHET TRAN:
            Yeah, that's what the decision says, Clemence Brassens represented Miss Brown.
19
            MR. BITTNER:
20          Well it is your testimony that Clemence Brassens, that she contacted you in February of
            the past year to be an expert witness for Miss Brown.
21

22          MISS HUCHET TRAN:
            Yeah let me check that... yes it was the 13 offebruary 2023, and then I was just in contact
23          with Ryan the next day.

24          MR. BITTNER:
            Ok. And you are positive that it was Clemence Brassens in February.
25


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1
            MISS HUCHET TRAN:
2           Well. Yes but she didn't seem to know the case cause she told me that... well basically she
            said she didn't have the whole file yet. It was very brief I don't know ifshe was officially
3
            retained or not in the case. She just told me I have a new case, could you intervene as an
            expert witness.
4

5    -See attached Exhibit 45, Transcript from the July 12, 2023 hearing during which Miss Huchet
     Tran testified in the Jackson County Court for Mother.
6

7    Miss Brown's statements regarding the hiring of Clemence Brassens as her attorney just before
8    the March 31st custody hearing in Paris were false. These statements contradicted the evidence
     provided by both Clemence Brassens and Noemie Huchet Tran, proving that Miss Brown had
9
     committed perjury in her testimony to the Jackson County court.
10

11   But Miss Brown's misrepresentation through her French attorney doesn't stop there because in her
12   Mother argued to the Jackson County court that Miss BRASSENS she didn't plead on the merit

13   of the case and that she only pleaded on the lack of jurisdiction of the French judge. To prove that
     she points out to page 12 of Miss BRAS SENS' declaration (Exhibit 44):
14

15

16

17

18

19

20

21

22

23

24

25


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1

2
                                        PAR CES MOTIFS
3
       IN LIM/NE LITIS
4

5      II est demande au Juge aux affaires familiales de PARIS de:

6          -   SE DECLARER INCOMPETENT pour connaitre du present litige au profit du
                                                            a
               Tribunal competent de l'Etat de !'OREGON savoir le Tribunal de Circuit de
7              l'Etat de l'OREGON ;

8          -   A titre subsidiaire, si le Juge aux Affaires familiales de PARIS se declarait
               competent, et considerait qu'il existait une situation de litispendance, DIRE
9              RECEVABLE ET BIEN FONDEE !'exception de litispendance, et SE
               DESSAISIR au profit du Tribunal de Circuit de l'Etat de !'OREGON au regard
               de l'anteriorite de sa saisine ;

11         -   A titre extremement subsidiaire, si le Juge aux affaires familiales de PARIS se
               declarait competent et considerait avoir ete saisi en premier, RENVOYER
12             l'affaire afin que les parties puissent se mettre en etat sur le fond du dossier.

13

14
     This page shows the final page of the "Conclusions" (pleadings) that Miss BRASSENS presented
15   and pleaded to the French judge on March 31st 2023 which seem to show that she only pleaded
16   on the lack of jurisdiction of the French judge.

17
     Except this last page is not the real last page of Miss BRAS SENS "Conclusions" (pleadings) that
18
     Miss BRASSENS presented and pleaded to the French judge. She actually had the obligation to
19
     provide them to Father's French lawyer Terrence RICHOUX as well as to the French court on
20   March 31st 2023. And the real "Concusions" from Miss BRAS SENS show clearly that MR.

21   RIRCHOUX added as an exhibit of his declaration to the Jackson County court show that Miss
     BRASSENS did plead on the Merit of the custody for Mother, see page 15 of Terrence Richoux's
22
     declaration in which the last page of Miss Brassens conclusion was translated to English. This
23
     translation shows that Miss BRASSENS was desinginuous in her declaration or worse that she
24   falsified the last section of her "Conclusions" not conceal that she did plead on the merit of the
25   custody of the children for Mother in Oregon:


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1

2

3
                                       FOR THESE REASONS
4

5     IN LIM/NE LITIS

6
      It is requested that the Judge of the Family Court of PARIS:
7
         -   DECLARE ITSELF INCOMPETENT to hear the present dispute in favor of the
8
             competent Court of the State of OREGON, namely the Circuit Court of the State of
9            OREGON;

10       -   Alternatively, if the Judge of the Family Court of PARIS declares competence and
             considers that there is a situation of lis pendens, DECLARE THE OBJECTION OF
11
             LIS PENDENS ADMISSIBLE AND WELL-FOUNDED, and REFER THE CASE to the
12           Circuit Court of the State of OREGON due to the prior filing in that jurisdiction;

13
         -   In an extremely alternative manner, if the Family Court of PARIS declares itself
14           competent and considers that it has been seized first, REMAND the case so that the
             parties can come to an agreement on the merits of the case.
15

16       ON THE MERITS

17       -   ORDER Mr. PARIS to pay a sum of €3,000 under Article 700 of the Code of
             Civil Procedure.
18
         - ORDER the referral of the case for substantive examination
19       - Alternatively:
             SET the children's habitual residence at the mother's residence in the United
20
             States; failing this, ORDER the maintenance of the alternating weekly
21           residence as practiced by the parties since October 2022 in the United States;
             ORDER the sharing of expenses concerning the children.
22

23
     -See attached Exhibit 46, Declaration Terrence RICHOUX about the hearing of March
24   31 st 2023 in Paris during which Miss BRAS SENS, Mother's French lawyer, did plead on
25   the merit and asked for custody of the children in Oregon with Mother.

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1

2
     In his declaration MR. RICHOUX, Father's lawyer, who was present at the March 3 pt
3
     2023 hearing in Paris during which the custody matter was heard on the merit by the French
4
     judge a.s expected (since this matter had already been continued for almost 3 months
5    specifically so that counsels could prepare to plead on the merit) confirms under oath as a
6    witness that Miss BRASSENS did plead on the merit about the custody of the children for
7    Miss BROWN.

8
     This shows that there was a second misrepresentation made by Mother and her French
9
     lawyer, Miss BRAS SENS, to the Jackson County court using disingenuous or falsified
10
     conclusions to claim Mother didn't plead on the merit of the custody of our children during
11
     the March 3 pt hearing in Paris and that they didn't ask for Mother to have custody in
12   Oregon. This evidence shows clearly that they did ask for custody of the children in
13   Oregon and pleaded for that on the merit in front of the French judge in Paris on
14   March 3pt 2023.

15
     There is nothing more to say here, Mother's was once again being disingenuous to the
16
     Jackson County court, and this shows a clear pattern of misrepresentation and
17   perjury to the Oregon judicial system on her part.
18

19      d. Falsification of a Jackson Court Document presented to the French police and to the
           French judge before asking a Jackson County Judge to sign the document a day
20         later (when Father took back the children to France).
21

22   On July 24th 2023, Mother's counsel Taylor MURDOCH asked for an emergency phone
     conference with Jackson County to ask the judge (Judge Bloom) to sign a document that
23
     had already been presented to the French police and the French Judge about a "claim of
24

25


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1
     abduction" of the children by the Father while the return had been approved by the French
2
     and the US authorities.
3

4    During this emergency phone conference Taylor MURDOCH, Mother's counsel, asked the
     Jackson County court to sign a document that was incriminating Father for having done an 'alleged
5
     abduction' that MR. MURDOCH had prepared himself the day before and that had already been
6
     presented to the French authorities by Mother's French counsel as corning from the Jackson
7    County court:
8
            MR.PARIS
9           Thank you your honor, I want to bring to the attention of the court that I have not
            taken these Children without an approval from the US government that was vetted
10
            by the border patrol. And it was also approved by the French consulate that
11          referred to US authorities in making that decision to let the Children travel with
            me. The second point that I need to make is that Mr. Murdoch actually transmitted
12          the letter that you're looking at already to the French police and to the French
            Judge. Claiming that this was already a letter from the court.
13

14          MR.MURDOCH
             Your honor, I object to this, first of all, that's a representation, that's completely
15          false representation. Secondly,
16          MR.PARIS
            I 'am a witness, Mr Murdoch! I was there when the police officer showed me your
17
            letter 12 hours ago and I was told that a judge in Oregon had written that letter
18          and it was asked to me why I would have violated an order from a judge. And all
            the arguments that are in that letter were presented to me by Miss Brown's lawyer
19           in the email that was provided to the police. So how do we explain that a French
            judge and the French police are already considering that as evidence in a case,
20
            which to me sounds like misrepresentationfrom Mr Murdoch and almost forgery
21          at the expense of the Jackson County Court?

22          THE COURT
            Thank you Mr. Paris. So I'm I'm gonna say if, the Status Quo is in effect and there
23
            are ways remedying that situation and the appropriate thing for the court to do is
24
            not to respond by letter, thereby inserting itself in these proceedings. But that the
            parties do that based upon the order of the court issues with that.
25


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1
            MR.MURDOCH
2           Well, ifI may respond to Mr Bittner's argument too. So what we're, what we're
3
            looking for

4           THE COURT
            You know Mr. Murdoch, I think it's really important that you let me speak.
5
            MR.MURDOCH
6
            Thank you your honor.
7
            THE COURT
8           So L I don't want to insert myself in there.

9    See attached Exhibit 47, Excerpt of the emergency hearing of July 24th 2023 with the Jackson
     County Court.
10

11
     It is to be noted that when Mother's attorney asked for an emergency phone conference
     because the children had been 'allegedly abducted' from Oregon to France by Father, that
12   conference was granted to Mother and organized within a few of hours by the Jackon
13   County court.

14   But when Father asked on April 22nd 2024 for a similar emergency phone conference with
     the court because Mother had abducted criminally the children from France to the US while
15
     violating two French judgments on French soil that conference request was ignored for
16   many days by Jackson County court and eventually was even denied by Judge Bloom.

17

18

19

20

21

22

23

24

25


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1
                   Re: URGENT: KIDNAPPING EVA JULIETTE PARIS - EMERGENCY HEARING 22DRI7285 EXHIBIT 48
2

3      Subject: Re: URGENT: KIDNAPPING EVAJULIETTE PARIS - EMERGENCY HEARING 22DR17285
       From: Arnaud Paris <aparis@sysmicfilms.com>
4      Date: 23/04/2024, 21:16
       To: "Tricia M. Allen" <Tricia.M.Allen@ojd.state.or.us>
       CC: Heidi Paris <heidimparis@gmail.com>, David.J,Orr@ojd.state.or.us
5
       Miss Allen, my motion and request for emergency hearing was delivered to the court this
6      morning at 11.37am,
       Here is the proof of delivery by Fedex:
7

8
       Please advise on when we could set the phone conference with Judge Orr on that urgent
       kidnapping matter of the children from France in the middle of the school year by Miss Brown.
9
       Regards,
       Arnaud Paris

11     On 22/04/2024 21:53, Arnaud Paris wrote:
         Hello ~iss Allen,
12
         I'd like to set an emergency hearing with Judge Orr as Miss Brown just abducted the kids
         from France and violated tv10 French judgments on French soil in full force and effect
13       putting the kids through a traumatic illegal escape from France to the US and she is now
         hiding in Oregon without any direct communication with the children so we have no
         information about what's going on.
14
         I've sent this emergency motion today also requiring this emergr:ncy hearing, see attached.
15
         As you w.i.ll see in this Motion, ~hss Brown just lied to a French judge in Paris she was in
         front oi' a few days before doing the abduction of the children, saying that she would never
16       violate the French judgment as it would make her lose what she obtained from Judge Orr in
         the Jackson Court. And she just kidnapped the kids ....
17
     -See attached Exhibit 48, Email sent to the Miss Allen, Judge Orr's court scheduling assistant on
18
     April 23 rd to ask for an emergency hearing with Judge Orr regarding the abduction of the children
19   from France by Mother. This email was never answered or replied by the Jackson County court.

20   -See attached Exhibit 25, Motion for Emergency Hearing about Abduction filed by Father
     Pro Per on April 22 nd 2024 in Jackson County.
21

22

23
        e. Mother manipulated the Jackson County Court to make Judge Orr believe that the
           French judicial system wouldn't allow her to participate remotely and that she
24         couldn't present testimonies from American witnesses in the French custody case.

25


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1

2    Mother testified disingenuously during the Jackson County hearing of August 3rd and 4th
3    2023 (when Father wasn't allowed to participate or to be defended by his counsel) as she
4    made many misrepresentations about the French court system. In particular, Mother told

5    the Jackson County court that she French court system didn't allow remote participation
     and that she didn't have the possibility to bring to the court testimonies and evidence
6
     remotely or through written testimonies.
7

8    -See attached Exhibit 49, Transcript from the August 3rd, 2023 hearing during which
     Mother, Miss BROWN, testified desinginuously under oath about the French Court
9
     proceeding and made misrepresentation about the French Court System.
10
           MR. MURDOCH:
11
            Were you present at that hearing in March in any capacity? Were you listening on
12         the phone or were you doing anything --
13         MJSS BROWN:
14         They don't have any capacity for -- or any option for a remote hearing.

15          (. ..)
           MR. MURDOCH:
16
           And was there any opportunity for you to present evidence, such as testimony from
17
           witnesses or testimony from family members who are here present in the
18
           courtroom?
19
           MISS BROWN:
20         No.
21
     Mother is doing a misrepresentation to the Jackson County court about the French court
22
     system not allowing for remote participation since it is even written in the French Civil
23
     Code that remote participation is possible during French hearing (Article Llll-12 of the
24
     French Civil Code). The French Court Systeme does offer the possibily of remote
25   participation, see the following quote from the Ll 11-12 French Code Article:

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1
            "Without prejudice to the specific provisions of the Public Health Code, the Code
2
            of Criminal Procedure, and the Code on the Entry and Residence of Foreigners
3
           and the Right ofAsylum, hearings before judicial jurisdictions may, by decision of
4
            the presiding judge, ex officio or at the request of a party, and with the consent of
5          all parties, take place in several hearing rooms linked directly by an audiovisual
6          means of telecommunication guaranteeing the confidentiality of the transmission.
7           One or more of these hearing rooms may be located outside the jurisdiction of the

8           court hearing the case. "

9
     -See attached Exhibit 50, certified English translation of the French Civil Code Article
10   Llll-12 allowing remote participation in French Court hearings for civil matters.

11   Mother is doing another misrepresentation when she says that she can't bring testimonies
     remotely to the court since she has the possibility of providing written testimonies on the
12   French Court Official Testimony Form ("Formulaire 11527*03").
13
     -See attached Exhibit 51, French Court Official Testimony Form 11527*03 that allow
14   for a witness to make a testimony in writing and to be accepted as evidence in French
     proceedings.
15
     NOTE: Several testimonies in this Hague Action are being provided by Father on these
16
     forms and they have been translated by an official certified translator and show that these
17
     testimonies are made under oath and are the equivalent of a sworn declaration in the US
18
     court system.
19

20

21
        f. Mother was disingenuous to the Oregon Court of Appeals about mediations not
22         taking place in France to reject the transcription extension request from Father.

23
     Respondent, Miss Brown, has been lying to both the French and the American judicial
24
     systems since the beginning of this custody matter in October 2022 to be able to obtain
25
     custody forum shopping in Oregon. This disingenuous behavior from Mother has

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1
     continued in front of Oregon Court of Appeals as can be seen in the objection filed by
2
     Respondent on January 18 th 2024 in the matter Al 82305. Mother and her counsel were
3
     indicating in their objection to Father's request for transcript time extension that:
4
             "Respondent does not believe there is any possibility of this case settling. (. ..) She is also
5
            unaware of any dialog between the parties or the attorneys for the parties, including the
6
            parties' French lawyers."
7
     -See attached Exhibit 52, Objections from Mother's Oregon Appeal Counsel, George Kelly.
8
     And yet on January 3rd 2024, Respondent, Miss BROWN, was asking Appellant, Mr. PARIS, to
9
     send to her French lawyer, Miss FARRUGIA, the mediation proposal that had been sent previously
10   to Miss BROWN's French criminal lawyer, Miss DURAND-POINCLOUX by Mr. PARIS'
11   French Civil Lawyer, Mr. RICHOUX.

12   -See attached Exhibit 53, proof ofWhatsapp communication in which Miss BROWN writes:
13          "Separately, what proposal did you send over? Did you send it to Farrugia? She is my
14          lawyer of record. "

15   To which Mr. PARIS responds:

16                   "Yes, Richoux sent a proposal to Farrugia almost 2 months ago. "

17   Then in the same discussion a few lines below Miss BROWN answers:

18                  "She never received it. Could you have him resend it?"

19   It's clear from this exchange that there had been mediation proposal exchanged between the parties
     through their French lawyer and that Miss BROWN enquired on January 3rd about the latest
20
     proposal made by Mr. PARIS and she even asked for it to be resent to her French lawyer.
21

22
     The content of that proposal (translated from French to English) is attached herein as Exhibit 16.

23   The first line of that proposal is unequivocal:

24                  « Monsieur PARIS s 'engage adonner la garde partagee desfilles aMadame
                    BROWN si cette derniere vient s 'installer en France.»
25


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1
     Which translated to English says:
2
                   "Mr. PARIS is willing to give shared custody to Miss BROWN if she agrees to
3
                   move to France. "
4
     Then discussions between French lawyers continued the following week by email and a phone
5    meeting was organized between Miss BROWN's French civil lawyer, Miss FARRUGIA, and Mr.

6    PARIS' French civil lawyer, Mr. RICHOUX on January 15 th 2024.

7    Mr. PARIS is providing herein as Exhibit 55 an excerpt of his Whatsapp discussion with Mr.
8    RICHOUX from January 15th regarding this phone meeting between the French lawyer that took
     place on that same day, so 3 days before that objection was filed by Miss BROWN's appeal US
9
     lawyer, Mr. KELLY to this Honorable Court. In this whatsapp excerpt, Mr. PARIS says:

                    "Hello Counsel, what time will you be speaking to FARRUGIA? I sent you a little
11
                   summary of the important points, but what you told said in our last discussion
12                 was really good, you should write them down to not forget any of them and have a
                   logical outline for when you will be discussing with FARRUGIA."
13
     Then Mr. RICHOUX answers:
14
                    "I offered to talk at 2pm. I'm waiting for her answer. Ok I got it. "
15
     Then in a later message dated from 2.33pm Mr. RICHOUX writes to Mr. PARIS:
16
                    "I'm on the phone with FARRUGIA."
17
     Therefore, per this discussion it is undeniable that Miss BROWN's French lawyer talked to Mr.
18
     PARIS' lawyer on January 15 th and this discussion was reported to have lasted more than an hour
19
     by Mr. RICHOUX and a follow up call is to happen most likely this week.
20
     How can Miss Brown and her appeal counsel Mr. KELLY come filing a motion to the Oregon
21
     Court of Appeals under perjury that there has been no discussion between French lawyers? This is
22
     once again Miss BROWN with the help of her Oregon counsel being disingenuous to the US court
23   system, like she has been doing through her entire proceedings in Oregon, to manipulate and obtain

24   what she wants disregarding the fact that she was committing yet another perjury to the Honorable
     Oregon Court of Appeals.
25


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1

2       g. Mother testified in open court in front of Judge Orr that Father was raping women
           without evidence and without Father being allowed to defend himself but with him
3          being forced to watch without being able to object even.
4

5           Mother has a continued history of having tried to create that negative image of

6    Father in the Oregon court, particularly when Father was denied due process and wasn't
7
     allowed to participate in the Jackson County proceedings after the August 3rd hearing
8
     during which Father was summarily sanctioned. Particularly, on the hearing of December
9
     21st 2023 in the Jackson County proceedings, Mother testified that Father was enjoying
10

11   degrading women sexually to the point of raping them, and Mother testified under oath

12   of such slanderous unfounded accusations without any possible way for Father to make

13   any objections on the record to such atrocious lies. See the following excerpt from the
14
     hearing of December 21st 2023 in the Jackson County proceedings in which Father was
15
     not allowed to participate but only to listen without the right to make any objection nor to
16
     cross examinate, nor to bring any witnesses, evidence or testimony to counter anything that
17

18   was said in these hearing:

19          THE COURT
20
            Can you explain or if, you know, when, when he talked about, you know, hurting
21
            women, in, in, in a sexual way, was this something like occurring against their will
22
            or that this other person or the other woman was a willing participant, but also for
23

24          some kind of sexual reasons.

25          MJSSBROWN

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1
            My understanding is that it started out as something they were consenting for and
2

3
            then when things got more intense, they, it was against their will at different

4          points.

5           THE COURT
6
            So you're concerned that something like that could happen within the, the
7
            apartment or the dwelling while the Children are there.
8
            MISS BROWN
9

            Yeah. Yeah.

11   Such an horrific accusation made by Mother in open court during her testimony against
12   Father without any basis nor proof constitutes clear slander and is it consistent with all the
13
     bad faith actions that Mother has been doing in the Jackson County's proceedings, starting
14
     with her very initial petition for custody in which she lied about not knowing of any
15
     competing custodial action in France.
16

17      It is to be noted here that Mother never brought up such atrocious accusations against

18   Father in any of the other proceedings that took place neither France or in the US when
19
     Father was allowed to participate, object and defend himself. Only when Father was being
20
     litterally "silenced" by the court and without lawyer did she make these unfounded
21
     accusations that are almost senseless especially as the first sensible thing to do when she
22

23   would have supposedly found that out would have been to report me to the authorities.

24

25


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1
         h. Misleading the French Appeal Court of Paris about her intentions to comply
2           with French orders during the April 3rd 2024 hearing in front of the
3
            Presiding Judge.

4
     During the hearing of April 3rd in front of the Appeal Court of Paris Miss Brown's French
5
     lawyer presented the following arguments to the court in her pleadings with Miss Brown
6

7    present in front of the Presiding Judge of the Paris Appeal Court:

8
     "   -Regarding the absence offlight risk/or Ms. BROWN
9
            (. ..)
10
            Mr. PARIS therefore cannot legitimately claim that there is a risk ofthe mother absconding
11               with the children.
12          (. ..)

13          But as we have indicated extensively, Mr. PARIS refuses to issue French passports or even
                 any identity papers for the children, maintaining that the mother would only use them
14               to flee.
15          ( .. .)
16          The alleged flight is only a figment of Mr. PARIS' imagination, which is why he mentions
                a safety protocol.
17
            (. ..)
18
            But the hearing will not take place until October 2024, and Ms. Brown has never wished
19               to commit any offence.
20          In addition, Ms. Brown's job requires her to travel and she has no intention of committing
                   the offence of unlawful child removal,
21          (. ..)
            Mr. PARIS has also been ordered to pay Ms. BROWN 225,000 dollars in legal fees
22
                   incurred in the USA, which he has not paid; if Ms. BROWN were to "kidnap" the
23
                   children as he claims, she would forego obtaining such a sum.
             "
24   -See attached Exhibit 56, excerpts from April 3rd 2024 pleadings from Miss Brown's
     French lawyer presented in presence of Miss BROWN herself on April 3rd in front of the
25


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1
     Presiding Judge of the Appeal Court of Paris (so just 5 days before Miss BROWN
2    committed the abduction of Eva and Juliette from France).
3

4        i.    Mother manipulated the Paris Appeal Court on April 3rd 2024 pretending she was
               willing to participate into mediations in France while she was preparing the
5              abduction of the children.

6
     It is to be noted that just before this kidnapping Father had offered to participate in a
7

8    mediation in France that Mother attended on the first meeting and used the second meeting

9    to mislead Father to lower his guard. Father is still willing to continue this mediation
10
     process with Mother in France if Mother is willing to return the children to France of her
11
     own will.
12
      Subject: Mediation Paris April 4-5
13
      From: Arnaud Paris <aparis@sysmicfilms.com> Date:
      03/18/2024, 6:18 p.m. To:
14
      Heidi Paris <heidimparis@gmail.com>
15    Heidi, since you will be in Paris the week of April 1st and you will not have the girls during the day I think it would be a
      good opportunity to try to mediate in the presence of our lawyers here in Paris in order to find a quick solution to this conflict
16    in the interest of our children. I therefore asked several mediators here in Paris to offer us one or more meetings.

17
      Good to you,
18
      Arnaud
19

20   -See attached Exhibit 57, English translation of email sent by Father to Mother on March 18 th
     offering to have mediations when Mother will be in Paris on the week of April 1st 2024.
21

22   Then at the hearing of April 3rd 2024 in the Paris Court of Appeal the French Judge asked

23   if Father and Mother would be willing to engage in a mediation process to try to resolve
24

25


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1
     these ongoing legal battles in the best interest of the children. Mother accepted in front of
2

3
     the Judge.

4    -See attached Exhibit 58, clerk's notes from the April 3rd hearing in front of the Appeal

5    Court of Paris showing that the judge asked us to try a mediation process and that both
6
     parties agreed.
7
     -See attached Exhibit 17, email from the French mediator in Paris to the President of the
8
     Paris Appeal court informing her that Mother had left France with the children right in the
9

10   middle of the French mediations without any warning while she had agreed and committed

11   to participating in these mediations in France.
12

13
     The last email from the French mediators is unequivocal, Mother was desinginuous to them
     but also to the Judge from the Paris Court of Appeal on April 3rd when she agreed to
14
     participate in those French mediations just a few days before abducting the children from
15
     France while she was assuring that French judge that she would never violate the French
16
     Judgments. The duplicity of Mother seems to have no limit and she doesn't hesitate to lie
17
     to every judge she's in front of, French or American.
18

19      j. Mother, Respondent, has been instrumentalizing the Jackson County court to try to
           avoid this Hague Action (abusive stalking order request):
20

21   Mother, Respondent, filed for a protective order in bad faith almost as soon as she returned

22   with the children to Oregon to try to avoid service from Father in the Hague action and she
23   naturally had to lie once again to the Jackson County Court when she filed her ex parte
24
     Petition for protective order since she didn't disclose that she just had abducted the children
25


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1
     from France in complete violation of two French judgments in the middle of their French
2

3
     school year and she didn't disclose either that Father, Petitioner, was asking for the

4    immediate return of the children to France under this Hague Action filed in Oregon Federal

5    Court on April 16th 2024.
6
     And what Mother was arguing to the Jackson County courtt to be 'harassment' or stalking
7
     was simply Father, Petitioner, trying to serve Mother, Respondent, with this Hague Action
8
     with 'diligent efforts' as Honorable Judge Aiken specifically ordered Father to do on April
9

10   19th 2024.

11   -See attached Exhibit 64, petition from Mother for Protective Order filed in the Jackson
12
     County Court on May 2nd, 2024.
13
     -See attached Exhibit 65, order from Honorable Judge Aiken asking Father to make
14
     "diligent efforts" to continue trying to find and serve Mother with the Hague Action for
15

16   child abduction 1:24-CV-00648-AA.

17

18   What is even more concerning is that Mother was trying to use this Honorable Court to
19
     avoid being served the Oregon Hague Action as she was desperately hiding in the US after
20
     she abducted the children from France. She knew that she could possibly delay this Hague
21
     Action by asking for this stalking preventive order as Father had filed a motion to let
22

23   Honorable Judge Aiken know that Mother was hiding and avoiding service.

24   -See attached Exhibit 69, email sent to Mother on April 17th 2024 by Father to inform
25
     her know of the Federal Hague Action 1:24-CV-00648-AA started in Oregon.

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1
            So Mother was trying to manipulate once again the Jackson County court pretending
2

3
     that Father was harassing her 'remotely' from the other side of the planet while in truth he

4    was simply following a Federal Court order issued by Honorable Judge Aiken on April

5    19th urging him to continue trying to serve Mother with "diligent efforts". This strategy to
6
     avoid service on the part of Mother has been confirmed by the service company hired by
7
     Father to serve her.
8
     -See attached Exhibit 67, Affidavit from the service company ACP Investigations in
9

10   Medford.

11   So based on the clear bad faith of Mother who introduced this order to delay and avoid the
12
     Hague Action for the Return of the Children to France, Father obtained from the Jackson
13
     County cout the dismissal of Mother's protective order request which made absolutely no
14
     sense since Father lives in Paris more than 6000 miles away from Mother and he had no
15

16   intention to come to Oregon to abduct the children since he started a perfectly legal action

17   to have the children returned promptly to France by Honorable Judge Aiken and he

18   followed Honorable Judge Aiken's order every step of the way.
19
     -See attached Exhibit 66, order from Honorable Judge Aiken granting Father alternative
20
     service to Mother by email considering she was avoiding service to delay this Hague
21
     Action for child abduction.
22

23

24   -See attached Exhibit 68, Order from Judge Bloom dismissing the request for protective
25
     staking order from Mother.

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1
     This stalking case was just another example of Mother's pattern of being desinginous to
2

3
     every court in every state and every country about this matter with Father. And the next

4    example in a California court is just going to confirm this.

5

6       k. Manipulation of the California Court about the residence of the children since July
           2023.
7

8
     On June 3rd 2024, Mother started a registration action in California to the Superior Court
9
     of Los Angeles of the Oregon Judgement granting her custody of the children. In her filing
     to the Los Angeles court Mother indicated that the children had been living with her in
11   Ashland, Oregon at the 2256 Abbott Avenue address since May 2023 while the children
12   were in France since July 2023 and were in school the entire 2023-2024 school year until

13   their Mother abducted them to Oregon during week of April 8th 2024.

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1

2                                                                                                                                                                           FL-105/GC-120
                 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name,, State, Bar number, and 1ddressJ:                                                                 FOR COURT USE ONLY
                   PARTY WITHOUT ATTORNEY
                 f-HEIDI MARIE BROWN
3                  385 STRAWBERRY LANE
                   ASHLAND, OR 97520
                            TELEPHONE NO.:         54 J-944-2066 FAX NO. (Optional):
                  E·MAILADDRESS /Opfoo,Q,          HEIDIMPARIS@G MAIL. COM
4                     ATTORNEY FOR (Name,}:

                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                          STREET ADDRESS: 111 North Hill Street
5                         MAILING ADDRESS:111 North Hill Street
                                          Los Angeles, CA 90012
                         CITY AND ZIP CODE:

                             BRANCH NAME: Stanley Mosk Courthouse

6                           PETITIONER:
                                                           (This section applies only to family law cases.)
                                                   HEIDI MARJE BROWN
                         RESPONDENT:               ARNAUD PARIS
                         OTHER PARTY:
7                                                         (This section apples only to guardianship cases.)                               CASE NUMBER:

                 GUARDIANSHIP OF (Name):                                                                                       Minor


                                   DECLARATION UNDER UNIFORM CHILD CUSTODY
8                                  JURISDICTION AND ENFORCEMENT ACT (UCCJEA)
                 1. I am a party to this proceeding to determine custody of a child.

9                2. 0        My present address and the present address of each child residing with me is confidential under Family Code section 3429 as
                          1 have indicated in item 3.
                 3. There are (specify number):        2       minor children who are subject to this proceeding, as follows:
                      (Insert the information requested below. The residence information must be given for the last RVE years.)
10               a. Child's name

                 EVA LILIE PARIS
                 Period of residence
                                                                                            1;s;;Z~o, OR                                    b~7t;;~15
                                                                                                              Person child lived with (name and complete current address)
                                                                                                                                                                                  i;"
                                                                                                                                                                            Relationship
                                                      Address
11                                                    ASHLAND.OR                                              Heidi M. Brown, 2256 ABBOTT A VE,
                 MAY2023 to present                   0 Confidential                                          0       Confidential        Ashland. OR 97520                 MOTHER
                                                      Child's residence (City, State)                         Person child lived with (name and complete current address)

12                                                                                                            Heidi M. Brown, 665 Leonard Street,
                 Oct 2022 toApr 2023 Ashland, OR                                                              Ashland, OR 97520                                             MOTHER
                                                      Child's residence (City, State)                         Person child lived wlth (name and complete current address)
                                                                                                              Heidi Brown & Arnaud Paris
13               July 2022,oOct 2022 Ashland, OR                                                              665 Leonard St., Ashland, OR 97520                            Mother & Fath,
                                                      Child's residence (City, State)                         Person child lived with (name and complete current address}
                                                                                                              Heidi Brown & Arnaud Paris
14               Aug 20 IS t,J uly 2022 Paris, Franee                                                         4 rue Malher, 75004 Paris, France                             Mother & Fath,
                 b. Child's name
                 JULIETTE MANON PARIS
                                                                                                :aceofbirth

                                                                                                SHLAND,OR
                                                                                                                                             Date of birth

                                                                                                                                                                                  1;,
15
                 0        Residence information is the same as given above for child a.
                          (If NOT the same, provide the information below.)
                  Period of residence                 Address
                                                                                            ~                                               I01/15/2015
                                                                                                              Person child lived with (name and complete current address) Relationship



16                                    to present      D         Confidential                                  D       Confidential
                                                      Child's residence (City. State)                         Person chi!d lived with (name and complete current address}


                                 to
17                                                    Child's residence (City, State)                         Person child lived with (name and complete current address)


                                 to
18                                                    Child's residence (City, State)                         Person child lived with (name and complete current address)


                                 to
19               c.   C:J Additional residence information for a child listed in item a orb is continued on attachment 3c.
                 d.   CJ Additional children are listed on form FL-105(A)/GC-120(A). (Provide all requested information for additional children.)
                                                                                                                                                                                           Pa e1of2
                     Fo1m Adopted ror Mandatory Use                                                                                                                        FamilyCode,§3400etseq.;
                      Jud1c!a]Councilo[Cali!omia                        DECLARATION UNDER UNIFORM CHILD CUSTODY                                                         Proba!eCode,§§1510(1), 1512
20               FL·1051GC·120!Rev.Jan11ary1,2009]                      JURISDICTION AND ENFORCEMENT ACT (UCCJEA)                                                                www,courtinfo.ca.gov




21   -See attached Exhibit 70, first three pages of the Declaration under UCCJEA from Miss
     BROWN attempting registration of the Oregon Judgement with the Los Angeles Superior
22   Court of California on June 3rd 2024 in which she commits perjury about the residence of
23
     the children.

24

25


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1
     Mother just a few days ago committed yet another perjury to a US court by doing this
2
     misrepresentation of the residence of the children who had been living in France with
3
     Father since July 23 rd 2024 per the French Judgment of April 21 st 2023.
4
     As confirms Eva's Paris school Principal Mr. Luc RICHARD:
5

6           "L the undersigned, Luc Richard, principal of the Ecole Renard, do hereby
7
            certify that Eva Paris attended the CMI-grade class here at our school from
8
            September until the April vacation. "
9

10
     -See attached Exhibit 73, letter from Eva's Paris school principal about the sudden and
     disruptive abduction conducted by Mother during the Spring vacation in France in
11   contravention of the French Judgements.

12   As confirms Juliette's Paris school Principal Mr. Thierry RATTU:
13
            "L the undersigned, Thierry HATOU, principal of the school, do hereby certify that
14
            Juliette PARIS had indeed been diligently attending the CMI-grade class here at
15          the Ecole des Hospitalieres since September 4 and that her studies were going well
16          despite some comprehension difficulties in mathematics.
17
            Juliette seemed to be thriving in her class with her classmates that she'd reunited
18
            with, most ofwhom she had known since she started kindergarten (2017).
19
            At the request of Ms. Brown, we met with her just before the spring vacation to
20
            update her on Juliette's progress in school. Our meeting went well, with discussion
21
            of progress targets for the rest of the school year and no indication that Juliette
22          would not finish her year in the class.
23
            It is shocking and very surprising that the commitments made at the time by Ms.
24
            Brown were, in the end, totally bogus and did not correspond to the end-of-year
25
            timetable discussed.

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1
              Juliette was very involved in our annual projects (choir show, commemoration -
2
              Olympiads) and her absence is regrettable for the whole class.
3

4
              All of Juliette's schoolwork and class projects were cancelled by this departure
              during the year.
5

6             The students were sad and confused. The teacher's attempts to explain the situation

7             were made quite difficult given the circumstances underlying her sudden
              departure. "
8

9    -See attached Exhibit 74, letter from Juliette's Paris school principal about the sudden
     and disruptive abduction conducted by Mother during the Spring vacation in France in
10   contravention of the French Judgements.
11
     Yet again in this California registration filing of her Oregon Judgment Mother is trying to
12
     manipulate another court by being desinginuous about where the children lived over the
13
     last 12 months.
14

15

16      1.    Judge Orr himself asked Miss BROWN during the Jackson County proceedings
              after Father and the children were back in France: "You're not going to make a
17            kidnapping Miss Brown"? and she answers "No".
18

19
     During the hearing of August 3rd and 4th 2023 in Jackson County when Father and his
     counsel were forbidden to participate in the proceedings Mother was asked by the Court if
20
     she was planning a "kidnapping of the children" and she answered "No". This is very
21
     enlightening to see that Mother was willing to lie bluntly to the court as it is now undeniable
22
     that Mother would eventually not hesitate to violate two French Judgments in full force
23
     and effects on French soil to conduct such kidnapping of the children in France with a plan
24   that would have required many months of preparation and several accomplices to properly
25


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1
     be executed. When she was testifying in the Jackson County court on August 4th, 2023
2
     Mother said under oath:
3

4                  MR.MURDOCH
                   Now, ifyou could, let's see, actually go down to the the second the, next
5                  paragraph begin with FYI
6
                   MISS BROWN
7                  FYI madame Brown is on her way to try to bring the Children back to the
                   USA. It is absolutely necessary that the diplomatic services get in touch
8                  with the State Department and the FBI to indicate that Mrs Brown is
                   probably preparing to kidnap the Children in Paris given her background.
9

                   MR.MURDOCH
                   Are you preparing to kidnap the Children from France?
11
                   MISS BROWN
12
                   No.
13
     Excerpt from FTR from August 4th, 2023 in cases 22DR17285/23DR08269.
14
     Mother's pattern of being disingenuous to the Jackson County court and any court anywhere
15
     in the world can be summarized in the following table of all of Mother's manipulations of
16   the judicial systems:
17

18

19

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21

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25


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1
              ,Mariloulation/Misreoreseritation, • , l ;l            ' .'Judae/Court        '
                                                                                                              ,,,
                                                                                                                     lm"oact on· Leaal Proce'edinas
                                                                                                                                                                ,

                                                                                                                                                                ..
                                                                                                                                                                  ..         ."
2                                                                                                                                                                      '
      Filing a protective stalking order in bad faith to delay                                   Delayed service of Hague Action, affecting timely resolution
      Hague Action                                                 Bloom, Aiken, USA
3     Testifying that Father degraded women sexually to the                                      Painted Father as a danger, influencing court's perception; Acrused Father
      point of raping them                                         Orr, USA                      without evidence, contradicting earlier statements
      Initial custody petition claiming no knowledge of                                          Misled the court about jurisdictional conflicts; Claimed no knowledge of
4     competing custodial action in France                         Orr, USA                      French custodial action but was involved in it
      Intention to return to France with children as per July                                    Fraudulently obtained agreement to leave France, misleading court; Agreed to
5     2022 agreement                                               McShane, USA                  return children to France but later refused
      Refusal to return children's passports despite French                                      Violation of court order, complicating legal enforcement; Kept children's
      judgment                                                     nan                           passports despite court order to return them
6     Mother's claim in Oregon court of being unaware of any                                     Obstructed the Hague Convention proceedings; Denied knowledge but had
      French custodial action                                      Orr USA                       prior involvement
7     Providing false testimony about when she hired her new                                     Manipulated court proceedings and delayed justice; Hired new lawyer earlier
      lawyer                                                       Orr, USA                      than claimed
      Claiming that Father was a fugitive criminal                                               Attempted to discredit Father's legal standing; Accused Father of being a
8                                                                                                fugitive, which was disproved by official communications
                                                                   Aiken, USA
      Fabricating a story about her departure route from Europe                                  Created confusion about legal process and jurisdiction; Fabricated travel route
9                                                                  Aiken, USA                    story conflicting with evidence
      Obtaining Status Quo order in bad faith                      Orr, USA                      Misled court to gain favorable interim orders
      Committing child abduction while claiming Father's danger                                  Manipulated court's perception to delay children's return; Committed child
10    to children                                                                                abduction while falsely claiming Father's danger
                                                                  Bloom, USA
      Misleading the French court about her intentions to                                        Violated trust and agreements, prolonging legal battles; Misled court about
                                                                  Presiding Judge, Paris
11    comply with agreements
                                                                  Appeal Court, Paris            intentions to comply with agreements, then reneged
                                                                  France
      Service of the 1ST refere for the August 24th, 2023 Hearing                                Attempted to Invalidate the August 24th hearing proceedings; Claimed
12                                                                Presiding Judge, Paris
                                                                                                 improper service despite documented proof of proper service
                                                                  Appeal Court, Paris
                                                                  France
13    Desinginuous Testimony about                                                               Misled the court regarding the legal processes in France, affecting court
                                                                                                 decisions; Provided false information through Brassens' testimony,
                                                                   Orr, USA                      contradicting documented facts
14    Participation in Mediation
                                                                   Presiding Judge, Paris        Misled court about willingness to mediate, delaying resolution; Claimed
                                                                   Appeal Court, Paris           willingness to mediate but failed to attend scheduled sessions
15                                                                 France
      Misrepresentation about Children's Residence and                                           Misled the French court regarding the children's habitual residence; Claimed
      Schooling                                                                                  children lived and schooled in France while they were in Ashland, Oregon
16                                                                 Los Angeles Court,
                                                                   California
      Misrepresentation about Acceptance of French Judgment                                      Attempted to nullify concerns about potential child abduction; Actions
                                                                   Presiding Judge, Paris
17                                                                 Appeal Court, Paris           indicated a disregard for the French court's orders despite claiming
                                                                   France                        compliance
      Misrepresentation about the French court not letting her                                   Misled the court regarding her cooperative stance; Claimed willingness to
18    participate remotely and present testimonies and evidence                                  cooperate but demonstrated contrary actions
      from Oregon
                                                                   Orr, USA
19    Misrepresentation about Children's Residence Since July                                    Misled the California court regarding the children's residence, affecting
      2023                                                                                       custody and Jurisdictlonal decisions; Claimed children resided in Oregon, while
                                                                                                 they were actually in Paris until the abduction in April 2024
20                                                                 Orr USA
      Misrepresentation to Arnaud and French Judge about the                                     Avoided to start a custodial action in France in July 2022; Mother was able to
      July 19th agreement                                                                        take the children to Oregon for temporary school year while her real plan was
21                                                                 French Judge, Paris,
                                                                                                 to make a separation after 6 months and gaining home state jurisdiction over
                                                                                                 the children against France.
                                                                   France
      Misrepresentation about the letter from Jackson Court to     French police and judge, Bring criminal prosecution against Father in France.
22    the French police and to the French Judge                    France

23   That table shows that Mother's manipulation of the courts is a clear pattern, and this has
24   no reason to stop with this Hague Action so I would like to caution this Honorable Court
25


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1
     in that regards as this next section will show that Mother is often accusmg Father
2
     wrongfully and in bad faith of the very same actions she doesn't hesitate to take herself.
3

4       m. Mother is calling Father a "criminal fugitive" while Mother is the one who
           just committed a criminal abduction of the children from France.
5

6
     Mother was fully aware of the French Judgments valid in France when she abducted the
7    children on French soil last month and she knows that the Hague Convention's Article 3 is
8    very clear:

9
            "The removal or the retention of a child is to be considered wrongful where -
            a)     it is in breach of rights of custody attributed to a person, an institution or any
11
            other body, either jointly or alone, under the law of the State in which the child was
12
            habitually resident immediately before the removal or retention; and b)       at the time
13
            ofremoval or retention those rights were actually exercised, either jointly or alone,
14          or would have been so exercised but for the removal or retention. "
15
            Mother removed children from France, where the children had been spending their
16
     entire school year in Paris living there with Father, their custodial parent per the "law of
17
     that state", being France, since Father had full custody of the children in Paris per the
18
     French Judgment of April 21st, 2023. And there was even a second French Judgment issued
19   on August 25th, 2023 forbidding Mother to take the children outstide of France during her
20   visitation time. That was the "law of the state" that Mother was fully aware of when she
21   abducted the children from France last month and this clearly constitutes a wrongful

22
     removal from the children's habitual residence.

23
     -See attached Exhibit 71, notice of criminal charges against Mother, Heidi BROWN, by
24   the Paris Prosecutor Margaux PEGIS, for international child abduction with request for
     filing as civil party to Father, Arnaud PARIS.
25


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1
            Mother is fully aware that if a Hague Action is to take place, these two conditions
2
     to return the children to France are clearly met and she wants to delay this return of the
3
     children to France at all cost. She's also probably conducting intense parental alienation
4
     onto the children since she's kept them from having unsupervised communication with me,
5    she's refused to do any video call preventing them from seeing their cat that they told me
6    they're missing so deeply. And recently she's decided to simply cut all communication.
7    Mother's goal here is clearly to alienate the children against Father to ensure that they

8    would be against a decision from this Honorable Court to return to France. Here is the last
     message that Mother sent to Father about communication to the children:
9
                   "As I mentioned over the phone, I am going to pause communications for a
                   couple weeks. "
11
     -See attached Exhibit 81, email sent by Father to Mother after a brief conversation on the
12
     phone with Eva and Juliette on May 27 th during which Mother hanged up the call.
13   -See attached Exhibit 82, email sent by Mother to Father after a brief conversation on the
14   phone with Eva and Juliette on June 8th during which Mother hanged up the call.
15

16   The stalking protective order entered in bad faith in the Jackson County Court on May 2nd
     2024 shows that Mother was not only trying to delay these Hague Federal proceedings in
17
     Oregon be she was also trying to set the narrative to portray Father as some kind of
18
     dangerous character that it wouldn't be in the interest of the children to be sent back to live
19
     with in Paris. And this explains also why Mother filed for that Stalking Protective Order
20
     before entering the logical Hague Federal Proceedings for the return of the children to
21   France. Mother wants to set the stage for this Honorable Court to believe that Father is
22   some kind of clear and immediate danger not just to Mother but also to the Children. This
23   abusive request was obvious to the Jackson County court and Mother's request was

24
     dismissed.
     -See attached Exhibit 68, Order from Judge Bloom dismissing the request for protective
25
     staking order from Mother against Father since Father lives 6000 miles away.

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1

2    Respondent, Mother, is now trying to use that "fugitive doctrine" equally in bad faith since
3    she is herself an international fugitive from having committed a criminal child abduction
     while Petitioner hasn't, he has no criminal charges for child abduction.
4

5
        n. Why is Mother concealing information on how she left Europe in her
6
           response to this Honorable Court while Father fully explained his return to
7          France?

8
        The French Police has no trace of a legal crossmg of the European borders so
9
     Respondent must explain if she left Europe 'legally' or if she used a smuggling route why
10
     she did it and why she put the children through such a dangerous "escape from Europe"
11   and why she did it criminally. The French and European Police from legal border crossings
12   have no record or evidence that Mother and children legally crossed the border and the
13   "Frontex" European control system would automatically have made a record of their

14   passport check, especially for children.

15
            The Paris Prosecutor, Margaux PEGIS, in charge of the criminal charges against
16
     Mother for child abduction noted that the route Mother and the children took to reach the
17
     United States avoiding European borders and passport controls went through Spain and
18
     Morocco after they left the Hotel in Perpignan in the South of France near the Spanish
19   border.
20   -See attached Exhibit 71, notice of criminal charges against Mother, Heidi BROWN, by
     the Paris Prosecutor Margaux PEGIS, for international child abduction with request for
21
     filing as civil party to Father, Arnaud PARIS.
22
     It is to be noted that Mother staged her escape at the hotel leaving behind the children's
23
     luggage to make it look like they were still at the Perpignan Holiday Inn Hotel the entire
24

25


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1
     week that Mother had reserved while her fugitive illegal escape of Europe with the children
2
     started on the Monday April 8th according to the video surveillance footage of the hotel:
3
            "Ms. BROWN had made a reservation from April 5 to 13, 2024. Thursday April
4
            14th [sic] [recte 11th], she called to inform us that she had returned to the USA and
5           was therefore cancelling the end of the week. So she asked us to ship her luggage
6           back to the USA. At the request of the police, I looked at the hotel's surveillance
7           camera footage and saw Ms. BROWN, her mother, and two daughters leaving the

8
            hotel on the morning ofApril 8. Two hours later, Ms. BROWN returned alone to get
            her own suitcase, but left the children's suitcases, stuffed animals, the girls' clothes,
9
            and an Apple watch. The police asked me not to send the suitcases back to the USA
            as the items were important in the child abduction investigation. The belongings
11
            were recovered by Mr. PARIS with police authorization. Dental retainers were also
12
           found in the suitcase. From the surveillance videos, I was able to identify the car
13          they left in. But when Ms. BROWN returned to pick up her suitcase, the car was not
14          the same."
15   -See attached Exhibit 76, written testimony under oath from David FOUET, owner of the
     Perpignan Holiday Inn Hotel about the fugitive escape from Mother, Heidi BROWN, who
16   had made a reservation for the entire week at his hotel for her, her mother and the children.
17
     This testimony shows the level of preparation that Mother went through for this abduction
18   of the children and to ensure that she wouldn't be caught in her fugitive escape from Europe
19   by letting the hotel staff believe that they were still using their room for several days after
20   they had started their escape.

21

22   17.What is the best interest of the children in this matter?
23
        a) M_other just committed an abduction in France of her own children ruining
24         their French school year and impacting their orthodontist treatment, she is a
25
           fugitive criminal who doesn't have the interest of her own children in mind.


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1
        When Mother conducted the abduction during the Spring school vacation in France,
2
     she didn't have the best interest of the children in mind since she was willing to sacrifice
3
     their French school year and abruptly uproot them from their Parisian life without notice
4
     and without Eva and Juliette being able to say goodbye to their family or their friends. They
5    couldn't even say goodbye to their Father, with whom they were expecting to be reunited
6    a few days later on April 13 th to then celebrate his birthday with him on April 14th .
7       Mother also left behind in her escape the girls' luggage at the Perpignan hotel to create

8
     a diversion and ensure that she would have time to escape Europe with the children and
     her mother before the abduction would be discovered by Father and the French authorities.
9
     In the luggage found in at the hotel, beside the girls cloth and their favorite stuffed animals,
10
     Mother didn't hesitate to also leave behind their orthodontist apparel that was important
11
     for the long term treatment they had started with the French orthodontist following them
12
     in Paris and for which she had given her approval. Mother shows here again that she doesn't
13   even have the medical interest of her own daughters in mind.
14
     -See attached Exhibit 76, written testimony under oath from David FOUET, owner of the
15   Perpignan Holiday Inn Hotel about the fugitive escape from Mother, Heidi BROWN, who
16
     had made a reservation for the entire week at his hotel for their week of spring vacation in
     France.
17
     -See attached Exhibit 77, email from assistant of the Orthodontist Dr. Chpindel who
18   confirmed the orthodontist treatment that Mother had agreed to for Eva and Juliette on
     February 12th, 2024. This treatment was a one to two year treatment.
19

20
     It is important for this Honorable Court to know that since last January the children were
21   worried about their Mother attempting to abduct them to the US. Indeed their Mother had
22   taken them to the US embassy during her visitation week of the Christmas break to have
23   new US passport made for them. She then indicated to them during the winter break early

24
     february that she was going to "save them from France".

25


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1
     Since then, Eva and Juliette became extremely worried that their Mother would conduct an
2
     abduction and they had nightmares about it for weeks since February. They even had
3
     recurring nightmares that they shared with their Father and the AuPair.
4

5    -See attached Exhibit 83, testimony from Keira Sumner, the current AuPair of the family
     in Paris, made under oath on April 24 th 2024, in which she describes the state of mind of
6    the girls before their Mother came to see them for the Spring vacation during which Mother
     conducted the abduction. Miss SUMNER mentions in this testimony the nightmares that
7    the girls had shared with her about their Mother abducting them to Oregon.
8
      -See attached Exhibit 75, excerpt from Eva's diary in which she describes one of the
9    nightmares she was having since her Mother started to talk about bringing them back to
     Oregon during the last winter break in February.

11
            Sending Eva and Juliette through a traumatic fugitive escape and possibly putting
     them in harm's way trying to cross the border illegally using some unsafe passage while
12
     they were specifically scared of such a scenario of forced return to Oregon must have been
13
     extremely disruptive for the children. It is currently unknown what level of trauma Eva and
14
     Juliette went through and their Mother is refusing to let them speak freely about what
15   happened during the abduction with Father, most likely because Mother is worried about
16   details of her criminal escape coming out and being shared with the authorities.
17

18          The French President Emmanuel Macron and the First Lady themselves have taken
     this matter quite seriously and have been informed of the situation and the President asked
19
     the Ministry of Justice and the Ministry of Foreign Affairs to follow the matter carefully.
20

21
     -See attached Exhibit 80, English translation of the letter from the office of the French
22
     president, Emmanuel MACRON, asking the minister of foreign affairs, Stephane
23   SEJOURNE, and the minister of justice, Eric DUPOND-MORETTI, to take over this
24   matter as both the French President and the First Lady show great concern about Eva and
25   Juliette's abduction by Mother.


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1
           Mother has also severed the link entirely with the rest of the French family and their
2
     French friends, here is what Eva and Juliette French Grandfather is writing in an email to
3
     Mother on June 2nd :
4
            "Hello Heidi, we haven't seen our granddaughters for two months; Impossible to
5          reach you by WhatsApp. We would like to be able to chat on video with Eva and
6          Juliette, we miss talking to them and seeing them. That would suit us Saturday or
7          Sunday morning (for you).

8          Katy and Jean "
     -See attached Exhibit 74, English translation of the French Grandfather email sent to
9
     Mother on June 7th indicating that the French grandparents haven't been allowed to
     communicate with their grandchildren once since Mother abducted them from France.

11          Here is an excerpt from the testimony that David BENAMOU made on June 17th
12   2024 describing the relationship of his daughter Anna who's been Juliette's best friend

13   since they were 2-year -old when the both joined the first year of Pre-Kindergarden at the
     local school in Paris in 2017. He describes the life that Eva and Juliette were having in
14
     Paris before the abduction, and he also describes in this the traumatic impact that this
15
     abduction has had onto the entire school and the girls' friends in Paris:
16

17          "With this letter, I would like to affirm the strong friendship between my daughter

18          Anna and her friends Juliette and Eva. Their close friendship developed as early as
            Petite Section at the Hospitaliere school in 2017, and has grown stronger over time.
19
            In particular, Anna's bond with Juliette is particularly strong, making Juliette her
20
            best friend.
21
            Following Eva and Juliette's return home to Paris after a year without news from
22
            the United States, I had the pleasure of observing the girls' great joy at reuniting
23          during the month ofAugust 2023. We spent part of the vacation at my home in the
24          Dr6me. It was a very warm reunion after such a long and worrying absence for my
25          daughter Anna, who was afraid of losing her girlfriends forever.


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1
          Indeed, the situation of the girls being so far apart had made me worry about how
2
          the children's reunion would go. Our children's friendship soon reassured me that
3
          the distance had not had the impact I had feared.
4
          In September 2023, the start of the new school year at Ecole Hospitaliere, where
5         Juliette and Anna are in the same class, also went smoothly.
6         As a local neighbor, I often had the opportunity to observe Eva and Juliette outside
7         school. They resumed their many Parisian activities without difficulty. They've

8         reconnected with their close circle andfound their bearings andfriends again.
          Every morning, Anna and I accompany Juliette to school. During this intimate
9
          moment, the girls talk about their personal lives, and I've noticed that they 're much
10
          closer than they were a year ago.
11
          School life is punctuated by school parties, where Eva (who attends a different
12
          school) is always present alongside her sister, prolonging the bond with all of their
13        friends from kindergarten. These are simple moments where their happiness is a joy
14        to behold. The girls feel at home here.
15        Also, this school on a human scale is ideal for preparing in the best conditions for

16        the always complex transition to 6th grade. As our daughters will be going to
          college Charlemagne [middle school] together in a year's time, they are preparing
17
          together (by visiting the campus, for example) to tackle this turning point as serenely
18
          as possible.
19
          Despite these happy moments, I remained sensitive to the balance of the Paris
20
          children.
21        I was surprised by the prolonged absence of Heidi, their mother. Eva and Juliette
22        are part of my daughter Anna's circle of close friends. To cast doubt on this fact is
23        at best bad faith, at worst a lie.

24
          Their sudden departure for the USA has left us in a state of confusion and dismay.

25


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1
              We haven't heard from them since, and my daughter regularly asks for news of her
2
              friends who are no longer there. She feels very sad. I think my initial concern about
3
              Heidi's desire to be far away has become a reality."
4
     -See attached Exhibit 78, testimony from David BENAMOU, father of Anna who is
5    Juliette's best friend.

6    Mother is also on a criminal escape from Europe that could lead to serious international
7    criminal charges that would greatly affect her job as was explained by her French counsel

8    on April 3rd in front of the Judge of the Court of Appel. Now that she will have an
     international criminal status this will impact her capacity to earn an income and to support
9
     the children. On April 3rd 2024 while Mother was in front of the Presiding Judge of the
     Paris Court of Appeal her counsel said:
11
              "In addition, Ms. Brown's job requires her to travel and she has no intention of
12
              committing the offence of unlawful child removal, "
13
     -See attached Exhibit 56, excerpts from April 3rd 2024 pleadings from Miss Brown's
14
     French lawyer presented in presence of Miss BROWN herself on April 3rd in front of the
15   Presiding Judge of the Appeal Court of Paris (so just 5 days before Miss BROWN
     committed the abduction of Eva and Juliette from France).
16
     -See attached Exhibit 71, notice of criminal charges against Mother, Heidi BROWN, by
17
     the Paris Prosecutor Margaux PEGIS, for international child abduction with request for
18   filing as civil party to Father, Arnaud PARIS.

19
     In the interest of both parties and the children, Eva and Juliette should be ordered to return
20
     to France by this Honorable Court so that Mother be given a chance to willingly comply
21   with the result of this Hague Action so that the French authorities take into account this
22   willingness and do not move forward with an international warrant for Mother's arrest and
23   so that the French mediations that had been started before the abduction can resume in

24
     Paris.

25


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1
     -See attached Exhibit 79, testimony from Keira Sumner, the AuPair who visited Father
2    and the <laughers in Ashland early June 2023 before becoming their AuPair in Paris from
3
     November 2023 till the abduction in April 2024 and who confirmed that children knew that
     the school year in Oregon was only temporary and that they were eager to come back to
4    France.

5    -See attached Exhibit 17, email from the French mediator in Paris to the President of the
     Paris Appeal court informing her that Petitioner had left France with the children right in
6
     the middle of the French mediations without any warning while she had agreed and
7    committed to these mediations.

8    The following testimony from Juliette's school principal in Paris only confirms that it
     would be in the interest of the children:
9

10          "Juliette seemed to be thriving in her class with her classmates that she'd reunited

11
           with, most ofwhom she had known since she started kindergarten (2017).

12         At the request of Ms. Brown, we met with her just before the spring vacation to
13          update her on Juliette's progress in school. Our meeting went well, with discussion

14          of progress targets for the rest of the school year and no indication that Juliette
            would not finish her year in the class.
15

16         It is shocking and very surprising that the commitments made at the time by Ms.

17          Brown were, in the end, totally bogus and did not correspond to the end-of-year

18
            timetable discussed.

19          Juliette was very involved in our annual projects (choir show, commemoration -
20          Olympiads) and her absence is regrettable for the whole class.

21
           All of Juliette's schoolwork and class projects were cancelled by this departure
22          during the year.
23
            The students were sad and corifused. The teacher's attempts to explain the situation
24
            were made quite difficult given the circumstances underlying her sudden
25          departure. "

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1
     -See attached Exhibit 74, letter from Juliette's Paris school principal about the sudden
2    and disruptive abduction conducted by Mother during the Spring vacation in France in
3
     contravention of the French Judgements.

4

5       b) Eva and Juliette had lived almost 4 years total in France and had started the
           French school system since they were 2-year-old. They were back in France
6
           for almost a full year to a life in Paris that was without a doubt their
7          "habitual residence" since 2019 as concluded the Oregon District Court.

8
     The federal district court in Oregon ruled on Father's first Hague Petition on December 7,
9
     2022. The court found that Paris, France was the children's habitual residence. The court
10
     described the children's connection to their home and community in France:
11          "The children were French citizens. They spoke fluent French. The attended French
12          schools that had, you know, year-long programs at these academies for music and
13          dance."

14          "The girls were involved in sports. They went to school and family excursions,

15
            regularly, throughout France. They had school-age friends and attended certainly
            visits with friends and birthday parties, those type of things. They had extended
16
            family and social supports in France, including a godfather. "
17
            "So I'm finding that the children were fully assimilated to France and an intensive
18
            fact inquiry points to the only conclusion that when the children left France for
19          Oregon in July of [2022], France was their habitual residence. "
20

21   This is the life Eva and Juliette had gone back to for almost a year when their Mother

22   conducted an abduction in the middle of the French school year specifically meant to
     disturb and harm their stability in this return to their habitual residence and to sever the
23
     link entirely to their Father.
24

25


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1
     The school year that took place in Ashland in 2022-2023 was a temporary school year per
2
     the July 19 th, 2022 (see attached Exhibit 02) an agreement made between Mother and
3
     Father that the children were fully aware of. During the 2022-2023 school year in Ashland
4
     the children were expecting and counting on returning to France at the end of the school
5    year to come back to their French schools and their long time French friends that they had
6    known for several since they were 2-year-old as they've been following the entire French
7    school system since the "Petite Section". Because of its temporary nature the 2022-2023

8
     school year in Ashland this can't constitute a change of habitual residence. Therefore,
     France and their life in Paris never stopped to be their habitual residence since summer of
9
     2019.

11   -See attached Exhibit 79, testimony from Keira Sumner, the AuPair who visited Father and the

12
     <laughers in Ashland early June 2023 before becoming their AuPair in Paris from November 2023
     till the abduction in April 2024 and who confirmed that children knew that the school year in
13
     Oregon was only temporary and that they were eager to come back to France.
14

15   The following case law from the Oregon Court of Appeals that affirmed a decision from
16   the Jackson County Court in that regards (of all counties in Oregon) is confirming that

17   analysis that the temporary absence from France conferred extended home state to France.

18
     Even though the UCCJEA "home state" analysis is different from a Hague Action "habitual
     residence" analysis it brings an interesting angle to this specific situation since it helps
19
     answer both the question of the jurisdiction of the Jackson County court over the children
20
     and it helps reinforce the fact that France never stopped being the habitual residence of the
21
     children because in the mind of the children they were going to be back in France after this
22   temporary school year in Ashland.
23
     The facts in Shepherd v. Lopez-Barcenas are strikingly similar to the facts of this case. In
24
     Shephard, mother and father lived in Mexico, where their child was born. In September
25


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1
     1999, mother and the child moved to Ashland, Oregon so that mother could complete a
2
     one-year master's degree program at Southern Oregon University. When mother left, the
3
     parties agreed that she would return to Mexico when she finished her degree. One month
4
     after mother and the child moved to Ashland, mother told father that she wanted to end
5    their relationship, but that she and the child would be returning to Mexico when she
6    completed her program (albeit to a different location than the family home). In January
7    2000, father moved to Oregon and filed here to establish parentage, custody and parenting

8
     _time. In December 2000, the Jackson County Circuit Court entered a judgment for custody
     and parenting time. Months later, mother moved to vacate the custody and parenting time
9
     judgment, arguing that the trial court lacked jurisdiction under the UCCJEA. /d. at 694-95.
     The Court of Appeals agreed with mother, holding that:
11

12          "[A]t the time father commenced the filiation proceeding, N's home state was

13          Mexico. The parties had lived in Mexico since N's birth in 1998. Mother and N had
            lived in Oregon for only three months at the time that father filed his petition, and
14
            mother intended to return with N to Mexico. Their absence from Mexico was only
15
            temporary, and the time spent in Ashland is therefore considered to be time in
16
            Mexico for the purpose of determining the home state. ORS 109. 704(7).
17
            Accordingly, mother and N are considered to have lived in Mexico for the six-month
18          period before the commencement ofthe proceeding, and Mexico was N's home state.
19          For that reason, Oregon courts lacked jurisdiction to make an initial custody
20          determination for N The circuit court correctly vacated the custody and parenting-

21          time provisions of the December 2000 judgment. "
            Id. at 696.
22

23   In the Shepard case, Father argued that even if mother intended to return to Mexico, he
24   intended to remain permanently in Oregon. Thus, according to father, the child had no
25   home state, so Oregon could assert jurisdiction because the child had a significant

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1
     connection to Oregon. The Court dismissed that argument. It reasoned that, regardless of
2
     father's intention, mother was still only temporarily absent from Mexico. "Under ORS
3
     109. 704(7), 'any temporary absence ofany ofthe mentioned persons' (emphasis added) is
4
     considered to be part ofthe period during which [the child] lived in Mexico for the purpose
5    of determining the home state. "Id. at 697 (emphasis added in original.)
6
     As the mother in the Shephard case, Father and the children were present in Ashland on a
7
     temporary basis for the purpose of attending school for the 2022-2023 school year. The
8
     July Agreement between Father and Mother expressly provides that the parties never
9
     mutually intended for the children to stay in Ashland on a permanent, ongoing basis beyond
     the end of the 2022- 2023 school year. Even if Father had remained in Ashland with Mother
11   and the children, the absence from France would still be a "temporary absence," just as in
12   Shephard. Mother's secret intention to remain in Ashland with the children does not defeat

13   the temporary nature of the children's stay here.

14
     So, to summarize the children were in France for 10 months between 2017 and 2018. Then
15   they moved permanently and staid continuously in France for 3 years between summer
16   2019 through summer 2022. Then they went to do a school temporary year in Oregon
17   before returning to France summer of 2023 in preparation for returning to their French

18   schools in Paris. And they were back in France for almost 9 months when mother abducted
     them from France in April 2024.
19

20
     There is no doubt at this point that France has been their habitual residence since summer
21   of 2019 and having even started to be in the French educational program since 2017, having
22   attended every year of the elementary French school since they were 2-year-old.
23
     In light of this Shepard case, it is clear that the facts of this case support a finding that the
24
     children's departure from their home state in France to Oregon was only temporary. When
25
     the children came to Oregon, France had been their home continuously for the prior three

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1
     years; they had been in Oregon less than three months when Mother filed this action. The
2
     July Agreement provided that the children would return to France on August 23, 2022 if
3
     certain conditions were not met. Even if those conditions were met, the children were to
4
     remain in Oregon only until the end of the current school year, when they would return to
5    France and start their 2023-2024 school year in Paris per the French judgment of April 21st
6    2023 and would be under the custody of Father with Mother having visitation rights during
7    the school vacations.

8
     18.Response to Mother's Argument: Article l(b) of the Hague Convention
9


     Finally, before concluding, Father, Petitioner would like to address one specific argument
11   made by Mother's counsels in their response from May 28th. On page 8 they say:
12          "It would only be proper in the instant matter for this Court to apply the fugitive
13          disentitlement doctrine and dismiss Father's Petition in its entirety. Pursuant to

14
            Article 1(b) of the Hague Convention, the objects of the Convention include
            ensuring "that rights of custody and of access under the law of one Contracting
15
            State are effectively respected in the other Contracting States. "
16
     This argument needs some clarification in the perspective of the Hague Convention as a
17
     treaty between nations is intended to have the right of the contracting state in which the
18
     Hague Action is started, in this instance the US, respect the rights of the other contracting
19   State, in this instance France.
20

21   This is an important clarification to make otherwise what Mother's counsel is implying

22
     here in this argument is that if the Hague Action is started in the US then I shouldn't be
     given a right to a Hague action because the custodial determination from France is
23
     conflicting with custodial determination to "respect" in the US?
24

25


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1
     That wouldn't be making any sense, the Hague action is signed between different nations.
2
     This self-centered analyis from Mother's counsels is confusing to not say misleading. But
3
     I am confident that this Honorable Court won't be influenced by that type of circular
4
     argumentation.
5    I would like also to bring to the attention of this Honorable Court that the Hague
6    Convention in its Article 17 says:
7           The sole fact that a decision relating to custody has been given in or is entitled to

8
           recognition in the requested State shall not be a ground for refusing to return a
            child under this Convention, but the judicial or administrative authorities of the
9
            requested State may take account of the reasons for that decision in applying this
10
            Convention.
11
     Mother's counsel is trying to create a diversion from the real question brought in front of
12
     this Honorable Court. The purpose of a Hague Action isn't to examine which custodial
13   determination between France and the US should be the controlling order over our children.
14   In other words, the Oregon judgment shouldn't influence this court's decision about
15   ordering the return of the children to France: "shall not be a ground for refusing to return

16
     a child"
     The matter of which custodial determination should be the controlling order is to be
17
     resolved in the proper court of each country to assess their own jurisdiction. Since the
18
     appeal in France will be coming first it is likely that this matter will be resolved by the
19
     French Court of Appeals. But in the meantime the children should be awaiting this
20
     resolution in their "habitual residence", especially if they have been taken to Oregon
21   wrongfully per the law of the state they were taken from, in this instance France.
22   I want to make sure that Mother's counsels are not trying to segway this Hague Action into
23   a matter of jurisdictional competing analysis between France and the US. The matter

24
     presented to this Honorable Court is very simple per the Hague Convention it only
     encompasses the two following questions:
25


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1
        1) Were the children taken wrongfully from France in the eye of the law of France.
2
        2) Were the children taken away from their "habitual residence" in France.
3
     I have confidence that these two questions can be answered expeditiously in front of this
4
     Honorable Court as there is sufficient and plenty of evidence here in France that can be
5    presented remotely; and it is in the interest of our children to have this Hague Action take
6    place rapidly as Mother stipulated in her other response to my motion about direct
7    communication with the children.

8

9    19.CONCLUSION

     As a conclusion, Father would like to insist that Mother's argument that this Hague Action
11
     shouldn't take place baring me my legal right based on the "fugitive doctrine" is not valid
12   because:
13
     -Father isn't a fugitive.
14

15   -Father isn't a criminal.
16
     -Father is not escaping the warrant, Father has been and is actually strongly contesting that
17
     warrant and the contempt case as well as the true motivation of Judge Orr and Juge Bloom
18
     in this matter.
19

20   -Father has been also the victim of a bad faith abusive staking protective order request on

21   the part of Mother that was dismissed as the pattern of manipulation of all the courts by
     Mother is now becoming obvious including in Jackson County.
22

23
     -The warrant against Father was issued by a judge who wasn't allowed to hear criminal
24   matters.
25


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1
     -The warrant was issued onto someone who didn't leave in the US and was willing to
2
     participate remotely and has been participating remotely extensively in all the Oregon
3
     proceedings.
4

5    -The warrant was issued because Father wasn't allowed to participate remotely.

6
     -Father has tried to participate in all the Oregon proceedings and has respected all the
7
     judicial systems no matter how complex this international matter has been to navigate over
8
     almost 2 years.
9
     -Father is doing the right thing asking for return of children under Hague Action, this is the
     proper remedy that Mother should have been seeking in France instead of doing an
11
     abduction.
12

13   AS A RESULT OF THE ABDUCTION IN FRANCE:

14
     -Mother is now truly a fugitive.
15

16   -Mother is now truly a criminal as she violated the exit ban while she was swearing to the
17   President of the Appeal court that I was paranoiac about her being about to do so.

18
     -Children have been removed illegally.
19

20   -Children were taken in middle of school year with extremely dramatic consequences on

21   their well being, education, their relationship to their Father, their health and their mental
     stabililty.
22

23
     -Children are undergoing strong parental alienation against Father that needs to stop
24   immediately.
25


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1
     -Proper communication with the children needs to be re-established not just with Father
2
     but also with their French friends and family.
3

4    -It is a fact that in the current situation Children can only see both parents in France.
5
     -Father has offered and still offers to continue mediations in Paris
6

7    Mother is attempting to turn the tables or distract this Court by accusing me of
8    conduct she has engaged in.

9
     Furthermore, the legal analyis done by Father in this response of the Sasson case in
10
     particular show that the fugitive disentitlement doctrine doesn't apply in this inst~nce.
11

12   US courts can and should decline to apply the fugitive disentitlement doctrine,
     particularly when:
13

14
        1) There is no direct connection between the individual's fugitive status regarding the
15          mandate for failure to appear and this Hague action. I have a mandate because I
16          didn't come in front of Judge Orr in a civil matter and while I live in France, the
17          case law cited specifically insist that foreigner should be allowed to participate

18          remotely including in a criminal action.
        2) The application of the doctrine would be unduly harsh or inequitable. Eva and
19
            Juliette would lose their Father for many more months to come possibly years until
20
            the Oregon Judgment is dealt with in appeal as it is impossible to meet the
21
            requirements of this judgement per French law. Making them the real victims of the
22
            story.
23      3) The individual's ability to defend their legal rights in civil matters is at stake,
24          especially when the fugitive status arises from unrelated issues. Here I have left the
25          US with approval from the authorities and I should now be considered a criminal


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1
            and a fugitive while all I was doing was to try to comply with the French order to
2
            have my kids start their school year properly in Paris which was the law of Oregon
3
            at the time.
4

5    I'm not in a fugitive status, I've done nothing but trying to participate and defend myself

6
     in the Oregon and American judicial system while there was already a custodial matter
     started and adjudicated first in France regarding Eva and Juliette that their Mother has
7
     appealed to. This entire custodial matter should have been dealt with in France where
8
     Mother could have easily prevailed.
9

10   This very Hague Action is yet another proof of that, I'm not preparing an abduction plan

11   of the children like their Mother devised for many months after I returned to France with
     Eva and Juliette per the only custodial determination made about our children that existed
12
     at the time and that ordered me to ensure that they could start their school year in Paris
13
     properly.
14

15   In this Hague Action I'm simply asking for my rights to be respected by the Oregon courts
16   once again as I have been actively and voicefully been doing in the Oregon judicial system

17
     since I started to see that I was not getting due process in the Jackson County court.

18
     And if Mother felt that her parental rights had been violated when I returned to France with
19   our children per the French order that is the same thing that Mother should have done in
20   France by starting a Hague Action if she felt I had wrongfully taken the children to France
21   at the time.

22
     Courts are mindful of ensuring that the doctrine is applied fairly and only when it directly
23
     serves the interests ofjustice, avoiding situations where its application might lead to further
24
     injustices.
25


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1
     What Mother is asking in her response is exactly that, Eva and Juliette haven't been able
2
     to see their Father for more than two months now and denying me this Hague Action could
3
     damage and sever their relationship to their dad as Mother is hoping for. Worse they've
4
     been severed from their entire relationship to their French family including their French
5    grandparents and their Aunt they were very close to. By also changing their last name this
6    is an entire part of their identity that their Mother is simply trying to erase.
7
     Courts have also recognized that the doctrine should not be applied rigidly in situations
8
     where legal proceedings are initiated in bad faith or to harass:
9

     Courts may decline to apply the fugitive disentitlement doctrine if it is demonstrated that

11   the legal actions taken by the opposing party were initiated with malicious intent, to harass,
     or without a genuine legal basis. Here considering the level of misrepresentation,
12
     manipulation and disinginousness of Mother towards both the French and the Oregon
13
     courts it can only be concluded that the legal action she irritated in Oregon were made in
14
     bad faith like the recent stalking order she asked for that was denied by the Jackson County
15
     court.
16

17   If a parent can prove that the legal proceedings were brought forth primarily to harass them,
     rather than to resolve legitimate legal disputes, the court may consider this an exception to
18
     the doctrine. This is also the case in this instance as Mother has kept on pushing the Jackson
19
     County proceedings while the French courts had already adjudicated this matter. If Mother
20
     truly felt that the first French Judgment was based on lies that's what her French appeal is
21
     for but trying to "punish" Father for having obtained and followed the first French
22   judgment by obtaining a competing custodial detennination from the Jackson County court
23   in total contravention of the UCCJEA is nothing less than judicial harassment against
24   Father.

25


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      In summary, while the fugitive disentitlement doctrine is a powerful tool to prevent abuse
2
      of the judicial system by fugitives, its application is not absolute. The case law on this
3
      doctrine shows that courts have to consider its application with caution and exceptions,
4
      especially in cases involving bad faith or harassment, to ensure a fair and just legal process.
5

6
      The "fugitive disentitlement doctrine" can't be claimed retroactivity by Judge Orr as a
      support to the denial of due process that took place in the Jackson County court, and more
7
      importantly it cannot be used punitively especially when the defendant is a foreigner living
8
      6000 miles away who was and still is willing to engage with the legal process from abroad.
9

10    In this instance Mother has the children with her in Oregon so factually nothing prevents

11    this case Hague case from moving forward as it would be extremely inappropriate to forbid
      a Father from having a Hague Action regarding the abduction of the children taken away
12
      from him in the middle of the school year from France where he was the custodial parent
13
      and not giving him at least the only remedy he has at his disposal to resolve this situation,
14
      knowing that if he doesn't prevail the Oregon judgment in place will have dramatic and
15
      irreperable consequences on the relationship to his daughters.
16

17    Father's actions were not those of a fugitive but rather those of an individual caught in a
     , complex international legal situation while trying to comply with multiple legal systems.
18

19    If the court doesn't give way to this Hague action the children will be deprived and severed
20    from their Father to the point that Mother could permanently implement a strategy of long
21    term parental alienation with damage impossible to reverse for years to come.

22
      As the Walsh case says:
23

24    "More importantly, applying the fugitive disentitlement doctrine would impose too severe
25    a sanction in a case involving parental rights. Parenthood is one of the greatest joys and


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1
     privileges of life, and, under the Constitution, parents have a fundamental interest in their
2
     relationships with their children.
3

4    I respectfully request this Honorable Court to take into consideration the best interest of
5    Eva and Juliette by giving them a chance to have a Father and a Mother in their lives.

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2

3                 DATED this 20th day of June, 2024, in Paris, France
4

5

6

7

8

9

10

11                                       VERIFICATION

12         I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
     of America that the foregoing is true and correct.
13
     SIGNED AND DATED this 20th day of June, 2024, in Paris, France.
14

15

16

17

18                                      Arnaud Paris

19

20

21

22

23

24
          Case 1:24-cv-00648-AA              Document 23           Filed 06/20/24         Page 126 of 126




2                           CERTIFICATE OF SERVICE
3       I hereby certify that I served the foregoing PETITIONER'S RESPONSE TO
        RESPONDENT REPLY TO INITIAL PETITION on the following party:
4
                                   Katelyn Skinner at kds@buckley-law.com
5                                   Katrina Seipel at kas@buckley-law.com
                                           Attorneys for Respondent
6
     By the following method or methods:
7

8                ailing full, true, and correct copies thereof in sealed, first class postage

9

10
      shown above, which is the last known email address for the respondent's attorneys on the date set forth below.
11

12

13

14

15
                    DATED this 20th day of June, 2024, in Paris, France.
16

17
     By:=
18
     ARNAUD PARIS, Petitioner
19
     ARNAUD PARIS
     13 rue Ferdinand Duval
20   75004, PARIS, FRANCE
     Telephone: +33688283641
21   Email: aparis@sysmicfilms.com
22

23

24
